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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

    In re:                                                  Chapter 11

    WINC, INC., et al.,1                                    Case No. 22-11238 (LSS)

                            Debtors.                        (Jointly Administered)




                        SCHEDULES OF ASSETS AND LIABILITIES FOR
                              WINC, INC. (CASE NO. 22-11238)




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Winc, Inc. (8960); BWSC, LLC (0899); and Winc Lost Poet, LLC (N/A). The Debtors’ mailing address
for purposes of these chapter 11 cases is 12405 Venice Boulevard, Box #1, Los Angeles, CA 90066.
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                                     IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF DELAWARE

             In re:                                                         Chapter 11

             WINC, INC., et al., 1                                          Case No. 22-11238 (LSS)

                                         Debtors.                           (Jointly Administered)


                  GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY,
                     AND DISCLAIMER REGARDING THE DEBTORS’ SCHEDULES OF
                  ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                 The above-captioned debtors and debtors in possession (each, a “Debtor,” and collectively,
         the “Debtors”) are filing their respective Schedules of Assets and Liabilities (collectively, the
         “Schedules”) and Statements of Financial Affairs (collectively, the “Statements,” and together
         with the Schedules, collectively, the “Schedules and Statements”) in the United States Bankruptcy
         Court for the District of Delaware (the “Court”). The Debtors, with the assistance of their
         professional advisors, prepared the Schedules and Statements in accordance with section 521 of
         title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), and Rule
         1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                These Global Notes and Statement of Limitations, Methodology, and Disclaimer regarding
         the Schedules and Statements (the “Global Notes”) pertain to the Schedules and Statements. These
         Global Notes should be referred to as part of, and reviewed in connection with, the Schedules and
         Statements. 2

                 The Schedules and Statements have been prepared based on information provided by the
         Debtors’ Chief Financial Officer and professional advisors, and are unaudited and subject to
         potential adjustment. In preparing the Schedules and Statements, the Debtors relied on financial
         data derived from their books and records that was available at the time of preparation. The
         Debtors have used commercially reasonable efforts to ensure the accuracy and completeness of
         such information and data; however, subsequent information, data, or discovery may result in
         material changes to the Schedules and Statements and inadvertent errors, omissions, or
         inaccuracies may exist. The Debtors and their estates reserve all rights to amend or supplement
         the Schedules and Statements as may be necessary and appropriate.



             1
               The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
             are: Winc, Inc. (8960); BWSC, LLC (0899); and Winc Lost Poet, LLC (N/A). The Debtors’ mailing address for
             purposes of these chapter 11 cases is 12405 Venice Boulevard, Box #1, Los Angeles, CA 90066.
             2
               These Global Notes are in addition to any specific notes that may be contained in each of the Schedules or
             Statements. The fact that the Debtors have prepared a general note herein with respect to any of the Schedules and
             Statements and not to others should not be interpreted as a decision by the Debtors to exclude the applicability of
             such general note to the Debtors’ remaining Schedules and Statements, as appropriate.
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         Reservation of Rights. Nothing contained in the Schedules and Statements or these Global Notes
         shall constitute a waiver of any rights of the Debtors and their estates or an admission with respect
         to the Debtors’ chapter 11 cases, including, but not limited to, any issues involving objections to
         claims, setoff or recoupment, equitable subordination or recharacterization of debt, defenses,
         characterization or re-characterization of contracts, leases and claims, assumption or rejection of
         contracts and leases and/or causes of action arising under the Bankruptcy Code or any other
         applicable laws.

         Description of the Cases and “As of” Information Date. On November 30, 2022 (the “Petition
         Date”), each of the Debtors filed voluntary petitions for relief with the Court under chapter 11 of
         the Bankruptcy Code. Pursuant to sections 1107(a) and 1108 of the Bankruptcy Code, the Debtors
         are continuing to manage their financial affairs as debtors in possession. Unless otherwise
         indicated herein or in the Schedules and Statements, all financial information for the Debtors in
         the Schedules and Statements and these Global Notes is provided as of the Petition Date or as close
         to the Petition Date as reasonably practicable under the circumstances.

         As of the Petition Date, the Debtors’ headquarters was located at 1751 Berkeley Street, Studio 3,
         Santa Monica, CA 90404. However, effective as of December 31, 2022, the Debtors will have
         rejected the lease associated with their headquarters. The Debtors’ go-forward mailing address is
         12405 Venice Blvd., Box #1, Los Angeles, CA 90066.

         Basis of Presentation. The Schedules and Statements do not purport to represent financial
         statements prepared in accordance with Generally Accepted Accounting Principles (“GAAP”), nor
         are they intended to fully reconcile to any financial statements prepared by the Debtors.

         Recharacterization. Notwithstanding the Debtors’ commercially reasonable efforts to properly
         characterize, classify, categorize, or designate certain claims, assets, executory contracts,
         unexpired leases, and other items reported in the Schedules and Statements, the Debtors may
         nevertheless seek to recharacterize, reclassify, recategorize, redesignate, add, or delete items
         included in the Schedules and Statements, and the Debtors and their estates reserve all rights in
         this regard.

         Accounts Payable and Disbursement Systems. The Debtors maintain a cash management
         system (the “Cash Management System”) to collect and disburse funds in the ordinary course of
         business. A more complete description of the Cash Management System is set forth in the
         Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing and Approving Continued
         Use of Cash Management System, (II) Authorizing Continued Use of Corporate Credit Cards and
         Granting Administrative Expense Status to Postpetition Credit Card Obligations; (III) Authorizing
         Use of Prepetition Bank Accounts and Business Forms, (IV) Waiving the Requirements of Section
         345(b) on an Interim Basis, (V) Granting Administrative Expense Status to Postpetition
         Intercompany Claims, and (VI) Granting Certain Related Relief [Docket No. 9] filed on December
         2, 2022.

         Insiders. Payments to insiders are listed in part 2, question 4 of the Statements. Persons listed as
         “insiders” have been included for informational purposes only, and such listing is not intended to
         be, nor should it be construed as, a legal characterization of such person as an insider, nor does it
         serve as an admission of any fact, claim, right or defense, and all such claims, rights, and defenses
         with respect thereto are hereby expressly reserved. Further, the Debtors and their estates do not

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         take any position with respect to: (a) any such person’s influence over the control of the Debtors;
         (b) the management responsibilities or functions of any such individual; (c) the decision-making
         or corporate authority of any such individual; or (d) whether any such individual could
         successfully argue that he or she is not an “insider” under applicable law, including, without
         limitation, the federal securities laws, or with respect to any theories of liability or for any other
         purpose.

         Summary of Significant Reporting Policies. The following is a summary of certain significant
         reporting policies:

                        a.       Current Market Value – Net Book Value. It would be prohibitively
         expensive, unduly burdensome, and an inefficient use of estate resources for the Debtors to obtain
         current market valuations for all estate assets. Accordingly, unless otherwise indicated herein or
         in the Schedules and Statements, the Schedules and Statements reflect the net book values, rather
         than current market values, of the Debtors’ assets as of the Petition Date (unless another date is
         indicated herein or in the Schedules and Statements), and may not reflect the net realizable value.

                        b.     Interim Orders. Pursuant to the interim employee wage and tax orders and
         any supplements or amendments to such orders entered by the Court on December 6, 2022 (the
         “Interim Orders”), the Debtors and their estates are authorized to pay certain prepetition claims,
         including, without limitation, certain claims relating to employee wages and benefits as well as
         taxes and fees. The Debtors have not included claims of this nature in the Schedules to the extent
         that such claims were paid under the Interim Orders.

                         c.      Setoffs. To the extent the Debtors have incurred or effectuated any ordinary
         course setoffs with third parties (including, without limitation, customers and vendors) prior to the
         Petition Date, or are subject to the occurrence of, or maintain the right to effectuate, ordinary
         course setoffs on account of activities occurring prior to the Petition Date, claims of creditors listed
         may not reflect all such setoffs. The Debtors and their estates reserve all rights with respect to any
         such setoffs.

                         d.       Credits and Adjustments. Claims of creditors are listed in the amounts
         entered on the Debtors’ books and records, and may not reflect all credits, allowances, or other
         adjustments due from such creditors to the Debtors. The Debtors and their estates reserve all rights
         with regard to any such credits, allowances and other adjustments, including, without limitation,
         the right to assert claims, objections, setoffs and recoupments with respect to the same.

                         e.     Leases. In the ordinary course of business, the Debtors may lease certain
         equipment or non-residential real property from certain third-party lessors for use in the ordinary
         course of their business. Nothing in the Schedules and Statements is, or shall be construed as, an
         admission as to the determination of the legal status of any lease (including, without limitation,
         whether any lease is a true lease or a financing arrangement, and whether such lease is unexpired),
         and the Debtors and their estates reserve all rights with respect to such issues.

                        f.     Executory Contracts and Unexpired Leases. The Debtors have not set
         forth executory contracts and unexpired leases as assets in the Schedules and Statements, even
         though these contracts and leases may have some value to the Debtors’ estates. Rather, executory
         contracts and unexpired leases have been set forth solely on Schedule G. The Debtors’ rejection

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         of executory contracts and unexpired leases may result in the assertion of rejection damages claims
         against the Debtors and their estates; however, the Schedules and Statements do not reflect any
         claims for rejection damages. The Debtors and their estates reserve all rights with respect to the
         assertion of any such claims.

                         g.      Unknown or Undetermined Amounts. Where a description of an amount
         is left blank or listed as “unknown” or “undetermined,” such response is not intended to reflect
         upon the materiality of such amount.

                        h.     Liabilities. The Debtors have sought to allocate liabilities between the
         prepetition and postpetition periods based on the information available at the time of filing the
         Schedules and Statements. If additional information becomes available or further research is
         conducted, the allocation of liabilities between the prepetition and postpetition periods may
         change. Accordingly, the Debtors and their estates reserve all rights to amend, supplement, or
         otherwise modify the Schedules and Statements as is necessary or appropriate.

                          i.     Estimates. The Debtors were required to make certain estimates and
         assumptions that affect the reported amounts of assets and liabilities and reported revenue and
         expenses. The Debtors and their estates reserve all rights to amend the reported amounts of assets,
         liabilities, revenue, and expenses to reflect changes in those estimates and assumptions.

                          j.    Classifications. Listing a claim (a) on Schedule D as “secured;” (b) on
         Schedule E/F as “unsecured priority,” or “unsecured non-priority;” or (c) listing a contract or lease
         on Schedule G as “executory” or “unexpired,” does not constitute an admission by the Debtors
         and their estates of the legal rights of any claimant, or a waiver of the rights of the Debtors and
         their estates to amend these Schedules and Statements to recharacterize or reclassify any claim or
         contract.

                         k.      Claims Description. The Debtors and their estates reserve all rights to
         dispute, and to assert any offsets or defenses to, any claim reflected on the applicable Schedule on
         any grounds, including, without limitation, amount, liability, validity, priority or classification,
         and to subsequently designate any claim as “disputed,” “contingent,” or “unliquidated.”

                         l.     Guaranties and Other Secondary Liability Claims. Guaranties and other
         secondary liability claims (collectively, the “Guaranties”) with respect to the Debtors’ contracts
         and leases may not be included on Schedule H. Therefore, the Debtors and their estates reserve
         all rights to amend the Schedules to the extent additional Guaranties are identified.




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                                           NOTES FOR SCHEDULES

         Schedule A/B – Assets – Real and Personal Property.

         Part 2, Item 8. In Part 2, Item 8, the Debtors have listed certain amounts in the aggregate for
         Prepaid Merchant Fees and Prepaid Freight. The Debtors pay merchant fees based on subscription
         credit transactions, which are expensed in the Debtors’ books and records at the time that the
         Debtors’ customers apply their credits towards the purchase of merchandise. In addition, the
         Debtors incur various freight costs to move inventory between warehouses and such costs are
         expensed in the Debtors’ books and records as the inventory is shipped to customers. In each case,
         such amounts are listed in the aggregate because such costs are recorded in the Debtors’ books and
         records in the aggregate and it would be costly, burdensome, and impractical to itemize such
         amounts.

         Payments made to the estates’ retained professionals are listed on Part 6, Item 11 of the Statements
         rather than Part 2, Item 8 of the Schedules.

         Part 5. As set forth above, all inventory values identified in Schedule A/B, Part 5 are listed as net
         book value unless otherwise stated.

         Part 7. The Debtors’ books and records do not differentiate between office furniture and office
         fixtures. Accordingly, the Debtors have listed all office furniture and fixtures in the aggregate in
         their response to question 39.

         Part 11, Item 72. Debtor Winc, Inc. is the parent of a consolidated tax group that comprises all
         of the Debtors. Accordingly, the Debtors file Federal and state tax returns on a consolidated or
         combined basis. The Debtors maintain net operating losses from consolidated or combined tax
         filings, which are listed under Schedule A/B, Part 11, Item 72 for Winc, Inc. The Debtors reserve
         all rights to assert that the net operating losses are property of a different Debtor.

         Part 11, Item 73. In response to Part 11, Item 73, the Debtors have not listed the insurance policies
         comprising their insurance program, as disclosed in the Debtors’ Motion for Entry of Interim and
         Final Orders Authorizing (I) the Debtors to (A) Continue Prepetition Insurance Policies, (B) Pay
         All Prepetition Obligations in Respect Thereof, and (C) Continue Their Insurance Premium
         Financing Program; and (II) Banks to Honor and Process Related Checks and Transfers [Docket
         No. 11], filed on December 2, 2022.

         Part 11, Item 74. Despite their commercially reasonable efforts to identify all known assets, the
         Debtors may not have listed certain causes of action or potential causes of action against third
         parties as assets in Schedule A/B, Part 11, Item 74, including, but not limited to, causes of action
         arising under the Bankruptcy Code or any other applicable laws (including, but not limited to,
         intellectual property laws). The Debtors and their estates reserve all rights with respect to any
         claims and causes of action that they may have, and neither these Global Notes nor the Schedules
         and Statements shall be deemed a waiver of any such claims and causes of actions, or in any way
         waive, prejudice, impair, or otherwise affect the assertion of such claims and causes of action.




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         Part 11, Item 77.1. Debtors BWSC, LLC and Winc, Inc. engage in ordinary course intercompany
         transactions that result in credit and debit book entries for accounting purposes. Such
         intercompany transactions result in a net zero balance and have not been listed in Part 11, Item
         77.1.

         Schedule D – Creditors Who Have Claims Secured by Property. Except as otherwise agreed
         pursuant to a stipulation, agreed order, or other order entered by the Court that is or becomes final,
         the Debtors and their estates reserve all rights to dispute or challenge the validity, perfection, or
         immunity from avoidance of any lien purported to be granted or perfected in any specific asset to
         a creditor listed on Schedule D of any of the Debtors. Moreover, although the Debtors may have
         scheduled claims of various creditors as secured claims for informational purposes, no current
         valuation of the Debtors’ assets in which such creditors may have a lien has been undertaken.
         Except as otherwise agreed pursuant to a stipulation, agreed order, or other order entered by the
         Court that is or becomes final, the Debtors and their estates reserve all rights to dispute or challenge
         the secured nature of any such claim or the characterization of the structure of any transaction,
         document, or instrument related to any such claim. The descriptions provided in Schedule D are
         intended only to be a summary. Reference to the applicable loan agreements and related
         documents is necessary for a complete description of the collateral and the nature, extent and
         priority of any liens. Nothing in these Global Notes or the Schedules and Statements shall be
         deemed a modification or interpretation of the terms of such agreements.

         In certain instances, a Debtor may be a co-obligor with respect to scheduled claims of other
         Debtors. No claim set forth on the Schedule D of any Debtor is intended to acknowledge claims
         of creditors that are or may be otherwise satisfied or discharged.

         The Debtors have not included on Schedule D all parties that may believe their claims are secured
         through setoff rights, deposits posted by, or on behalf of, the Debtors, inchoate statutory lien rights,
         or real property lessors, utility companies and other parties which may hold security deposits.

         Certain of the amounts listed for parties on Schedule D may not be reflective of any accrued and
         unpaid interest, prepayment premiums, and other similar fees or expenses that such parties may be
         entitled to, and are not reflective of any payments made by the Debtors subsequent to the Petition
         Date.

         Schedule E/F – Creditors Who Have Unsecured Claims.

         Part 2. Certain creditors listed on Part 2 of Schedule E/F may owe amounts to the Debtors;
         accordingly, the Debtors and their estates may have valid setoff and recoupment rights with respect
         to such amounts. Also, the amounts listed on Part 2 of Schedule E/F reflect known prepetition
         claims as of the Petition Date. The Debtors and their estates reserve all rights to challenge any
         setoff and recoupment rights that may be asserted against them. The Debtors and their estates
         reserve all rights to dispute or challenge the validity, perfection, or immunity from avoidance of
         any lien purported to be perfected by a creditor listed on Part 2 of Schedule E/F.

         The Debtors have used commercially reasonable efforts to include all creditors on Part 2 of
         Schedule E/F. The amounts listed for liabilities on Schedule E/F may be exclusive of certain
         contingent and unliquidated amounts.


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         Certain of the Debtors’ liabilities do not lend themselves to identification of individual claims
         and/or claimants. Specifically, Part 2 of Schedule E/F for BWSC, LLC does not include estimated
         liabilities for outstanding gift cards on an individual basis because BWSC, LLC does not track
         individual gift card holders. The total amount outstanding on account of gift cards issued by
         BWSC, LLC is $4,050,315.59 as of the Petition Date.

         The Debtors have approximately 160,000 customers (the “DTC Customers”) associated with their
         direct to consumer business. In the ordinary course of business, the DTC Customers purchase
         subscription credits (collectively, the “Subscription Credits”) for merchandise on the Debtors’ e-
         commerce platform. The Debtors believe that the Subscription Credits will either be honored on
         a go-forward basis or have been forfeited pursuant to existing policies and applicable laws
         governing such Subscription Credits and have not listed amounts corresponding to such
         Subscription Credits on an individual basis in their Schedules. Instead, the Debtors have listed the
         maximum liability associated with such potential claims on an aggregate basis in Schedule E/F, as
         it would be impractical, cost prohibitive, and unduly burdensome to list such claims on an
         individual basis as of the Petition Date, and would cause the Schedules to become unwieldy and
         voluminous.

         All amounts payable under that certain Collaboration Agreement dated February 1, 2019, between
         Atticus Publishing, LLC and Winc Lost Poet, LLC are paid by BWSC, LLC and are listed on
         Schedule F, Part 2 for BWSC, LLC.

         Schedule G – Executory Contracts and Unexpired Leases. Although commercially reasonable
         efforts have been made to ensure the accuracy of Schedule G regarding executory contracts and
         unexpired leases, inadvertent errors, omissions, or over-inclusion may have occurred in preparing
         Schedule G. Omission of a contract, lease or other agreement from Schedule G does not constitute
         an admission that such omitted contract, lease or agreement is not an executory contract or
         unexpired lease. Schedule G may be amended at any time to add any omitted executory contracts,
         unexpired leases and other agreements to which the Debtors are a party, including, without
         limitation, to add any that the Debtors did not list on Schedule G at this time. Likewise, the listing
         of an agreement on Schedule G does not constitute an admission that such agreement is an
         executory contract or unexpired lease, or that such agreement was in effect or unexpired on the
         Petition Date or is valid or enforceable. The agreements listed on Schedule G may have expired,
         or may have been modified, amended, or supplemented from time to time by various amendments,
         restatements, waivers, estoppel certificates, letters and other documents, instruments and
         agreements that may not be listed on Schedule G.

         All rights, claims, and causes of action of the Debtors and their estates with respect to the
         agreements listed on Schedule G are hereby reserved and preserved. The Debtors and their estates
         hereby reserve all rights to: (a) dispute the validity, status, or enforceability of any agreements set
         forth on Schedule G; (b) dispute or challenge the characterization of the structure of any
         transaction, document or instrument related to a creditor’s claim, including, but not limited to, the
         agreements listed on Schedule G; and (c) amend or supplement Schedule G, as necessary.

                                     [Remainder of page intentionally left blank]




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                                           NOTES FOR STATEMENTS

         Statement 3. Statement 3 includes any disbursement or other transfer made by the Debtors within
         90 days prior to filing, except for those made to insiders or in connection with the bankruptcy,
         which are reflected on Statements 4 and 11, respectively.

         Statement 4. Statement 4 has been presented on a gross payment basis. Actual amounts received
         by the parties listed on Statement 4 may differ based upon withholding and other tax obligations.

         Statement 7. BWSC, LLC is not currently involved in any pending formal legal action or
         administrative proceedings. However, BWSC, LLC is periodically involved in audits and informal
         administrative inquiries with certain state agencies to ensure regulatory and licensure compliance,
         and it engages in interviews with state agencies in the ordinary course of business. Such informal
         proceedings have not been listed in Statement 7. The Debtors and their estates reserve all rights,
         claims, and defenses with respect to all listed lawsuits and administrative proceedings (or potential
         lawsuits and administrative proceedings).

         Statement 26. Debtor Winc, Inc.’s financial statements include information for Debtors BWSC,
         LLC and Winc Lost Poet, LLC. Accordingly, the information included in the Statement of
         Financial Affairs for Winc, Inc. is applicable to each of the other Debtors.

         Statement 26(d). Additionally, from time to time, the Debtors provided financial statements in
         the ordinary course of business to certain parties for business, statutory, credit, financing and other
         reasons. Recipients have included regulatory agencies, financial institutions, investment banks,
         vendors, landlords, debtholders and their legal and financial advisors. In addition, in connection
         with the Debtors’ IPO and sale processes, the Debtors have provided financial statements to
         various parties. Due to the confidentiality requirements of related non-disclosure agreements, and
         the number of parties that have received such statements, all of the recipients of such information
         may not be listed in response to this question. Moreover, as a public company, the Debtors’
         financial statements are publicly available.

         Statement 28. As disclosed in the Schedule 14A Proxy Statement filed on April 14, 2022,
         Dreamer Pathway Limited (BVI) (“Dreamer Pathway”), Shiningwine Limited (BVI)
         (“Shiningwine”), and Dream Catcher Investments (“Dreamcatcher” and collectively with Dreamer
         Pathway and Shiningwine, the “Shining Capital Affiliates”) each directly own shares of Winc, Inc.
         Shining Capital Holdings II L.P. and Shining Capital Management III Limited (together, “Shining
         Capital”), act as the investment managers for Shining Capital Affiliates. Xiangwei Weng is a
         director of Winc, Inc. and founder and Chief Executive Officer of Shining Capital. Mr. Weng may
         be deemed to have voting and investment control over the shares held by Shining Capital Affiliates.
         The business address of Shining Capital and Shining Capital Affiliates is Suite 8101, Level 81,
         International Commerce Centre, 1 Austin Road West Kowloon, Hong Kong, Hong Kong.




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  Fill in this information to identify the case:

 Debtor        Winc, Inc.


 United States Bankruptcy Court for the:                   Delaware


 Case number             22-11238
  (if known)
                                                                                                                                                                                   ¨ Check if this is an
                                                                                                                                                                                      amended filing

 Official Form 206Sum
 Summary of Assets and Liabilities for Non-Individuals                                                                                                                                             12/15




  Part 1:        Summary of Assets




 1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)


     1a.       Real property:
                                                                                                                                                                                   UNDETERMINED
               Copy line 88 from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .



     1b.       Total personal property:
                                                                                                                                                                                    $103,051,191.48
               Copy line 91A from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .



     1c.       Total of all property:
                                                                                                                                                                                    $103,051,191.48
               Copy line 92 from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .




    Part 2:         Summary of Liabilities




   2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                      $3,635,745.83
        Copy the total dollar amount listed in Column A , Amount of claim, from line 3 of Schedule D . . . . . . . . .




   3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206EF)


        3a.      Total claim amounts of priority unsecured claims:
                                                                                                                                                                                        $415,036.61
                 Copy the total claims from Part 1 from line 5a of Schedule E/F . . . . . . . . . . . . . . . . . . . . . . . . . . . .



        3b.      Total amount of claims of nonpriority amount of unsecured claims:
                 Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F . . . . . . . . . . . . . .
                                                                                                                                                                       +              $5,275,284.78




   4. Total liabilities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                                                                       $9,326,067.22
        Lines 2 + 3a + 3b




Official Form 206Sum                                                                                                                                                                            Page 1 of 1
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  Fill in this information to identify the case:

 Debtor        Winc, Inc.


 United States Bankruptcy Court for the:       Delaware


 Case number           22-11238
  (if known)
                                                                                                                                                ¨ Check if this is an
                                                                                                                                                   amended filing

 Official Form 206A/B
 Schedule A/B: Assets - Real and Personal Property                                                                                                                  12/15

 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
 all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which
 have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or
 unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
 debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
 sheet is attached, include the amounts from the attachment in the total for the pertinent part.


 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1:         CASH AND CASH EQUIVALENTS

 1.     DOES THE DEBTOR HAVE ANY CASH OR CASH EQUIVALENTS?
        ¨ No. Go to Part 2.
        þ Yes. Fill in the information below.


                                                                                                                                                Current value of
           All cash or cash equivalents owned or controlled by the debtor
                                                                                                                                                debtor’s interest

 2.     CASH ON HAND

        NONE


 3.     CHECKING, SAVINGS, MONEY MARKET, OR FINANCIAL BROKERAGE ACCOUNTS
        (IDENTIFY ALL)
        Name of institution (bank or brokerage firm)                        Type of account                Last 4 digits of account number

        3.1.         BANC OF CALIFORNIA, N.A.                               OPERATING                      0698                                              $775,324.00

 4.     OTHER CASH EQUIVALENTS

        NONE


 5      Total of Part 1.
        ADD LINES 2 THROUGH 4 (INCLUDING AMOUNTS ON ANY ADDITIONAL SHEETS). COPY THE                                                                         $775,324.00
        TOTAL TO LINE 80.

 Part 2:         DEPOSITS AND PREPAYMENTS

 6.     DOES THE DEBTOR HAVE ANY DEPOSITS OR PREPAYMENTS?
        ¨ No. Go to Part 3.
        þ Yes. Fill in the information below.


                                                                                                                                                Current value of
                                                                                                                                                debtor’s interest

 7.     DEPOSITS, INCLUDING SECURITY DEPOSITS AND UTILITY DEPOSITS
        DESCRIPTION, INCLUDING NAME OF HOLDER OF DEPOSIT

        7.1.         REPUBLIC BUSINESS CREDIT - AR LINE OF CREDIT DEPOSIT                                                                                       $5,000.01




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                                                                                                                                Current value of
                                                                                                                                debtor’s interest

 7.    DEPOSITS, INCLUDING SECURITY DEPOSITS AND UTILITY DEPOSITS
       DESCRIPTION, INCLUDING NAME OF HOLDER OF DEPOSIT

       7.2.        ROSENSTEIN HENRY - SECURITY DEPOSIT                                                                                        $20,071.06

 8.    PREPAYMENTS, INCLUDING PREPAYMENTS ON EXECUTORY CONTRACTS, LEASES,
       INSURANCE, TAXES, AND RENT
       DESCRIPTION, INCLUDING NAME OF HOLDER OF PREPAYMENT

       8.1.        ARCH SPECIALITY INSURANCE COMPANY - PREPAID CYBER LIABILITY INSURANCE                                                      $29,861.28

       8.2.        ASCENTIS CORPORATION - PREPAID GENERAL                                                                                       $1,680.50

       8.3.        AXIS INSURANCE - PREPAID EMPLOYMENT PRACTICES LIABILITY INSURANCE                                                          $43,339.17

       8.4.        BANC OF CALIFORNIA, N.A. - PREPAID GENERAL                                                                                   $1,458.33

       8.5.        CBRE, INC. - PREPAID RENT                                                                                                    $6,529.58

       8.6.        CHUBB/LLOYDS - PREPAID EPL, FID, CARGO INSURANCE                                                                           $14,784.25

       8.7.        CLEDARA LIMITED - PREPAID GENERAL                                                                                            $1,666.67

       8.8.        CNA INSURANCE - PREPAID LIQUOR, UMB.EXCESS, WC, AR AUTO INSURANCE                                                           $11,834.45

       8.9.        CNA INSURANCE - PREPAID WC INSURANCE                                                                                       $31,325.51

       8.10.       DONNELLEY FINANCIAL SOLUTIONS - PREPAID GENERAL                                                                            $39,000.00

       8.11.       ETRADE FINANCIAL CORPORATE SERVICES, INC. - PREPAID GENERAL                                                                  $1,666.66

       8.12.       EVEREST NATIONAL INSURANCE - PREPAID CYBER LIABILITY - EXCESS INSURANCE                                                    $28,921.33

       8.13.       FIVETRAN, INC. - PREPAID GENERAL                                                                                             $6,640.84

       8.14.       GRIN TECHNOLOGIES, INC. - PREPAID MARKETING                                                                                $13,174.18

       8.15.       IMA, INC. - PREPAID D&O INSURANCE                                                                                       $2,347,154.17

       8.16.       LATHAM & WATKINS LLP - PREPAID GENERAL                                                                                     $10,000.00

       8.17.       LEXISNEXIS - PREPAID GENERAL                                                                                                 $2,625.00

       8.18.       LOWITZ & SONS - GENERAL PREPAID                                                                                            $12,146.00

       8.19.       NYSE GROUP, INC. - PREPAID GENERAL                                                                                               $575.50

       8.20.       ORACLE AMERICA, INC. (NETSUITE) - PREPAID GENERAL                                                                          $31,651.51

       8.21.       RAND WORLDWIDE - PREPAID GENERAL                                                                                           $27,147.90

       8.22.       SALESFORCE.COM DBA TABLEAU SOFTWARE, LLC - PREPAID GENERAL                                                                       $444.96

       8.23.       SHELTER POINT LIFE - PREPAID DISABILITY AND PAID FAMILY LEAVE INSURANCE                                                          $251.02

       8.24.       SHOWFIELDS FL 1 LLC - PREPAID GENERAL                                                                                        $4,875.00

       8.25.       SLACK TECHNOLOGIES - PREPAID GENERAL                                                                                         $3,020.94

       8.26.       SOFTWAREONE, INC. - PREPAID GENERAL                                                                                          $1,222.61

       8.27.       STELLA CONNECT - PREPAID GENERAL                                                                                                 $350.00

       8.28.       STELLA CONNECT - PREPAID GENERAL                                                                                                  $90.00

       8.29.       TRAVELERS - PREPAID FIDUCIARY LIABILITY INSURANCE                                                                            $3,275.00

       8.30.       UNITED HEALTHCARE INSURANCE COMPANY - PREPAID EMPLOYEE HEALTH INSURANCE                                                    $58,227.00

       8.31.       YOUGOV AMERICA INC. - PREPAID GENERAL                                                                                        $3,033.33

       8.32.       ZENDESK, INC - PREPAID GENERAL                                                                                             $28,746.00

 9     Total of Part 2.
       ADD LINES 7 THROUGH 8. COPY THE TOTAL TO LINE 81.                                                                                   $2,791,789.75




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 Part 3:       ACCOUNTS RECEIVABLE

 10.   DOES THE DEBTOR HAVE ANY ACCOUNTS RECEIVABLE?
       ¨ No. Go to Part 4.
       þ Yes. Fill in the information below.


                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest

 11.   ACCOUNTS RECEIVABLE

       90 DAYS OR LESS                           $21,161.51                                       $0.00                                           $21,161.51
                                                               -                                                =    è
                                                 face amount           doubtful or uncollectable accounts



 12    Total of Part 3.
       CURRENT VALUE ON LINES 11A + 11B = LINE 12. COPY THE TOTAL TO LINE 82.                                                                     $21,161.51


 Part 4:       INVESTMENTS

 13.   DOES THE DEBTOR OWN ANY INVESTMENTS?
       ¨ No. Go to Part 5.
       þ Yes. Fill in the information below.


                                                                                                            Valuation method used   Current value of
                                                                                                            for current value       debtor’s interest

 14.   MUTUAL FUNDS OR PUBLICLY TRADED STOCKS NOT INCLUDED IN PART 1
       NAME OF FUND OR STOCK:


 15.   NON-PUBLICLY TRADED STOCK AND INTERESTS IN INCORPORATED AND
       UNINCORPORATED BUSINESSES, INCLUDING ANY INTEREST IN AN LLC, PARTNERSHIP,
       OR JOINT VENTURE

       Name of entity                                                                % of ownership

       15.1.       BWSC, LLC                                                       100%                     N/A                             UNDETERMINED

       15.2.       WINC LOST POET, LLC                                             90%                      N/A                             UNDETERMINED

 16.   GOVERNMENT BONDS, CORPORATE BONDS, AND OTHER NEGOTIABLE AND
       NON-NEGOTIABLE INSTRUMENTS NOT INCLUDED IN PART 1
       DESCRIBE:


 17    Total of Part 4.
       ADD LINES 14 THROUGH 16. COPY THE TOTAL TO LINE 83.                                                                                  UNDETERMINED


 Part 5:       INVENTORY, EXCLUDING AGRICULTURE ASSETS

 18.   DOES THE DEBTOR OWN ANY INVENTORY (EXCLUDING AGRICULTURE ASSETS)?
       þ No. Go to Part 6.
       ¨ Yes. Fill in the information below.


                                                  Date of the last           Net book value of              Valuation method used   Current value of
           General description
                                                  physical inventory         debtor's interest              for current value       debtor’s interest
                                                                             (Where available)

 19.   RAW MATERIALS


 20.   WORK IN PROGRESS


 21.   FINISHED GOODS, INCLUDING GOODS HELD FOR RESALE


 22.   OTHER INVENTORY OR SUPPLIES



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                                                              Date of the last          Net book value of        Valuation method used         Current value of
           General description
                                                              physical inventory        debtor's interest        for current value             debtor’s interest
                                                                                        (Where available)

 23    Total of Part 5.
       ADD LINES 19 THROUGH 22. COPY THE TOTAL TO LINE 84.                                                                                               NOT APPLICABLE

 24.   Is any of the property listed in Part 5 perishable?
       þ No
       ¨ Yes

 25.   Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
       þ No
       ¨ Yes        Book value                         Valuation method                                                                  Current value

 26.   Has any of the property listed in Part 5 been appraised by a professional within the last year?
       þ No
       ¨ Yes
 Part 6:      FARMING AND FISHING-RELATED ASSETS (OTHER THAN TITLED MOTOR VEHICLES AND LAND)

 27.   DOES THE DEBTOR OWN OR LEASE ANY FARMING AND FISHING-RELATED ASSETS (OTHER THAN TITLED MOTOR VEHICLES AND
       LAND)?
       þ No. Go to Part 7.
       ¨ Yes. Fill in the information below.

                                                                                        Net book value of        Valuation method used         Current value of
           General description
                                                                                        debtor's interest        for current value             debtor’s interest
                                                                                        (Where available)

 28.   CROPS—EITHER PLANTED OR HARVESTED


 29.   FARM ANIMALS EXAMPLES: LIVESTOCK, POULTRY, FARM-RAISED FISH EXAMPLES:
       LIVESTOCK, POULTRY, FARM-RAISED FISH


 30.   FARM MACHINERY AND EQUIPMENT (OTHER THAN TITLED MOTOR VEHICLES) (OTHER
       THAN TITLED MOTOR VEHICLES)


 31.   FARM AND FISHING SUPPLIES, CHEMICALS, AND FEED


 32.   OTHER FARMING AND FISHING-RELATED PROPERTY NOT ALREADY LISTED IN PART 6


 33    Total of Part 6.
       ADD LINES 28 THROUGH 32. COPY THE TOTAL TO LINE 85.                                                                                               NOT APPLICABLE

 34.   Is the debtor a member of an agricultural cooperative?
       þ No
       ¨ Yes. Is any of the debtor’s property stored at the cooperative ?
             ¨ No
             ¨ Yes

 35.   Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
       þ No
       ¨ Yes

 36.   Is a depreciation schedule available for any of the property listed in Part 6?
       þ No
       ¨ Yes

 37.   Has any of the property listed in Part 6 been appraised by a professional within the last year?
       þ No
       ¨ Yes
 Part 7:      OFFICE FURNITURE, FIXTURES, AND EQUIPMENT; AND COLLECTIBLES

 38.   DOES THE DEBTOR OWN OR LEASE ANY OFFICE FURNITURE, FIXTURES, EQUIPMENT, OR COLLECTIBLES?
       ¨ No. Go to Part 8.
       þ Yes. Fill in the information below.




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                                                                                        Net book value of       Valuation method used   Current value of
           General description
                                                                                        debtor's interest       for current value       debtor’s interest
                                                                                        (Where available)

 39.   OFFICE FURNITURE

       39.1.       OFFICE FURNITURE AND FIXTURES                                                   $96,977.10   NET BOOK VALUE                        $96,977.10

 40.   OFFICE FIXTURES

       40.1.       LEASEHOLD IMPROVEMENTS                                                          $55,834.79   NET BOOK VALUE                        $55,834.79

       40.2.       SEE QUESTION 39 FOR OFFICE FURNITURE AND
                   FIXTURES

 41.   OFFICE EQUIPMENT, INCLUDING ALL COMPUTER EQUIPMENT AND COMMUNICATION
       SYSTEMS EQUIPMENT AND SOFTWARE

       41.1.       COMPUTER EQUIPMENT                                                              $94,664.48   NET BOOK VALUE                        $94,664.48

       41.2.       WEBSITE DEVELOPMENT                                                            $100,544.37   NET BOOK VALUE                       $100,544.37

 42.   COLLECTIBLES EXAMPLES: ANTIQUES AND FIGURINES; PAINTINGS, PRINTS, OR
       OTHER ARTWORK; BOOKS, PICTURES, OR OTHER ART OBJECTS; CHINA AND
       CRYSTAL; STAMP, COIN, OR BASEBALL CARD COLLECTIONS; OTHER COLLECTIONS,
       MEMORABILIA, OR COLLECTIBLES EXAMPLES: ANTIQUES AND FIGURINES; PAINTINGS,
       PRINTS, OR OTHER ARTWORK; BOOKS, PICTURES, OR OTHER ART OBJECTS; CHINA
       AND CRYSTAL; STAMP, COIN, OR BASEBALL CARD COLLECTIONS; OTHER
       COLLECTIONS, MEMORABILIA, OR COLLECTIBLES

       NONE


 43    Total of Part 7.
       ADD LINES 39 THROUGH 42. COPY THE TOTAL TO LINE 86.                                                                                           $348,020.74


 44.   Is a depreciation schedule available for any of the property listed in Part 7?
       ¨ No
       þ Yes

 45.   Has any of the property listed in Part 7 been appraised by a professional within the last year?
       þ No
       ¨ Yes
 Part 8:       MACHINERY, EQUIPMENT, AND VEHICLES

 46.   DOES THE DEBTOR OWN OR LEASE ANY MACHINERY, EQUIPMENT, OR VEHICLES?
       ¨ No. Go to Part 9.
       þ Yes. Fill in the information below.


           General description                                                          Net book value of       Valuation method used   Current value of
           Include year, make, model, and identification numbers (i.e., VIN,            debtor's interest       for current value       debtor’s interest
           HIN, or N-number)                                                            (Where available)


 47.   AUTOMOBILES, VANS, TRUCKS, MOTORCYCLES, TRAILERS, AND TITLED FARM
       VEHICLES

       NONE


 48.   WATERCRAFT, TRAILERS, MOTORS, AND RELATED ACCESSORIES EXAMPLES: BOATS,
       TRAILERS, MOTORS, FLOATING HOMES, PERSONAL WATERCRAFT, AND FISHING
       VESSELS

       NONE


 49.   AIRCRAFT AND ACCESSORIES

       NONE


 50.   OTHER MACHINERY, FIXTURES, AND EQUIPMENT (EXCLUDING FARM MACHINERY AND
       EQUIPMENT)

       50.1.       MACHINERY AND EQUIPMENT                                                         $27,775.48   NET BOOK VALUE                        $27,775.48



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 51    Total of Part 8.
       ADD LINES 47 THROUGH 50. COPY THE TOTAL TO LINE 87.                                                                                            $27,775.48


 52.   Is a depreciation schedule available for any of the property listed in Part 8?
       ¨ No
       þ Yes

 53.   Has any of the property listed in Part 8 been appraised by a professional within the last year?
       þ No
       ¨ Yes
 Part 9:       REAL PROPERTY

 54.   DOES THE DEBTOR OWN OR LEASE ANY REAL PROPERTY?
       ¨ No. Go to Part 10.
       þ Yes. Fill in the information below.

 55.   ANY BUILDING, OTHER IMPROVED REAL ESTATE, OR LAND WHICH THE DEBTOR OWNS OR IN WHICH THE DEBTOR HAS AN INTEREST


                                                           Nature and extent            Net book value of       Valuation method used   Current value of
           Description and location of property
           Include street address or other description     of debtor’s                  debtor's interest       for current value       debtor’s interest
           such as Assessor Parcel Number (APN), and       interest in                  (Where available)
           type of property (for example, acreage,         property
           factory, warehouse, apartment or office
           building), if available

       55.1.       1515 GARNET MINE RD, BETHEL           PA WAREHOUSE                         UNDETERMINED N/A                                  UNDETERMINED
                   TOWNSHIP, PA                          LEASE

       55.2.       1745 BERKELEY ST., SANTA              OFFICE LEASE                         UNDETERMINED N/A                                  UNDETERMINED
                   MONICA, CA

       55.3.       1751 BERKELEY ST., STUDIO 3,          OFFICE LEASE                         UNDETERMINED N/A                                  UNDETERMINED
                   SANTA MONICA, CA

       55.4.       5340 ALLA ROAD, LOS ANGELES,          OFFICE LEASE                         UNDETERMINED N/A                                  UNDETERMINED
                   CA

       55.5.       860 E STOWELL RD, SANTA               CA WAREHOUSE                         UNDETERMINED N/A                                  UNDETERMINED
                   MARIA, CA                             LEASE

 56    Total of Part 9.
       ADD THE CURRENT VALUE ON LINES 55.1 THROUGH 55.6 AND ENTRIES FROM ANY                                                                    UNDETERMINED
       ADDITIONAL SHEETS. COPY THE TOTAL TO LINE 88.

 57.   Is a depreciation schedule available for any of the property listed in Part 9?
       þ No
       ¨ Yes

 58.   Has any of the property listed in Part 9 been appraised by a professional within the last year?
       þ No
       ¨ Yes
 Part 10:      INTANGIBLES AND INTELLECTUAL PROPERTY

 59.   DOES THE DEBTOR HAVE ANY INTERESTS IN INTANGIBLES OR INTELLECTUAL PROPERTY?
       ¨ No. Go to Part 11.
       þ Yes. Fill in the information below.


                                                                                        Net book value of       Valuation method used   Current value of
           General description
                                                                                        debtor's interest       for current value       debtor’s interest
                                                                                        (Where available)

 60.   PATENTS, COPYRIGHTS, TRADEMARKS, AND TRADE SECRETS

       60.1.       #TBT - APPLICATION NUMBER - 4785880                                        UNDETERMINED N/A                                  UNDETERMINED

       60.2.       ACE IN THE HOLE - APPLICATION NUMBER - 5051216                             UNDETERMINED N/A                                  UNDETERMINED

       60.3.       AKOYA - APPLICATION NUMBER - 4684823                                       UNDETERMINED N/A                                  UNDETERMINED

       60.4.       ALMA LIBRE - APPLICATION NUMBER - 4828877                                  UNDETERMINED N/A                                  UNDETERMINED

       60.5.       ATAVIST - APPLICATION NUMBER - 4828858                                     UNDETERMINED N/A                                  UNDETERMINED

       60.6.       AU-DELÀ - APPLICATION NUMBER - 4985275                                     UNDETERMINED N/A                                  UNDETERMINED


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                                                                              (Where available)

 60.   PATENTS, COPYRIGHTS, TRADEMARKS, AND TRADE SECRETS

       60.7.       BASELINE - APPLICATION NUMBER - 5678251                          UNDETERMINED N/A                                    UNDETERMINED

       60.8.       BIG BEAT - APPLICATION NUMBER - 4796870                          UNDETERMINED N/A                                    UNDETERMINED

       60.9.       BIOKULT - APPLICATION NUMBER - 3656567                           UNDETERMINED N/A                                    UNDETERMINED

       60.10.      BOKETTO - APPLICATION NUMBER - 88722219                          UNDETERMINED N/A                                    UNDETERMINED

       60.11.      BRETHREN OF THE ROAD - APPLICATION NUMBER -                      UNDETERMINED N/A                                    UNDETERMINED
                   4689816

       60.12.      BROAD & PATTISON - APPLICATION NUMBER - 6186662                  UNDETERMINED N/A                                    UNDETERMINED

       60.13.      CASA DE LILA - APPLICATION NUMBER - 90897917                     UNDETERMINED N/A                                    UNDETERMINED

       60.14.      CHANCHITO - APPLICATION NUMBER - 4988822                         UNDETERMINED N/A                                    UNDETERMINED

       60.15.      CHERRIES & RAINBOWS - APPLICATION NUMBER -                       UNDETERMINED N/A                                    UNDETERMINED
                   6074034

       60.16.      CHOMMIE - APPLICATION NUMBER - 4988821                           UNDETERMINED N/A                                    UNDETERMINED

       60.17.      CHOP SHOP - APPLICATION NUMBER - 4814766                         UNDETERMINED N/A                                    UNDETERMINED

       60.18.      CLUB W - APPLICATION NUMBER - 4176945                            UNDETERMINED N/A                                    UNDETERMINED

       60.19.      COCOMERO - APPLICATION NUMBER - 5083969                          UNDETERMINED N/A                                    UNDETERMINED

       60.20.      COPYCAT - APPLICATION NUMBER - 4868482                           UNDETERMINED N/A                                    UNDETERMINED

       60.21.      COWTOWN - APPLICATION NUMBER - 4762006                           UNDETERMINED N/A                                    UNDETERMINED

       60.22.      DEBTS AND LESSONS - APPLICATION NUMBER -                         UNDETERMINED N/A                                    UNDETERMINED
                   5591931

       60.23.      DÉCLASSÉ - APPLICATION NUMBER - 5073314                          UNDETERMINED N/A                                    UNDETERMINED

       60.24.      DIME - APPLICATION NUMBER - 4914912                              UNDETERMINED N/A                                    UNDETERMINED

       60.25.      DIVINER - APPLICATION NUMBER - 5347935                           UNDETERMINED N/A                                    UNDETERMINED

       60.26.      ENDGAME - APPLICATION NUMBER - 4864507                           UNDETERMINED N/A                                    UNDETERMINED

       60.27.      FIELD THEORY - APPLICATION NUMBER - 5196989                      UNDETERMINED N/A                                    UNDETERMINED

       60.28.      FINKE'S WIDOW - APPLICATION NUMBER - 5197280                     UNDETERMINED N/A                                    UNDETERMINED

       60.29.      FOG LAND - APPLICATION NUMBER - 4814764                          UNDETERMINED N/A                                    UNDETERMINED

       60.30.      FOLLY OF THE BEAST - APPLICATION NUMBER -                        UNDETERMINED N/A                                    UNDETERMINED
                   5053327

       60.31.      FORMA DE VIDA - APPLICATION NUMBER - 97461706                    UNDETERMINED N/A                                    UNDETERMINED

       60.32.      FORMA DE VIDA - APPLICATION NUMBER - 4994540                     UNDETERMINED N/A                                    UNDETERMINED

       60.33.      FULL BODY BEAUTY - APPLICATION NUMBER -                          UNDETERMINED N/A                                    UNDETERMINED
                   88427399

       60.34.      FUNK ZONE - APPLICATION NUMBER - 4733318                         UNDETERMINED N/A                                    UNDETERMINED

       60.35.      GOLDEN CHILD - APPLICATION NUMBER - 6640189                      UNDETERMINED N/A                                    UNDETERMINED

       60.36.      GOOD TWIN - APPLICATION NUMBER - 97196644                        UNDETERMINED N/A                                    UNDETERMINED

       60.37.      HONEY BEAST - APPLICATION NUMBER - 5142393                       UNDETERMINED N/A                                    UNDETERMINED

       60.38.      HOUSE OF LUCK - APPLICATION NUMBER - 6599173                     UNDETERMINED N/A                                    UNDETERMINED

       60.39.      IDEE FIXE - APPLICATION NUMBER - 4842289                         UNDETERMINED N/A                                    UNDETERMINED

       60.40.      IF A TREE FALLS - APPLICATION NUMBER - 5004566                   UNDETERMINED N/A                                    UNDETERMINED

       60.41.      INKARRI - APPLICATION NUMBER - 5486319                           UNDETERMINED N/A                                    UNDETERMINED

       60.42.      KEEP IT CHILL - APPLICATION NUMBER - 5928276                     UNDETERMINED N/A                                    UNDETERMINED

       60.43.      KEEP IT CHILL - APPLICATION NUMBER - 88306843                    UNDETERMINED N/A                                    UNDETERMINED

       60.44.      KIN + COUNTRY - APPLICATION NUMBER - 4765964                     UNDETERMINED N/A                                    UNDETERMINED

       60.45.      LA MULETA - APPLICATION NUMBER - 4864499                         UNDETERMINED N/A                                    UNDETERMINED




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          General description
                                                                             debtor's interest         for current value       debtor’s interest
                                                                             (Where available)

 60.   PATENTS, COPYRIGHTS, TRADEMARKS, AND TRADE SECRETS

       60.46.    L'ATELIER DU SUD - APPLICATION NUMBER - 4753309                   UNDETERMINED N/A                                    UNDETERMINED

       60.47.    LAUGHING OWL - APPLICATION NUMBER - 4864511                       UNDETERMINED N/A                                    UNDETERMINED

       60.48.    LE FERMIER - APPLICATION NUMBER - 97329797                        UNDETERMINED N/A                                    UNDETERMINED

       60.49.    LIGHT & SPACE - APPLICATION NUMBER - 6009175                      UNDETERMINED N/A                                    UNDETERMINED

       60.50.    LIKELIHOOD OF CONFUSION - APPLICATION NUMBER -                    UNDETERMINED N/A                                    UNDETERMINED
                  4988823

       60.51.    LITTLE SUR - APPLICATION NUMBER - 90897920                        UNDETERMINED N/A                                    UNDETERMINED

       60.52.    LIVE EVERY DAY LIKE IT'S THE WKND. - APPLICATION                  UNDETERMINED N/A                                    UNDETERMINED
                 NUMBER - 4988829

       60.53.    LOVES ME NOT - APPLICATION NUMBER - 5293657                       UNDETERMINED N/A                                    UNDETERMINED

       60.54.    LUCKY LOOK - APPLICATION NUMBER - 6695464                         UNDETERMINED N/A                                    UNDETERMINED

       60.55.    MAISON MATRONA - APPLICATION NUMBER - 97118808                    UNDETERMINED N/A                                    UNDETERMINED

       60.56.    MATCHLOCK - APPLICATION NUMBER - 5417171                          UNDETERMINED N/A                                    UNDETERMINED

       60.57.    METAL MADE - APPLICATION NUMBER - 97461726                        UNDETERMINED N/A                                    UNDETERMINED

       60.58.    METAL MADE - APPLICATION NUMBER - 4994538                         UNDETERMINED N/A                                    UNDETERMINED

       60.59.    MÉTHODE EXPÉRIMENTALE - APPLICATION NUMBER -                      UNDETERMINED N/A                                    UNDETERMINED
                 5147707

       60.60.    NEW NATIVE - APPLICATION NUMBER - 4814765                         UNDETERMINED N/A                                    UNDETERMINED

       60.61.    OBJET D'ART - APPLICATION NUMBER - 5166174                        UNDETERMINED N/A                                    UNDETERMINED

       60.62.    ONE FROM THE QUIVER - APPLICATION NUMBER -                        UNDETERMINED N/A                                    UNDETERMINED
                 90870209

       60.63.    OUTER SOUNDS - APPLICATION NUMBER - 5229671                       UNDETERMINED N/A                                    UNDETERMINED

       60.64.    PACIFICANA - APPLICATION NUMBER - 4762001                         UNDETERMINED N/A                                    UNDETERMINED

       60.65.    PIZZOLATO FIELDS - APPLICATION NUMBER - 5170778                   UNDETERMINED N/A                                    UNDETERMINED

       60.66.    PORTER AND PLOT - APPLICATION NUMBER - 4615152                    UNDETERMINED N/A                                    UNDETERMINED

       60.67.    PREGAME - APPLICATION NUMBER - 4934846                            UNDETERMINED N/A                                    UNDETERMINED

       60.68.    PRETTY YOUNG THING - APPLICATION NUMBER -                         UNDETERMINED N/A                                    UNDETERMINED
                 4762003

       60.69.    PRISMUS - APPLICATION NUMBER - 4761999                            UNDETERMINED N/A                                    UNDETERMINED

       60.70.    QTY - APPLICATION NUMBER - 5197235                                UNDETERMINED N/A                                    UNDETERMINED

       60.71.    QUESTO QUELLO - APPLICATION NUMBER - 4878573                      UNDETERMINED N/A                                    UNDETERMINED

       60.72.    RAP - APPLICATION NUMBER - 5064894                                UNDETERMINED N/A                                    UNDETERMINED

       60.73.    REFRACTORY RHYME - APPLICATION NUMBER -                           UNDETERMINED N/A                                    UNDETERMINED
                 97240606

       60.74.    RESTLESS EARTH - APPLICATION NUMBER - 5197040                     UNDETERMINED N/A                                    UNDETERMINED

       60.75.    ROME OF THE NORTH - APPLICATION NUMBER -                          UNDETERMINED N/A                                    UNDETERMINED
                 6840849

       60.76.    RUZA - APPLICATION NUMBER - 4814797                               UNDETERMINED N/A                                    UNDETERMINED

       60.77.    SALIENT - APPLICATION NUMBER - 4746631                            UNDETERMINED N/A                                    UNDETERMINED

       60.78.    SCHEDULE-A-SOMM - APPLICATION NUMBER - 5082288                    UNDETERMINED N/A                                    UNDETERMINED

       60.79.    SIN FREE - APPLICATION NUMBER - 90838642                          UNDETERMINED N/A                                    UNDETERMINED

       60.80.    SO THIS HAPPENED... - APPLICATION NUMBER -                        UNDETERMINED N/A                                    UNDETERMINED
                 4733319

       60.81.    SPARTICO - APPLICATION NUMBER - 4850062                           UNDETERMINED N/A                                    UNDETERMINED

       60.82.    SUMMER WATER - APPLICATION NUMBER - 1114397                       UNDETERMINED N/A                                    UNDETERMINED




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             (Name)



                                                                          Net book value of         Valuation method used   Current value of
          General description
                                                                          debtor's interest         for current value       debtor’s interest
                                                                          (Where available)

 60.   PATENTS, COPYRIGHTS, TRADEMARKS, AND TRADE SECRETS

       60.83.    SUMMER WATER - APPLICATION NUMBER - 1201265                    UNDETERMINED N/A                                    UNDETERMINED

       60.84.    SUMMER WATER - APPLICATION NUMBER - 1451739                    UNDETERMINED N/A                                    UNDETERMINED

       60.85.    SUMMER WATER - APPLICATION NUMBER - 1451739                    UNDETERMINED N/A                                    UNDETERMINED

       60.86.    SUMMER WATER - APPLICATION NUMBER - 1451739                    UNDETERMINED N/A                                    UNDETERMINED

       60.87.    SUMMER WATER - APPLICATION NUMBER - 1451739                    UNDETERMINED N/A                                    UNDETERMINED

       60.88.    SUMMER WATER - APPLICATION NUMBER - 1640992                    UNDETERMINED N/A                                    UNDETERMINED

       60.89.    SUMMER WATER - APPLICATION NUMBER - 1640992                    UNDETERMINED N/A                                    UNDETERMINED

       60.90.    SUMMER WATER - APPLICATION NUMBER - 1640992                    UNDETERMINED N/A                                    UNDETERMINED

       60.91.    SUMMER WATER - APPLICATION NUMBER - 1640992                    UNDETERMINED N/A                                    UNDETERMINED

       60.92.    SUMMER WATER - APPLICATION NUMBER - 1640992                    UNDETERMINED N/A                                    UNDETERMINED

       60.93.    SUMMER WATER - APPLICATION NUMBER - 1941925                    UNDETERMINED N/A                                    UNDETERMINED

       60.94.    SUMMER WATER - APPLICATION NUMBER - 1990869                    UNDETERMINED N/A                                    UNDETERMINED

       60.95.    SUMMER WATER - APPLICATION NUMBER - 2026891                    UNDETERMINED N/A                                    UNDETERMINED

       60.96.    SUMMER WATER - APPLICATION NUMBER - 2244702                    UNDETERMINED N/A                                    UNDETERMINED

       60.97.    SUMMER WATER - APPLICATION NUMBER - 2691589                    UNDETERMINED N/A                                    UNDETERMINED

       60.98.    SUMMER WATER - APPLICATION NUMBER - 2691590                    UNDETERMINED N/A                                    UNDETERMINED

       60.99.    SUMMER WATER - APPLICATION NUMBER - 4924228                    UNDETERMINED N/A                                    UNDETERMINED

       60.100. SUMMER WATER - APPLICATION NUMBER - 86567030                     UNDETERMINED N/A                                    UNDETERMINED

       60.101. SUMMER WATER - APPLICATION NUMBER - 90777874                     UNDETERMINED N/A                                    UNDETERMINED

       60.102. SUMMER WATER - APPLICATION NUMBER - 90978106                     UNDETERMINED N/A                                    UNDETERMINED

       60.103. SUMMER WATER - APPLICATION NUMBER - A0082608                     UNDETERMINED N/A                                    UNDETERMINED

       60.104. SUMMER WATER - APPLICATION NUMBER - A0082608                     UNDETERMINED N/A                                    UNDETERMINED

       60.105. SUMMER WATER - APPLICATION NUMBER - A0082608                     UNDETERMINED N/A                                    UNDETERMINED

       60.106. SUMMER WATER - APPLICATION NUMBER - A0082608                     UNDETERMINED N/A                                    UNDETERMINED

       60.107. SUMMER WATER - APPLICATION NUMBER - A0116267                     UNDETERMINED N/A                                    UNDETERMINED

       60.108. SUMMER WATER - APPLICATION NUMBER - A0116267                     UNDETERMINED N/A                                    UNDETERMINED

       60.109. SUMMER WATER - APPLICATION NUMBER - A0116267                     UNDETERMINED N/A                                    UNDETERMINED

       60.110. SUMMER WATER - APPLICATION NUMBER - A0116267                     UNDETERMINED N/A                                    UNDETERMINED

       60.111. SUMMER WATER - APPLICATION NUMBER - A0116267                     UNDETERMINED N/A                                    UNDETERMINED

       60.112. SUMMER WATER - APPLICATION NUMBER - A0116267                     UNDETERMINED N/A                                    UNDETERMINED

       60.113. SUMMER WATER - APPLICATION NUMBER -                              UNDETERMINED N/A                                    UNDETERMINED
               UK00801451739

       60.114. SUMMER WATER - APPLICATION NUMBER -                              UNDETERMINED N/A                                    UNDETERMINED
               TMA1128051

       60.115. SUMMER WATER SOCIETÉ - APPLICATION NUMBER -                      UNDETERMINED N/A                                    UNDETERMINED
               5574421

       60.116. SUPERCLUSTER - APPLICATION NUMBER - 4762004                      UNDETERMINED N/A                                    UNDETERMINED

       60.117. THE BLUFFER - APPLICATION NUMBER - 4924159                       UNDETERMINED N/A                                    UNDETERMINED

       60.118. THE BONDSMAN - APPLICATION NUMBER - 4860821                      UNDETERMINED N/A                                    UNDETERMINED

       60.119. THE INDEPENDENT - APPLICATION NUMBER - 4825091                   UNDETERMINED N/A                                    UNDETERMINED

       60.120. TRADEMARK - APPLICATION NUMBER - 3989104                         UNDETERMINED N/A                                    UNDETERMINED

       60.121. TRADEMARK - APPLICATION NUMBER - 4793611                         UNDETERMINED N/A                                    UNDETERMINED

       60.122. TRADEMARK - APPLICATION NUMBER - 5373148                         UNDETERMINED N/A                                    UNDETERMINED

       60.123. TRADEMARK - APPLICATION NUMBER - 5563469                         UNDETERMINED N/A                                    UNDETERMINED


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               (Name)



                                                                          Net book value of         Valuation method used   Current value of
          General description
                                                                          debtor's interest         for current value       debtor’s interest
                                                                          (Where available)

 60.   PATENTS, COPYRIGHTS, TRADEMARKS, AND TRADE SECRETS

       60.124. TRADEMARK - APPLICATION NUMBER - 6754306                         UNDETERMINED N/A                                    UNDETERMINED

       60.125. TRADEMARK - APPLICATION NUMBER - 97029528                        UNDETERMINED N/A                                    UNDETERMINED

       60.126. UN PASO MÁS - APPLICATION NUMBER - 4814763                       UNDETERMINED N/A                                    UNDETERMINED

       60.127. UNDERCARD - APPLICATION NUMBER - 4878588                         UNDETERMINED N/A                                    UNDETERMINED

       60.128. UPSWELL - APPLICATION NUMBER - 4842377                           UNDETERMINED N/A                                    UNDETERMINED

       60.129. VIARAE - APPLICATION NUMBER - 97231326                           UNDETERMINED N/A                                    UNDETERMINED

       60.130. VILLE BASSE - APPLICATION NUMBER - 4711882                       UNDETERMINED N/A                                    UNDETERMINED

       60.131. WILHELMINA - APPLICATION NUMBER - 4878587                        UNDETERMINED N/A                                    UNDETERMINED

       60.132. WINC - APPLICATION NUMBER - 5086799                              UNDETERMINED N/A                                    UNDETERMINED

       60.133. WINC - APPLICATION NUMBER - 5143508                              UNDETERMINED N/A                                    UNDETERMINED

       60.134. WKND - APPLICATION NUMBER - 4957480                              UNDETERMINED N/A                                    UNDETERMINED

       60.135. WONDERFUL WINE CO - APPLICATION NUMBER -                         UNDETERMINED N/A                                    UNDETERMINED
               4737928

       60.136. WONDERS - APPLICATION NUMBER - 88722156                          UNDETERMINED N/A                                    UNDETERMINED

       60.137. ZWICKER - APPLICATION NUMBER - 4878574                           UNDETERMINED N/A                                    UNDETERMINED

 61.   INTERNET DOMAIN NAMES AND WEBSITES

       61.1.       BASELINEWINES.COM                                            UNDETERMINED N/A                                    UNDETERMINED

       61.2.       CAPUCHONWINE.COM                                             UNDETERMINED N/A                                    UNDETERMINED

       61.3.       CHERRIESANDRAINBOWS.COM                                      UNDETERMINED N/A                                    UNDETERMINED

       61.4.       CHOPSHOPWINE.COM                                             UNDETERMINED N/A                                    UNDETERMINED

       61.5.       CLUBW.COM                                                    UNDETERMINED N/A                                    UNDETERMINED

       61.6.       CUSTOMHOUSEWINES.COM                                         UNDETERMINED N/A                                    UNDETERMINED

       61.7.       DIMEWINES.COM                                                UNDETERMINED N/A                                    UNDETERMINED

       61.8.       DIVINERWINE.COM                                              UNDETERMINED N/A                                    UNDETERMINED

       61.9.       DRINKDIME.COM                                                UNDETERMINED N/A                                    UNDETERMINED

       61.10.      DRINKVIARAE.COM                                              UNDETERMINED N/A                                    UNDETERMINED

       61.11.      DRINKWINC.COM                                                UNDETERMINED N/A                                    UNDETERMINED

       61.12.      FIELDTHEORYWINE.COM                                          UNDETERMINED N/A                                    UNDETERMINED

       61.13.      FINKESWINDOW.COM                                             UNDETERMINED N/A                                    UNDETERMINED

       61.14.      FOLLYOFTHEBEAST.COM                                          UNDETERMINED N/A                                    UNDETERMINED

       61.15.      FUNKZONEWINES.CO                                             UNDETERMINED N/A                                    UNDETERMINED

       61.16.      GIVEWINE.COM                                                 UNDETERMINED N/A                                    UNDETERMINED

       61.17.      KEEPITCHILL.WINE                                             UNDETERMINED N/A                                    UNDETERMINED

       61.18.      LEAPYEARWINE.COM                                             UNDETERMINED N/A                                    UNDETERMINED

       61.19.      LOSTPOET.WINE                                                UNDETERMINED N/A                                    UNDETERMINED

       61.20.      LOSTPOETWINE.COM                                             UNDETERMINED N/A                                    UNDETERMINED

       61.21.      MATCHLOCKWINE.COM                                            UNDETERMINED N/A                                    UNDETERMINED

       61.22.      POETWINE.COM                                                 UNDETERMINED N/A                                    UNDETERMINED

       61.23.      PORTERANDPLOT.COM                                            UNDETERMINED N/A                                    UNDETERMINED

       61.24.      PREGAMEWINE.COM                                              UNDETERMINED N/A                                    UNDETERMINED

       61.25.      RESTLESSEARTHWINES.COM                                       UNDETERMINED N/A                                    UNDETERMINED

       61.26.      RUZACANS.COM                                                 UNDETERMINED N/A                                    UNDETERMINED



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 Debtor        Winc, Inc.       Case 22-11238-LSS               Doc 93         Filed 12/28/22
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                                                                               Net book value of         Valuation method used   Current value of
          General description
                                                                               debtor's interest         for current value       debtor’s interest
                                                                               (Where available)

 61.   INTERNET DOMAIN NAMES AND WEBSITES

       61.27.      RUZARIGHTNOW.COM                                                  UNDETERMINED N/A                                    UNDETERMINED

       61.28.      RUZAWINE.COM                                                      UNDETERMINED N/A                                    UNDETERMINED

       61.29.      SUMMERWATER.COM                                                   UNDETERMINED N/A                                    UNDETERMINED

       61.30.      TRYSUMMERWATER.COM                                                UNDETERMINED N/A                                    UNDETERMINED

       61.31.      TRYWINC.COM                                                       UNDETERMINED N/A                                    UNDETERMINED

       61.32.      TRYWINK.COM                                                       UNDETERMINED N/A                                    UNDETERMINED

       61.33.      WINC.CO                                                           UNDETERMINED N/A                                    UNDETERMINED

       61.34.      WINC.COM                                                          UNDETERMINED N/A                                    UNDETERMINED

       61.35.      WINCGIFT.COM                                                      UNDETERMINED N/A                                    UNDETERMINED

       61.36.      WINCGIFTS.COM                                                     UNDETERMINED N/A                                    UNDETERMINED

       61.37.      WINCLABS.COM                                                      UNDETERMINED N/A                                    UNDETERMINED

       61.38.      WINCSHARES.COM                                                    UNDETERMINED N/A                                    UNDETERMINED

       61.39.      WINKSHARES.COM                                                    UNDETERMINED N/A                                    UNDETERMINED

       61.40.      WKND.US                                                           UNDETERMINED N/A                                    UNDETERMINED

       61.41.      WONDERFULWINE.CO                                                  UNDETERMINED N/A                                    UNDETERMINED

       61.42.      WONDERFULWINE.COM                                                 UNDETERMINED N/A                                    UNDETERMINED

 62.   LICENSES, FRANCHISES, AND ROYALTIES

       62.1.       ACTIVE DISCLOSURE - LICENSE                                       UNDETERMINED N/A                                    UNDETERMINED

       62.2.       AMAZON WEB SERVICES - LICENSE                                     UNDETERMINED N/A                                    UNDETERMINED

       62.3.       ASCENTIS - LICENSE                                                UNDETERMINED N/A                                    UNDETERMINED

       62.4.       BILL.COM - LICENSE                                                UNDETERMINED N/A                                    UNDETERMINED

       62.5.       CLOUDFLARE - LICENSE                                              UNDETERMINED N/A                                    UNDETERMINED

       62.6.       CONCUR - LICENSE                                                  UNDETERMINED N/A                                    UNDETERMINED

       62.7.       DOMO - LICENSE                                                    UNDETERMINED N/A                                    UNDETERMINED

       62.8.       FIVETRAN - LICENSE                                                UNDETERMINED N/A                                    UNDETERMINED

       62.9.       IDOLOGY - LICENSE                                                 UNDETERMINED N/A                                    UNDETERMINED

       62.10.      IMAGINIT - LICENSE (FUSION360 / RAND WORLDWIDE)                   UNDETERMINED N/A                                    UNDETERMINED

       62.11.      LINKEDIN - LICENSE (RECRUITING)                                   UNDETERMINED N/A                                    UNDETERMINED

       62.12.      NETSUITE - LICENSE                                                UNDETERMINED N/A                                    UNDETERMINED

       62.13.      RESPONSYS - LICENSE                                               UNDETERMINED N/A                                    UNDETERMINED

       62.14.      SHOPIFY - LICENSE (WEBSITE FOR WINC GIFT SHOP)                    UNDETERMINED N/A                                    UNDETERMINED

       62.15.      SHOPIFY PLUS - LICENSE (ECOMM PLATFORM)                           UNDETERMINED N/A                                    UNDETERMINED

       62.16.      SOFTWAREONE (AZURE) - LICENSE                                     UNDETERMINED N/A                                    UNDETERMINED

       62.17.      UPCURVE CLOUD - LICENSE (WINC GSUITE ACCOUNT)                     UNDETERMINED N/A                                    UNDETERMINED

       62.18.      ZENDESK - LICENSE                                                 UNDETERMINED N/A                                    UNDETERMINED

 63.   CUSTOMER LISTS, MAILING LISTS, OR OTHER COMPILATIONS


 64.   OTHER INTANGIBLES, OR INTELLECTUAL PROPERTY


 65.   GOODWILL




Official Form 206A/B                                 Schedule A/B: Assets - Real and Personal Property                                       Page 11 of 13
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 66    Total of Part 10.
       ADD LINES 60 THROUGH 65. COPY THE TOTAL TO LINE 89.                                                                                         UNDETERMINED


 67.   Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107) ?
       þ No
       ¨ Yes

 68.   Is there an amortization or other similar schedule available for any of the property listed in Part 10?
       ¨ No
       þ Yes

 69.   Has any of the property listed in Part 10 been appraised by a professional within the last year?
       þ No
       ¨ Yes
 Part 11:      ALL OTHER ASSETS

 70.   DOES THE DEBTOR OWN ANY OTHER ASSETS THAT HAVE NOT YET BEEN REPORTED ON THIS FORM?
       INCLUDE ALL INTERESTS IN EXECUTORY CONTRACTS AND UNEXPIRED LEASES NOT PREVIOUSLY REPORTED ON THIS FORM.
       ¨ No. Go to Part 12.
       þ Yes. Fill in the information below.

                                                                                                                                           Current value of
                                                                                                                                           debtor’s interest

 71.   NOTES RECEIVABLE
       DESCRIPTION (INCLUDE NAME OF OBLIGOR)
       NONE


 72.   TAX REFUNDS AND UNUSED NET OPERATING LOSSES (NOLS)
       DESCRIPTION (FOR EXAMPLE, FEDERAL, STATE, LOCAL)

       72.1.       CALIFORNIA STATE NOL                                                                          Tax year   2012-2021                $35,916,142.00

       72.2.       FEDERAL NOL                                                                                   Tax year   2012-2021                $63,170,978.00

 73.   INTERESTS IN INSURANCE POLICIES OR ANNUITIES

       NONE


 74.   CAUSES OF ACTION AGAINST THIRD PARTIES (WHETHER OR NOT A LAWSUIT HAS
       BEEN FILED)

       74.1.       PAUL HOBBS IMPORTS INC. AND WINC, INC. V. VERITY WINES LLC, ROSENTHAL & ROSENTHAL, INC.,                                        UNDETERMINED
                   TRINITY BEVERAGE GROUP, LLC, HILL FLYNN AND MIKE BELL
       Nature of claim             BREACH OF CONTRACT/FAILURE TO PAY

       Amount requested            UNDETERMINED


 75.   OTHER CONTINGENT AND UNLIQUIDATED CLAIMS OR CAUSES OF ACTION OF EVERY
       NATURE, INCLUDING COUNTERCLAIMS OF THE DEBTOR AND RIGHTS TO SET OFF
       CLAIMS

       NONE


 76.   TRUSTS, EQUITABLE OR FUTURE INTERESTS IN PROPERTY

       NONE


 77.   OTHER PROPERTY OF ANY KIND NOT ALREADY LISTED EXAMPLES: SEASON TICKETS,
       COUNTRY CLUB MEMBERSHIP EXAMPLES: SEASON TICKETS, COUNTRY CLUB
       MEMBERSHIP

       NONE


 78    Total of Part 11.
       ADD LINES 71 THROUGH 77. COPY THE TOTAL TO LINE 90.                                                                                           $99,087,120.00


 79.   Has any of the property listed in Part 11 been appraised by a professional within the last year?
       þ No
       ¨ Yes



Official Form 206A/B                                     Schedule A/B: Assets - Real and Personal Property                                             Page 12 of 13
 Debtor       Winc, Inc.                Case 22-11238-LSS                                  Doc 93               Filed 12/28/22
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              (Name)


 Part 12:     Summary


 In Part 12 copy all of the totals from the earlier parts of the form.



          Type of property                                                                                   Current value of                    Current value of real
                                                                                                             personal property                   property

 80.   Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                               $775,324.00


 81.   Deposits and prepayments. Copy line 9, Part 2.                                                                $2,791,789.75


 82.   Accounts receivable. Copy line 12, Part 3.                                                                        $21,161.51


 83.   Investments. Copy line 17, Part 4.                                                                       UNDETERMINED


 84.   Inventory. Copy line 23, Part 5.


 85.   Farming and fishing-related assets. Copy line 33, Part 6.


 86.   Office furniture, fixtures, and equipment; and collectibles.                                                     $348,020.74
       Copy line 43, Part 7.

 87.   Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                         $27,775.48


 88.   Real property. Copy line 56, Part 9. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .è                        UNDETERMINED


 89.   Intangibles and intellectual property. Copy line 66, Part 10.                                            UNDETERMINED


 90.   All other assets. Copy line 78, Part 11.                                                                     $99,087,120.00
                                                                                                     +

 91.   Total. Add lines 80 through 90 for each column . . . . . . . . . 91a.                                      $103,051,191.48      + 91b.             UNDETERMINED




 92.   Total of all property on Schedule A/B. Lines 91a + 91b = 92 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           $103,051,191.48




Official Form 206A/B                                                      Schedule A/B: Assets - Real and Personal Property                                                 Page 13 of 13
                                    Case 22-11238-LSS                     Doc 93               Filed 12/28/22          Page 24 of 140
  Fill in this information to identify the case:

 Debtor        Winc, Inc.


 United States Bankruptcy Court for the:      Delaware


 Case number           22-11238
  (if known)
                                                                                                                                                    ¨ Check if this is an
                                                                                                                                                       amended filing

 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                             12/15

 Be as complete and accurate as possible.

 1.     1.     Do any creditors have claims secured by debtor’s property?
        ¨ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules . Debtor has nothing else to report on this form.
        þ Yes. Fill in all of the information below.

  Part 1:        List All Creditors with Secured Claims

                                                                                                                       Column A                     Column B
 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more than
        one secured claim, list the creditor separately for each claim.                                                Amount of claim              Value of collateral that
                                                                                                                       Do not deduct the value of   supports this claim
                                                                                                                       collateral.

 2.1             Creditor’s name                                       Describe debtor’s property that is                          $3,635,745.83        UNDETERMINED
                 BANC OF CALIFORNIA, N.A.                              subject to a lien
                                                                       SUBSTANTIALLY ALL OF THE DEBTORS’
                 Creditor's mailing address
                                                                       ASSETS
                 ATTN: MICHAEL BARANOWSKI
                 3 MACARTHUR PLACE                                     Describe the lien
                 SANTA ANA, CA 92707                                   FIRST LIEN REVOLVING CREDIT
                                                                       FACILITY
                 Creditor's email address
                                                                       Is the creditor an insider or related
                 Date or dates debt was incurred                       party?
                 12/15/2020                                            þ No
                 Last 4 digits of account number:                      ¨ Yes
                                                                       Is anyone else liable on this claim?
                 Do multiple creditors have an interest in the
                                                                       ¨ No
                 same property?
                                                                       þ Yes
                 þ No
                 ¨ Yes                                                 As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                       ¨ Contingent
                                                                       ¨ Unliquidated
                                                                       ¨ Disputed

  3.      Total of the dollar amounts from Part 1, Column A, including the amounts from the                                        $3,635,745.83
          Additional Page, if any.




Official Form 206D                                        Schedule D: Creditors Who Have Claims Secured by Property                                                Page 1 of 2
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  Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are
 collection agencies, assignees of claims listed above, and attorneys for secured creditors.

 If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

   Name and Address                                                                                                         On which line in Part        Last 4 digits of
                                                                                                                            1 did you enter the          account number
                                                                                                                            related creditor?            for ths entity

   BANC OF CALIFORNIA, N.A.                                                                                                 Line 2.1
   C/O PACHULSKI STANG ZIEHL & JONES LLP
   ATTN: JAMES E. O'NEILL
   919 N MARKET ST, 17TH FL
   PO BOX 8705
   WILMINGTON, DE 19899-8705

   BANC OF CALIFORNIA, N.A.                                                                                                 Line 2.1
   C/O PACHULSKI STANG ZIEHL & JONES LLP
   ATTN: RICHARD M. PACHULSKI; MAXIM B. LITVAK
   10100 SANTA MONICA BOULEVARD, 13TH FLOOR
   LOS ANGELES, CA 90067




Official Form 206D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                      Page 2 of 2
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  Fill in this information to identify the case:

 Debtor        Winc, Inc.


 United States Bankruptcy Court for the:    Delaware


 Case number           22-11238
  (if known)
                                                                                                                                                  ¨ Check if this is an
                                                                                                                                                      amended filing

 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
 unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
 on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
 (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
 the Additional Page of that Part included in this form.



  Part 1:       List All Creditors with PRIORITY Unsecured Claims


 1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        ¨ No. Go to Part 2.
        þ Yes. Go to line 2.

 2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
        3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                               Total claim               Priority amount

 2.1             Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                   UNKNOWN                     UNKNOWN
                                                                    Check all that apply.
                 AL ALCOHOLIC BEVERAGE CONTROL
                 BOARD                                              þ Contingent
                 2715 GUNTER PARK DR W                              þ Unliquidated
                 MONTGOMERY, AL 36109                               þ Disputed

                 Date or dates debt was incurred                    Basis for the claim:
                                                                    POTENTIAL TAX LIABILITY
                 Last 4 digits of account number:                   Is the claim subject to offset?
                 Specify Code subsection of PRIORITY                þ No
                 unsecured claim: 11 U.S.C. § 507(a) (8)            ¨ Yes


 2.2             Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                    $30,000.00                 $15,150.00
                                                                    Check all that apply.
                 AUDREY TUFFY
                 ADDRESS AVAILABLE UPON REQUEST                     þ Contingent
                                                                    ¨ Unliquidated
                 Date or dates debt was incurred                    ¨ Disputed

                 Last 4 digits of account number:                   Basis for the claim:
                                                                    ACCRUED BONUS
                 Specify Code subsection of PRIORITY
                 unsecured claim: 11 U.S.C. § 507(a) (4)            Is the claim subject to offset?
                                                                    þ No
                                                                    ¨ Yes

 2.3             Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                   UNKNOWN                     UNKNOWN
                                                                    Check all that apply.
                 AZ DEPT OF LIQUOR LICENSES AND
                 CONTROL                                            þ Contingent
                 800 W. WASHINGTON, 5TH FLOOR                       þ Unliquidated
                 PHOENIX, AZ 85007                                  þ Disputed

                 Date or dates debt was incurred                    Basis for the claim:
                                                                    POTENTIAL TAX LIABILITY
                 Last 4 digits of account number:                   Is the claim subject to offset?
                 Specify Code subsection of PRIORITY                þ No
                 unsecured claim: 11 U.S.C. § 507(a) (8)            ¨ Yes




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                                                                                                                        Total claim    Priority amount

 2.4        Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            AZ DEPT OF REVENUE
            1600 W MONROE ST                                   þ Contingent
            PHOENIX, AZ 85007                                  þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.5        Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            CALIFORNIA DEPARTMENT OF TAX AND FEE
            ADMINISTRATION                                     þ Contingent
            RETURN PROCESSING RANCH                            þ Unliquidated
            P.O. BOX 942879                                    þ Disputed
            SACRAMENTO, CA 94279-6001                          Basis for the claim:
            Date or dates debt was incurred                    POTENTIAL TAX LIABILITY
                                                               Is the claim subject to offset?
            Last 4 digits of account number:                   þ No
            Specify Code subsection of PRIORITY                ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (8)

 2.6        Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            CO DEPARTMENT OF REVENUE
            PO BOX 17087                                       þ Contingent
            DENVER, CO 80217-0087                              þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.7        Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            CT COMMISSIONER OF REVENUE SERVICES
            450 COLUMBUS BLVD                                  þ Contingent
            HARTFORD, CT 06103                                 þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.8        Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            CT SECRETARY OF STATE
            165 CAPITOL AVE                                    þ Contingent
            HARTFORD, CT 06106                                 þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes




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                                                                                                                        Total claim        Priority amount

 2.9        Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN              UNKNOWN
                                                               Check all that apply.
            CT STATE TREASURER
            165 CAPITOL AVE                                    þ Contingent
            HARTFORD, CT 06106                                 þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.10       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN              UNKNOWN
                                                               Check all that apply.
            DC TREASURER
            1275 K ST NW # 600                                 þ Contingent
            WASHINGTON, DC 20005                               þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.11       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN              UNKNOWN
                                                               Check all that apply.
            DIVISION OF ALCOHOLIC BEVERAGES AND
            TOBACCO                                            þ Contingent
            1940 NORTH MONROE STREET                           þ Unliquidated
            TALLAHASSEE, FL 32399                              þ Disputed

            Date or dates debt was incurred                    Basis for the claim:
                                                               POTENTIAL TAX LIABILITY
            Last 4 digits of account number:                   Is the claim subject to offset?
            Specify Code subsection of PRIORITY                þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)            ¨ Yes


 2.12       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                  $15,000.00          $15,000.00
                                                               Check all that apply.
            FAITH FLORES
            ADDRESS AVAILABLE UPON REQUEST                     þ Contingent
                                                               ¨ Unliquidated
            Date or dates debt was incurred                    ¨ Disputed

            Last 4 digits of account number:                   Basis for the claim:
                                                               ACCRUED BONUS
            Specify Code subsection of PRIORITY
            unsecured claim: 11 U.S.C. § 507(a) (4)            Is the claim subject to offset?
                                                               þ No
                                                               ¨ Yes

 2.13       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN              UNKNOWN
                                                               Check all that apply.
            FL DEPT. OF REVENUE
            5050 WEST TENNESSEE STREET                         þ Contingent
            TALLAHASSEE, FL 32399                              þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes




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                                                                                                                        Total claim        Priority amount

 2.14       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN              UNKNOWN
                                                               Check all that apply.
            GA DEPT. OF REVENUE
            1800 CENTURY BOULEVARD, NE                         þ Contingent
            ATLANTA, GA 30345                                  þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.15       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 $166,497.63          $15,150.00
                                                               Check all that apply.
            GEOFFREY MCFARLANE
            ADDRESS AVAILABLE UPON REQUEST                     þ Contingent
                                                               ¨ Unliquidated
            Date or dates debt was incurred                    ¨ Disputed
            9/30/2022                                          Basis for the claim:
            Last 4 digits of account number:                   ACCRUED SEVERANCE

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (4)            þ No
                                                               ¨ Yes

 2.16       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN              UNKNOWN
                                                               Check all that apply.
            HAWAII DEPARTMENT OF TAXATION
            830 PUNCHBOWL ST                                   þ Contingent
            HONOLULU, HI 96813                                 þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.17       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN              UNKNOWN
                                                               Check all that apply.
            HI CITY & CO OF HONOLULU
            530 S KING ST # 100                                þ Contingent
            HONOLULU, HI 96813                                 þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.18       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN              UNKNOWN
                                                               Check all that apply.
            HI CO OF KAUAI DEPT
            4444 RICE ST STE 463                               þ Contingent
            LIHUE, HI 96766                                    þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes




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                                                                                                                        Total claim    Priority amount

 2.19       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            HI CO OF MAUI DEPT (2145)
            200 S. HIGH ST.                                    þ Contingent
            KALANA O MAUI BLDG                                 þ Unliquidated
            WAILUKU, HI 96793                                  þ Disputed

            Date or dates debt was incurred                    Basis for the claim:
                                                               POTENTIAL TAX LIABILITY
            Last 4 digits of account number:                   Is the claim subject to offset?
            Specify Code subsection of PRIORITY                þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)            ¨ Yes


 2.20       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            IA DEPARTMENT OF REVENUE
            1305 E WALNUT ST FOURTH FLOOR, 0107                þ Contingent
            DES MOINES, IA 50319                               þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.21       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            IDAHO STATE TAX COMMISSION
            PO BOX 76                                          þ Contingent
            BOISE, ID 83707-0076                               þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.22       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            IL ALCOHOL,TOBACCO AND FUEL DIVISION
            101 W JEFFERSON ST                                 þ Contingent
            SPRINGFIELD, IL 62702                              þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.23       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            IL CHICAGO DEPT OF FINANCE
            33 N. LASALLE, SUITE 700                           þ Contingent
            CHICAGO, IL 60602                                  þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes




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                                                                                                                        Total claim        Priority amount

 2.24       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN              UNKNOWN
                                                               Check all that apply.
            IL DEPT OF REVENUE
            PO BOX 19041                                       þ Contingent
            SPRINGFIELD, IL 62794-9041                         þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.25       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN              UNKNOWN
                                                               Check all that apply.
            ILLINOIS LIQUOR CONTROL COMMISSION
            555 W MONROE ST., SUITE 1100                       þ Contingent
            CHICAGO, IL 60661                                  þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.26       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN              UNKNOWN
                                                               Check all that apply.
            IN DEPT OF REVENUE
            P.O. BOX 7224                                      þ Contingent
            INDIANAPOLIS, IN 46207-7224                        þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.27       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN              UNKNOWN
                                                               Check all that apply.
            IOWA ALCOHOLIC BEVERAGES DIVISION
            1918 SE HULSIZER DR                                þ Contingent
            ANKENY, IA 50021                                   þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.28       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                   $7,692.31           $7,692.31
                                                               Check all that apply.
            KAITLIN HUTCHINSON
            ADDRESS AVAILABLE UPON REQUEST                     þ Contingent
                                                               ¨ Unliquidated
            Date or dates debt was incurred                    ¨ Disputed
            11/30/2022                                         Basis for the claim:
            Last 4 digits of account number:                   ACCRUED SEVERANCE

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (4)            þ No
                                                               ¨ Yes




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                                                                                                                        Total claim    Priority amount

 2.29       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            KANSAS DEPT OF REVENUE
            120 SE 10TH AVE                                    þ Contingent
            TOPEKA, KS 66612                                   þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.30       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            KANSAS LIQUOR ENFORCEMENT TAX
            915 SW HARRISON ST.                                þ Contingent
            TOPEKA, KS 66612                                   þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.31       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            KDOR - ALCOHOLIC BEVERAGE CONTROL
            PO BOX 3506                                        þ Contingent
            TOPEKA, KS 66601-3506                              þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.32       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            LA DEPT OF REVENUE
            617 N 3RD ST                                       þ Contingent
            BATON ROUGE, LA 70802                              þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.33       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            MA ABCC
            95 FOURTH STREET, SUITE 3                          þ Contingent
            CHELSEA, MA 02150-2358                             þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes




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                                                                                                                        Total claim        Priority amount

 2.34       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN              UNKNOWN
                                                               Check all that apply.
            MA DEPT OF REVENUE
            1 FEDERAL ST BUILDING 103-2                        þ Contingent
            SPRINGFIELD, MA 01105                              þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.35       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN              UNKNOWN
                                                               Check all that apply.
            MAINE LIQUOR LICENSING & INSPECTION
            UNIT                                               þ Contingent
            8 STATE HOUSE STATION                              þ Unliquidated
            AUGUSTA, ME 04333                                  þ Disputed

            Date or dates debt was incurred                    Basis for the claim:
                                                               POTENTIAL TAX LIABILITY
            Last 4 digits of account number:                   Is the claim subject to offset?
            Specify Code subsection of PRIORITY                þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)            ¨ Yes


 2.36       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 $141,135.13          $15,150.00
                                                               Check all that apply.
            MATTHEW THELEN
            ADDRESS AVAILABLE UPON REQUEST                     þ Contingent
                                                               ¨ Unliquidated
            Date or dates debt was incurred                    ¨ Disputed
            9/30/2022                                          Basis for the claim:
            Last 4 digits of account number:                   ACCRUED SEVERANCE

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (4)            þ No
                                                               ¨ Yes

 2.37       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN              UNKNOWN
                                                               Check all that apply.
            MD COMPTROLLER
            60 WEST STREET SUITE 102                           þ Contingent
            ANNAPOLIS, VA 21401                                þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.38       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN              UNKNOWN
                                                               Check all that apply.
            ME BUREAU OF ALC BEVERAGES AND
            LOTTERY OP                                         þ Contingent
            8 STATE HOUSE STATION                              þ Unliquidated
            AUGUSTA, ME 04333                                  þ Disputed

            Date or dates debt was incurred                    Basis for the claim:
                                                               POTENTIAL TAX LIABILITY
            Last 4 digits of account number:                   Is the claim subject to offset?
            Specify Code subsection of PRIORITY                þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)            ¨ Yes




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                                                                                                                        Total claim    Priority amount

 2.39       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            ME REVENUE SERVICES
            51 COMMERCE DR                                     þ Contingent
            AUGUSTA, ME 04330                                  þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.40       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            MI DEPT OF LICENSING & REGULATORY
            AFFAIRS                                            þ Contingent
            611 W. OTTAWA                                      þ Unliquidated
            P.O. BOX 30004                                     þ Disputed
            LANSING, MI 48909                                  Basis for the claim:
            Date or dates debt was incurred                    POTENTIAL TAX LIABILITY
                                                               Is the claim subject to offset?
            Last 4 digits of account number:                   þ No
            Specify Code subsection of PRIORITY                ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (8)

 2.41       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            MI STATE OF MICHIGAN
            124 W MICHIGAN AVENUE                              þ Contingent
            LANSING, MI 48933                                  þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.42       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            MISSOURI DIVISION OF ALCOHOL AND
            TOBACCO CONTROL                                    þ Contingent
            7545 S LINDBERGH BLVD SUITE 150                    þ Unliquidated
            ST. LOUIS, MO 63125                                þ Disputed

            Date or dates debt was incurred                    Basis for the claim:
                                                               POTENTIAL TAX LIABILITY
            Last 4 digits of account number:                   Is the claim subject to offset?
            Specify Code subsection of PRIORITY                þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)            ¨ Yes


 2.43       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            MN DEPT OF REVENUE
            600 ROBERT ST N                                    þ Contingent
            ST PAUL, MN 55101                                  þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes




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                                                                                                                        Total claim    Priority amount

 2.44       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            MT DEPT OF REVENUE
            125 N ROBERTS ST                                   þ Contingent
            HELENA, MT 59601                                   þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.45       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            NC DEPT OF REVENUE
            ASHEVILLE BUILDING                                 þ Contingent
            1500 PINECROFT RD #300                             þ Unliquidated
            GREENSBORO, NC 27407                               þ Disputed

            Date or dates debt was incurred                    Basis for the claim:
                                                               POTENTIAL TAX LIABILITY
            Last 4 digits of account number:                   Is the claim subject to offset?
            Specify Code subsection of PRIORITY                þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)            ¨ Yes


 2.46       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            ND OFC OF STATE TAX COMM
            600 E BOULEVARD AVE DEPT. 127                      þ Contingent
            BISMARCK, ND 58505                                 þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.47       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            NE DEPT OF REVENUE
            1313 FARNAM ST #10TH                               þ Contingent
            OMAHA, NE 68102                                    þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.48       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            NEBRASKA LIQUOR CONTROL COMMISSION
            301 CENTENNIAL MALL S                              þ Contingent
            LINCOLN, NE 68508                                  þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes




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                                                                                                                        Total claim    Priority amount

 2.49       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            NEVADA DEPT OF TAXATION -SALES/USE
            700 E. WARM SPRINGS RD. 2ND FLOOR                  þ Contingent
            LAS VEGAS, NV 89119                                þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.50       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            NEW JERSEY DIVISION OF ALCOHOLIC
            BEVERAGE CONTROL                                   þ Contingent
            140 E FRONT ST                                     þ Unliquidated
            TRENTON, NJ 08608                                  þ Disputed

            Date or dates debt was incurred                    Basis for the claim:
                                                               POTENTIAL TAX LIABILITY
            Last 4 digits of account number:                   Is the claim subject to offset?
            Specify Code subsection of PRIORITY                þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)            ¨ Yes


 2.51       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            NEW JERSEY DIVISION OF TAXATION
            3 JOHN FITCH WAY                                   þ Contingent
            TRENTON, NJ 08611                                  þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.52       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            NEW YORK MTA TAX
            NYS CORPORATION TAX                                þ Contingent
            PO BOX 1909                                        þ Unliquidated
            ALBANY, NY 12201-1909                              þ Disputed

            Date or dates debt was incurred                    Basis for the claim:
                                                               POTENTIAL TAX LIABILITY
            Last 4 digits of account number:                   Is the claim subject to offset?
            Specify Code subsection of PRIORITY                þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)            ¨ Yes


 2.53       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            NEW YORK STATE SALES TAX
            PO BOX 4127                                        þ Contingent
            BINGHAMTON, NY 13802-4127                          þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes




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                                                                                                                        Total claim        Priority amount

 2.54       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN              UNKNOWN
                                                               Check all that apply.
            NH LIQUOR COMMISSION
            50 STORRS ST                                       þ Contingent
            CONCORD, NH 03301                                  þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.55       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                  $15,000.00          $15,000.00
                                                               Check all that apply.
            NICOLE DATZ
            ADDRESS AVAILABLE UPON REQUEST                     þ Contingent
                                                               ¨ Unliquidated
            Date or dates debt was incurred                    ¨ Disputed

            Last 4 digits of account number:                   Basis for the claim:
                                                               ACCRUED BONUS
            Specify Code subsection of PRIORITY
            unsecured claim: 11 U.S.C. § 507(a) (4)            Is the claim subject to offset?
                                                               þ No
                                                               ¨ Yes

 2.56       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN              UNKNOWN
                                                               Check all that apply.
            NM TAXATION AND REVENUE DEPT
            1200 SOUTH ST. FRANCIS DRIVE                       þ Contingent
            SANTA FE, NM 87505                                 þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.57       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN              UNKNOWN
                                                               Check all that apply.
            NV DEPT OF TAXATION
            700 E WARM SPRINGS RD. 2ND FLOOR                   þ Contingent
            LAS VEGAS, NV 89119                                þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.58       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN              UNKNOWN
                                                               Check all that apply.
            NYC DEPARTMENT OF FINANCE
            CORRESPONDENCE UNIT                                þ Contingent
            ONE CENTRE STREET, 22ND FLOOR                      þ Unliquidated
            NEW YORK, NY 10007                                 þ Disputed

            Date or dates debt was incurred                    Basis for the claim:
                                                               POTENTIAL TAX LIABILITY
            Last 4 digits of account number:                   Is the claim subject to offset?
            Specify Code subsection of PRIORITY                þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)            ¨ Yes




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                                                                                                                        Total claim    Priority amount

 2.59       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            OFFICE OF TAX AND REVENUE
            PO BOX 96166                                       þ Contingent
            WASHINGTON, DC 20090-6166                          þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.60       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            OH DEPT OF LIQUOR CONTROL
            6606 TUSSING RD                                    þ Contingent
            REYNOLDSBURG, OH 43068                             þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.61       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            OH DEPT OF TAXATION
            30 E BROAD ST #22                                  þ Contingent
            COLUMBUS, OH 43215                                 þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.62       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            OKLAHOMA TAX COMMISSION
            300 N BROADWAY AVE                                 þ Contingent
            OKLAHOMA CITY, OK 73102                            þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.63       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            OREGON LIQUOR CONTROL COMMISSION
            9079 SE MCLOUGHLIN BLVD                            þ Contingent
            PORTLAND, OR 97222                                 þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes




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                                                                                                                        Total claim        Priority amount

 2.64       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN              UNKNOWN
                                                               Check all that apply.
            PA DEPT OF REVENUE
            1846 BROOKWOOD ST                                  þ Contingent
            HARRISBURG, PA 17104                               þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.65       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                   $6,250.00           $6,250.00
                                                               Check all that apply.
            PETER LAWTON
            ADDRESS AVAILABLE UPON REQUEST                     þ Contingent
                                                               ¨ Unliquidated
            Date or dates debt was incurred                    ¨ Disputed
            11/30/2022                                         Basis for the claim:
            Last 4 digits of account number:                   ACCRUED SEVERANCE

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (4)            þ No
                                                               ¨ Yes

 2.66       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN              UNKNOWN
                                                               Check all that apply.
            SD DEPT OF REVENUE
            1520 HAINES AVE #3                                 þ Contingent
            RAPID CITY, SD 57701                               þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.67       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN              UNKNOWN
                                                               Check all that apply.
            STATE OF SOUTH DAKOTA
            3800. E. HWY 34 - HILLSVIEW PLAZA                  þ Contingent
            C/O 500 EAST CAPITOL AVENUE                        þ Unliquidated
            PIERRE, SD 57501                                   þ Disputed

            Date or dates debt was incurred                    Basis for the claim:
                                                               POTENTIAL TAX LIABILITY
            Last 4 digits of account number:                   Is the claim subject to offset?
            Specify Code subsection of PRIORITY                þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)            ¨ Yes


 2.68       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                  $30,000.00          $15,150.00
                                                               Check all that apply.
            TARA CLARK
            ADDRESS AVAILABLE UPON REQUEST                     þ Contingent
                                                               ¨ Unliquidated
            Date or dates debt was incurred                    ¨ Disputed

            Last 4 digits of account number:                   Basis for the claim:
                                                               ACCRUED BONUS
            Specify Code subsection of PRIORITY
            unsecured claim: 11 U.S.C. § 507(a) (4)            Is the claim subject to offset?
                                                               þ No
                                                               ¨ Yes




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 2.69       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN              UNKNOWN
                                                               Check all that apply.
            TN DEPT OF REVENUE
            500 DEADERICK ST                                   þ Contingent
            NASHVILLE, TN 37242                                þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.70       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                   $3,461.54           $3,461.54
                                                               Check all that apply.
            TOMMY JOHNSTON
            ADDRESS AVAILABLE UPON REQUEST                     þ Contingent
                                                               ¨ Unliquidated
            Date or dates debt was incurred                    ¨ Disputed
            11/30/2022                                         Basis for the claim:
            Last 4 digits of account number:                   ACCRUED SEVERANCE

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (4)            þ No
                                                               ¨ Yes

 2.71       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN              UNKNOWN
                                                               Check all that apply.
            TX ALCOHOLIC BEVERAGE COMMISSION
            427 W 20TH ST #600                                 þ Contingent
            HOUSTON, TX 77008                                  þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.72       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN              UNKNOWN
                                                               Check all that apply.
            TX COMPTROLLER OF PUBLIC ACCOUNTS
            P.O. BOX 149348                                    þ Contingent
            AUSTIN, TX 78714-9348                              þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.73       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN              UNKNOWN
                                                               Check all that apply.
            VA ALCOHOLIC BEVERAGE CONTROL
            AUTHORITY                                          þ Contingent
            7450 FREIGHT WAY                                   þ Unliquidated
            MECHANICSVILLE, VA 23116                           þ Disputed

            Date or dates debt was incurred                    Basis for the claim:
                                                               POTENTIAL TAX LIABILITY
            Last 4 digits of account number:                   Is the claim subject to offset?
            Specify Code subsection of PRIORITY                þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)            ¨ Yes




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 2.74       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            VA DEPT OF TAXATION
            1957 WESTMORELAND ST                               þ Contingent
            RICHMOND, VA 23230                                 þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.75       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            VERMONT DEPT. OF TAXES
            133 STATE ST                                       þ Contingent
            MONTPELIER, VT 05602                               þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.76       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            WA STATE DEPT OF REVENUE
            P.O. BOX 47478                                     þ Contingent
            OLYMPIA, WA 98504-7478                             þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.77       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            WA STATE LIQUOR CONTROL BOARD
            1025 UNION AVE SE                                  þ Contingent
            OLYMPIA, WA 98501                                  þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes

 2.78       Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                 UNKNOWN          UNKNOWN
                                                               Check all that apply.
            WI DEPT OF REVENUE
            2135 RIMROCK RD                                    þ Contingent
            MADISON, WI 53708                                  þ Unliquidated
                                                               þ Disputed
            Date or dates debt was incurred
                                                               Basis for the claim:
            Last 4 digits of account number:                   POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY                Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)            þ No
                                                               ¨ Yes




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                                                                                                                                Total claim              Priority amount

 2.79        Priority creditor’s name and mailing address            As of the petition filing date, the claim is:                    UNKNOWN                   UNKNOWN
                                                                     Check all that apply.
             WV ABC ATTN WINE LIC. (900)
             900 PENNSYLVANIA AVE                                    þ Contingent
             CHARLESTON, WV 25302                                    þ Unliquidated
                                                                     þ Disputed
             Date or dates debt was incurred
                                                                     Basis for the claim:
             Last 4 digits of account number:                        POTENTIAL TAX LIABILITY

             Specify Code subsection of PRIORITY                     Is the claim subject to offset?
             unsecured claim: 11 U.S.C. § 507(a) (8)                 þ No
                                                                     ¨ Yes

 2.80        Priority creditor’s name and mailing address            As of the petition filing date, the claim is:                    UNKNOWN                   UNKNOWN
                                                                     Check all that apply.
             WV STATE TAX DEPT
             1124 SMITH ST                                           þ Contingent
             CHARLESTON, WV 25301                                    þ Unliquidated
                                                                     þ Disputed
             Date or dates debt was incurred
                                                                     Basis for the claim:
             Last 4 digits of account number:                        POTENTIAL TAX LIABILITY

             Specify Code subsection of PRIORITY                     Is the claim subject to offset?
             unsecured claim: 11 U.S.C. § 507(a) (8)                 þ No
                                                                     ¨ Yes

 2.81        Priority creditor’s name and mailing address            As of the petition filing date, the claim is:                    UNKNOWN                   UNKNOWN
                                                                     Check all that apply.
             WY DEPT OF REVENUE
             122 WEST 25TH STREET, SUITE E301                        þ Contingent
             HERSCHLER BUILDING EAST                                 þ Unliquidated
             CHEYENNE, WY 82002                                      þ Disputed

             Date or dates debt was incurred                         Basis for the claim:
                                                                     POTENTIAL TAX LIABILITY
             Last 4 digits of account number:                        Is the claim subject to offset?
             Specify Code subsection of PRIORITY                     þ No
             unsecured claim: 11 U.S.C. § 507(a) (8)                 ¨ Yes


 2.82        Priority creditor’s name and mailing address            As of the petition filing date, the claim is:                    UNKNOWN                   UNKNOWN
                                                                     Check all that apply.
             WY LIQUOR DIVISION
             6601 CAMPSTOOL RD                                       þ Contingent
             CHEYENNE, WY 82001                                      þ Unliquidated
                                                                     þ Disputed
             Date or dates debt was incurred
                                                                     Basis for the claim:
             Last 4 digits of account number:                        POTENTIAL TAX LIABILITY

             Specify Code subsection of PRIORITY                     Is the claim subject to offset?
             unsecured claim: 11 U.S.C. § 507(a) (8)                 þ No
                                                                     ¨ Yes

  Part 2:    List All Creditors with NONPRIORITY Unsecured Claims



        Do any creditors have nonpriority unsecured claims? (See 11 U.S.C. § 507).
        ¨ No.
        þ Yes.

 3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
        unsecured claims, fill out and attach the Additional Page of Part 2.

                                                                                                                                                      Amount of claim




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                                                                                                                                Amount of claim

 3.1        Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $16,000.00
                                                                            Check all that apply.
            12 INTERACTIVE LLC (PERKSPOT)
            216 W. OHIO ST. FLOOR 4                                         ¨ Contingent
            CHICAGO, IL 60614                                               ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            10/12/2022                                                      TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.2        Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $87,480.00
                                                                            Check all that apply.
            8020 CONSULTING LLC
            6303 OWENS MOUTH AVE., 6TH FLOOR                                ¨ Contingent
            WOODLAND HILLS, CA 91367                                        ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.3        Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $6,480.00
                                                                            Check all that apply.
            8020 CONSULTING LLC
            6303 OWENS MOUTH AVE., 6TH FLOOR                                þ Contingent
            WOODLAND HILLS, CA 91367                                        ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                ACCRUED AP
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.4        Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                     $870.00
                                                                            Check all that apply.
            ACORNS GROW INCORPORATED
            5300 CALIFORNIA AVE                                             ¨ Contingent
            IRVINE, CA 92617                                                ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.5        Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                     $480.00
                                                                            Check all that apply.
            ACORNS GROW INCORPORATED
            5300 CALIFORNIA AVE                                             þ Contingent
            IRVINE, CA 92617                                                ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                ACCRUED AP
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




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                                                                                                                                Amount of claim

 3.6        Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $1,722.00
                                                                            Check all that apply.
            ADVANTAGE BEVERAGE SOLUTIONS LLC
            PO BOX 744224                                                   ¨ Contingent
            ATLANTA, GA 30374-4224                                          ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            10/12/2022                                                      TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.7        Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                     $917.20
                                                                            Check all that apply.
            AEG PRESENTS LLC (GOLDENVOICE)
            425 W 11TH STREET SUITE 300                                     ¨ Contingent
            LOS ANGELES, CA 90015                                           ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            9/28/2022                                                       TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.8        Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $3,245.00
                                                                            Check all that apply.
            AMERICAN EXPRESS
            200 VESEY STREET                                                ¨ Contingent
            NEW YORK, NY 10285                                              ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            11/15/2022                                                      TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.9        Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $1,817.62
                                                                            Check all that apply.
            AMERICAN EXPRESS
            200 VESEY STREET                                                þ Contingent
            NEW YORK, NY 10285                                              ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                ACCRUED AP
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.10       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $6,286.75
                                                                            Check all that apply.
            AMERICAN STOCK TRANSFER & TRUST COMPANY LLC
            6201 15TH AVENUE                                                ¨ Contingent
            BROOKLYN, NY 11219                                              ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




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                                                                                                                                Amount of claim

 3.11       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $1,500.00
                                                                            Check all that apply.
            APARTMENT 3B PRODUCTIONS
            10202 W. WASHINGTON BOULEVARD                                   ¨ Contingent
            POITIER BUILDING, SUITE 3111                                    ¨ Unliquidated
            CULVER CITY, CA 90232                                           ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            10/24/2022
                                                                            Is the claim subject to offset?
            Last 4 digits of account number:                                þ No
                                                                            ¨ Yes

 3.12       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $4,478.57
                                                                            Check all that apply.
            ATTENTIVE MOBILE, INC.
            221 RIVER STREET 9TH FLOOR                                      þ Contingent
            HOBOKEN, NJ 07030                                               ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                ACCRUED AP
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.13       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $1,509.88
                                                                            Check all that apply.
            ATTENTIVE MOBILE, INC.
            221 RIVER STREET 9TH FLOOR                                      ¨ Contingent
            HOBOKEN, NJ 07030                                               ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            10/24/2022                                                      TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.14       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $65,498.97
                                                                            Check all that apply.
            ATTICUS PUBLISHING, LLC
            4141 GLENCOE AVE UNIT 409                                       ¨ Contingent
            MARINA DEL REY, CA 90292                                        ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.15       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $2,700.00
                                                                            Check all that apply.
            ATTICUS PUBLISHING, LLC
            4141 GLENCOE AVE UNIT 409                                       þ Contingent
            MARINA DEL REY, CA 90292                                        ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                ACCRUED AP
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




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                                                                                                                                Amount of claim

 3.16       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $66,998.55
                                                                            Check all that apply.
            AWESOME OS, INC. (OFFSOURCING, INC)
            8605 SANTA MONICA BLVD 30540                                    þ Contingent
            LOS ANGELES, CA 90069                                           ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                ACCRUED AP
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.17       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $65,698.83
                                                                            Check all that apply.
            AWESOME OS, INC. (OFFSOURCING, INC)
            8605 SANTA MONICA BLVD 30540                                    ¨ Contingent
            LOS ANGELES, CA 90069                                           ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            11/1/2022                                                       TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.18       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $44,500.00
                                                                            Check all that apply.
            BAKER TILLY US, LLP
            PO BOX 7398                                                     ¨ Contingent
            MADISON, WI 53707-7398                                          ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.19       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $4,759.50
                                                                            Check all that apply.
            BLACKHAWK NETWORK, INC.
            6220 STONERIDGE MALL RD                                         þ Contingent
            PLEASANTON, CA 94588                                            ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         ACCRUED MARKETING
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.20       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNKNOWN
                                                                            Check all that apply.
            BRIAN SMITH
            ADDRESS AVAILABLE UPON REQUEST                                  þ Contingent
                                                                            þ Unliquidated
            Date or dates debt was incurred                                 þ Disputed

            Last 4 digits of account number:                                Basis for the claim:
                                                                            EQUITY LIABILITY/RSU CLAIM
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




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                                                                                                                                Amount of claim

 3.21       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $4,545.00
                                                                            Check all that apply.
            CARDLYTICS, INC.
            675 PONCE DE LEON AVE NE STE 6000                               þ Contingent
            ATLANTA, GA 30308                                               ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                ACCRUED AP
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.22       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $2,160.00
                                                                            Check all that apply.
            CARDLYTICS, INC.
            675 PONCE DE LEON AVE NE STE 6000                               ¨ Contingent
            ATLANTA, GA 30308                                               ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            11/1/2022                                                       TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.23       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNKNOWN
                                                                            Check all that apply.
            CAROL BRAULT
            ADDRESS AVAILABLE UPON REQUEST                                  þ Contingent
                                                                            þ Unliquidated
            Date or dates debt was incurred                                 þ Disputed

            Last 4 digits of account number:                                Basis for the claim:
                                                                            EQUITY LIABILITY/RSU CLAIM
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.24       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $4,500.00
                                                                            Check all that apply.
            CAROLINE LANCASTER
            ADDRESS AVAILABLE UPON REQUEST                                  ¨ Contingent
                                                                            ¨ Unliquidated
            Date or dates debt was incurred                                 ¨ Disputed
            11/11/2022                                                      Basis for the claim:
            Last 4 digits of account number:                                TRADE PAYABLE
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.25       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:               $1,188,771.14
                                                                            Check all that apply.
            CLEARCO - CFT CLEAR FINANCE TECHNOLOGY CORP.
            ATTN MITCH DANIEL, INVESTOR DIRECTOR                            þ Contingent
            2810 N CHURCH ST 68100                                          ¨ Unliquidated
            WILMINGTON, DE 19802-4447                                       ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            REVENUE SHARING
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




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                                                                                                                                Amount of claim

 3.26       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $4,500.00
                                                                            Check all that apply.
            CLEARVIEW STRATEGIC PARTNERS INC.
            372 BAY STREET, SUITE 1902                                      ¨ Contingent
            TORONTO, ON M5H 2W9                                             ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            8/24/2022
                                                                            Is the claim subject to offset?
            Last 4 digits of account number:                                þ No
                                                                            ¨ Yes

 3.27       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $5,000.00
                                                                            Check all that apply.
            CLOUDFLARE, INC.
            101 TOWNSEND STREET                                             ¨ Contingent
            SAN FRANCISCO, CA 94107                                         ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            11/20/2022                                                      TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.28       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                   $15,117.38
                                                                            Check all that apply.
            CNA INSURANCE
            151 N. FRANKLIN ST. 12TH FL                                     ¨ Contingent
            CHICAGO, IL 60606                                               ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            11/8/2022                                                       TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.29       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                     $180.00
                                                                            Check all that apply.
            COLLINSON CLO, INC.
            5217 TENNYSON PARKWAY SUITE 100                                 ¨ Contingent
            PLANO, TX 75024                                                 ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.30       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                         $50.00
                                                                            Check all that apply.
            COLLINSON CLO, INC.
            5217 TENNYSON PARKWAY SUITE 100                                 þ Contingent
            PLANO, TX 75024                                                 ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         ACCRUED MARKETING
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




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                                                                                                                                Amount of claim

 3.31       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                         $50.00
                                                                            Check all that apply.
            COLLINSON CLO, INC.
            5217 TENNYSON PARKWAY SUITE 100                                 þ Contingent
            PLANO, TX 75024                                                 ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                ACCRUED AP
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.32       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $73,471.99
                                                                            Check all that apply.
            COMEX CONSULTING, SL
            PLAZA CASTELLINI NO 9, 10 IZQ.                                  ¨ Contingent
            CARTAGENA, MURCIA 30201                                         ¨ Unliquidated
            SPAIN                                                           ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            VARIOUS
                                                                            Is the claim subject to offset?
            Last 4 digits of account number:                                þ No
                                                                            ¨ Yes

 3.33       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                     $880.00
                                                                            Check all that apply.
            COMPINTELLIGENCE, INC.
            56 DRIFTWAY LANE                                                ¨ Contingent
            NEW CANAAN, CT 06840                                            ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            11/30/2022                                                      TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.34       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $23,932.55
                                                                            Check all that apply.
            CONCUR TECHNOLOGIES, INC.
            601 108TH AVENUE NE SUITE 1000                                  ¨ Contingent
            BELLEVUE, WA 98004                                              ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.35       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $82,224.38
                                                                            Check all that apply.
            CONEXUS SEARCH LLC
            5151 CALIFORNIA AVE, SUITE 100                                  ¨ Contingent
            IRVINE, CA 92617                                                ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




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                                                                                                                                Amount of claim

 3.36       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                   $11,868.75
                                                                            Check all that apply.
            CONEXUS SEARCH LLC
            5151 CALIFORNIA AVE, SUITE 100                                  þ Contingent
            IRVINE, CA 92617                                                ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                ACCRUED AP
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.37       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $2,635.00
                                                                            Check all that apply.
            CONNOR GROUP
            3700 BARRON WAY, SUITE 2                                        ¨ Contingent
            RENO, NV 89511                                                  ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            10/1/2022                                                       TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.38       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                     $250.00
                                                                            Check all that apply.
            CT CORPORATION
            PO BOX 4349                                                     ¨ Contingent
            CAROL STREAM, IL 60197-4349                                     ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            10/31/2022                                                      TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.39       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $40,613.44
                                                                            Check all that apply.
            DATASITE LLC
            733 S. MARQUETTE AVE, SUITE 600                                 ¨ Contingent
            MINNEAPOLIS, MN 55402                                           ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.40       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $2,500.00
                                                                            Check all that apply.
            DIVINE ON THE ROAD
            C/O NEON ROSE, INC.                                             þ Contingent
            5158 BRISTOL RD                                                 ¨ Unliquidated
            SAN DIEGO, CA 92116                                             ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            ACCRUED MARKETING
            VARIOUS
                                                                            Is the claim subject to offset?
            Last 4 digits of account number:                                þ No
                                                                            ¨ Yes




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                                                                                                                                Amount of claim

 3.41       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $95,000.00
                                                                            Check all that apply.
            DOMO, INC.
            DEPT CH 10704                                                   ¨ Contingent
            PALATINE, IL 60055-0704                                         ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            10/1/2022                                                       TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.42       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                         $75.00
                                                                            Check all that apply.
            DONNELLEY FINANCIAL SOLUTIONS
            35 WEST WACKER DRIVE                                            þ Contingent
            CHICAGO, IL 60601                                               ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                ACCRUED AP
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.43       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $2,019.00
                                                                            Check all that apply.
            DOUBLE GREEN LANDSCAPE INC.
            315 W WASHINGTON BLVD, STE. 4                                   ¨ Contingent
            MARINA DEL REY, CA 90292                                        ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.44       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNKNOWN
                                                                            Check all that apply.
            ERIN K. GREEN
            ADDRESS AVAILABLE UPON REQUEST                                  þ Contingent
                                                                            þ Unliquidated
            Date or dates debt was incurred                                 þ Disputed

            Last 4 digits of account number:                                Basis for the claim:
                                                                            EQUITY LIABILITY/RSU CLAIM
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.45       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                     $845.00
                                                                            Check all that apply.
            FEEDONOMICS HOLDINGS, LLC
            11305 FOUR POINTS DR                                            ¨ Contingent
            AUSTIN, TX 78726                                                ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            11/30/2022                                                      TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




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                                                                                                                                Amount of claim

 3.46       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                     $625.00
                                                                            Check all that apply.
            FOODWIT
            7411 SW CAPITOL HWY                                             ¨ Contingent
            PORTLAND, OR 97219                                              ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.47       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNKNOWN
                                                                            Check all that apply.
            GEOFFREY MCFARLANE
            ADDRESS AVAILABLE UPON REQUEST                                  þ Contingent
                                                                            þ Unliquidated
            Date or dates debt was incurred                                 þ Disputed

            Last 4 digits of account number:                                Basis for the claim:
                                                                            EQUITY LIABILITY/RSU CLAIM
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.48       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $3,790.20
                                                                            Check all that apply.
            GOLDEN STATE MAINTENANCE, INC.
            11600 WASHINGTON PLACE, SUITE 116E                              ¨ Contingent
            LOS ANGELES, CA 90066                                           ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.49       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                 $167,242.63
                                                                            Check all that apply.
            GOOGLE, INC.
            DEPT. 33654                                                     ¨ Contingent
            P.O. BOX 39000                                                  ¨ Unliquidated
            SAN FRANCISCO, CA 94139                                         ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            VARIOUS
                                                                            Is the claim subject to offset?
            Last 4 digits of account number:                                þ No
                                                                            ¨ Yes

 3.50       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                 $136,010.32
                                                                            Check all that apply.
            GOOGLE, INC.
            DEPT. 33654                                                     þ Contingent
            P.O. BOX 39000                                                  ¨ Unliquidated
            SAN FRANCISCO, CA 94139                                         ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            ACCRUED MARKETING
            VARIOUS
                                                                            Is the claim subject to offset?
            Last 4 digits of account number:                                þ No
                                                                            ¨ Yes




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                                                                                                                                Amount of claim

 3.51       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $4,000.00
                                                                            Check all that apply.
            HAYDEN COHEN
            ADDRESS AVAILABLE UPON REQUEST                                  ¨ Contingent
                                                                            ¨ Unliquidated
            Date or dates debt was incurred                                 ¨ Disputed
            VARIOUS                                                         Basis for the claim:
            Last 4 digits of account number:                                TRADE PAYABLE
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.52       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $2,000.00
                                                                            Check all that apply.
            HAYDEN COHEN
            ADDRESS AVAILABLE UPON REQUEST                                  þ Contingent
                                                                            ¨ Unliquidated
            Date or dates debt was incurred                                 ¨ Disputed
            VARIOUS                                                         Basis for the claim:
            Last 4 digits of account number:                                ACCRUED MARKETING
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.53       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $17,233.10
                                                                            Check all that apply.
            HOLLAND & HART LLP
            PO BOX 8749                                                     ¨ Contingent
            DENVER, CO 80201-8749                                           ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.54       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $9,925.00
                                                                            Check all that apply.
            HOLLAND & HART LLP
            PO BOX 8749                                                     þ Contingent
            DENVER, CO 80201-8749                                           ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                ACCRUED AP
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.55       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $3,000.00
                                                                            Check all that apply.
            HOLLAND & HART LLP
            PO BOX 8749                                                     þ Contingent
            DENVER, CO 80201-8749                                           ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                ACCRUED PROFESSIONAL SERVICES
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




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                                                                                                                                Amount of claim

 3.56       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $1,000.00
                                                                            Check all that apply.
            HONESTLY MEDIA
            5685 OAK GROVE AVENUE                                           ¨ Contingent
            OAKLAND, CA 94618                                               ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            10/1/2022                                                       TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.57       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $15,287.50
                                                                            Check all that apply.
            IBOTTA, INC.
            1800 CALIFORNIA ST SUITE 400                                    þ Contingent
            DENVER, CO 80202                                                ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                ACCRUED AP
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.58       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                     $972.50
                                                                            Check all that apply.
            IBOTTA, INC.
            1800 CALIFORNIA ST SUITE 400                                    ¨ Contingent
            DENVER, CO 80202                                                ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.59       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $41,600.00
                                                                            Check all that apply.
            ICR OPCO, LLC
            761 MAIN AVE                                                    ¨ Contingent
            NORWALK, CT 06851                                               ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.60       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                 $334,879.98
                                                                            Check all that apply.
            IMPACT TECH, INC.
            223 EAST DE LA GUERRA                                           ¨ Contingent
            SANTA BARBARA, CA 93101                                         ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




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                                                                                                                                Amount of claim

 3.61       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $2,335.95
                                                                            Check all that apply.
            IMPACT TECH, INC.
            223 EAST DE LA GUERRA                                           þ Contingent
            SANTA BARBARA, CA 93101                                         ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         ACCRUED MARKETING
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.62       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $10,065.00
                                                                            Check all that apply.
            INFLUENCER RESPONSE
            701 WEST BEECH STREET 2106                                      þ Contingent
            SAN DIEGO, CA 92101                                             ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         ACCRUED MARKETING
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.63       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $35,000.00
                                                                            Check all that apply.
            INMARKET MEDIA, LLC
            11111 JEFFERSON BLVD                                            ¨ Contingent
            CULVER CITY, CA 90231                                           ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            10/1/2022                                                       TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.64       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                     $806.79
                                                                            Check all that apply.
            INSIGHT RESOURCE GROUP
            3468 MT. DIABLO BLVD B120 SUITE B120                            þ Contingent
            LAFAYETTE, CA 94549                                             ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                ACCRUED AP
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.65       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                     $171.86
                                                                            Check all that apply.
            INSIGHT RESOURCE GROUP
            3468 MT. DIABLO BLVD B120 SUITE B120                            ¨ Contingent
            LAFAYETTE, CA 94549                                             ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            10/28/2022                                                      TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




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 3.66       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $4,363.78
                                                                            Check all that apply.
            INSTACART ADS
            50 BEALE STREET SUITE 600                                       þ Contingent
            SAN FRANCISCO, CA 94105                                         ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         ACCRUED MARKETING
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.67       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $1,235.00
                                                                            Check all that apply.
            IR VOLT, LLC
            333 LAS OLAS WAY CU 1                                           ¨ Contingent
            FORT LAUDERDALE, FL 33301                                       ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.68       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $2,020.00
                                                                            Check all that apply.
            IRON IN THE FIRE, INC.
            SARA JENKINS                                                    ¨ Contingent
            4260 TROOST AVE. 5                                              ¨ Unliquidated
            STUDIO CITY, CA 91604                                           ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            VARIOUS
                                                                            Is the claim subject to offset?
            Last 4 digits of account number:                                þ No
                                                                            ¨ Yes

 3.69       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $2,000.00
                                                                            Check all that apply.
            JACI DAILY, LLC
            3952 E PARKSIDE LN                                              ¨ Contingent
            PHOENIX, AZ 85050                                               ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            10/4/2022                                                       TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.70       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                         $45.00
                                                                            Check all that apply.
            K&L BEVERAGE COMPANY, LLC
            (DBA YOUNG'S MARKET COMPANY)                                    þ Contingent
            PO BOX 9300                                                     ¨ Unliquidated
            RENTON, WA 98057                                                ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            ACCRUED AP
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




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                                                                                                                                Amount of claim

 3.71       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $46,616.25
                                                                            Check all that apply.
            KAISER CONSULTING, LLC
            34 GRACE DRIVE                                                  ¨ Contingent
            POWELL, OH 43065                                                ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.72       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $12,633.75
                                                                            Check all that apply.
            KAISER CONSULTING, LLC
            34 GRACE DRIVE                                                  þ Contingent
            POWELL, OH 43065                                                ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                ACCRUED AP
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.73       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $2,249.01
                                                                            Check all that apply.
            KAISER FOUNDATION HEALTH PLAN
            FILE 5915                                                       ¨ Contingent
            LOS ANGELES, CA 90074-5915                                      ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            10/18/2022                                                      TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.74       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                         $25.00
                                                                            Check all that apply.
            KARD FINANCIAL, INC.
            PO BOX 1427                                                     ¨ Contingent
            NEW YORK, NY 10159                                              ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            10/1/2022                                                       TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.75       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $5,000.00
                                                                            Check all that apply.
            KBF CPAS LLP
            111 SW FIFTH AVE STE 1850                                       þ Contingent
            PORTLAND, OR 97204                                              ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                ACCRUED PROFESSIONAL SERVICES
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




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                                                                                                                                Amount of claim

 3.76       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                     $792.06
                                                                            Check all that apply.
            KONICA MINOLTA
            PO BOX 51043                                                    ¨ Contingent
            LOS ANGELES, CA 90051-5343                                      ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.77       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $5,104.00
                                                                            Check all that apply.
            KONICA MINOLTA BUSINESS SOLUTIONS U.S.A., INC.
            100 WILLIAMS DRIVE                                              ¨ Contingent
            RAMSEY, NJ 07446                                                ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.78       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $29,474.50
                                                                            Check all that apply.
            LATHAM & WATKINS LLP
            555 WEST FIFTH STREET, STE 300                                  ¨ Contingent
            LOS ANGELES, CA 90013-1010                                      ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            11/8/2022                                                       TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.79       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                     $122.00
                                                                            Check all that apply.
            LAW OFFICE OF BRIAN F SIMAS
            PO BOX 11                                                       ¨ Contingent
            LOS OLIVOS, CA 93441                                            ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            11/1/2022                                                       TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.80       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $9,412.50
                                                                            Check all that apply.
            LINKEDIN CORPORATION
            62228 COLLECTIONS CENTER DRIVE                                  ¨ Contingent
            CHICAGO, IL 60693-0622                                          ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            9/1/2022                                                        TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




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 3.81       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $1,175.00
                                                                            Check all that apply.
            MAJOR ROCKET LLC
            19495 BISCAYNE BLVD STE 300                                     ¨ Contingent
            MIAMI, FL 33180                                                 ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.82       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                     $675.00
                                                                            Check all that apply.
            MAJOR ROCKET LLC
            19495 BISCAYNE BLVD STE 300                                     þ Contingent
            MIAMI, FL 33180                                                 ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         ACCRUED MARKETING
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.83       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $10,000.00
                                                                            Check all that apply.
            MAKER COLLABORATIVE LLC
            1341 SOUTH BURNSIDE AVENUE APT 2                                ¨ Contingent
            LOS ANGELES, CA 90019                                           ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            9/29/2022                                                       TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.84       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $9,640.46
                                                                            Check all that apply.
            MARGEAUX WALTER STUDIO LLC
            197 MONITOR ST 2                                                ¨ Contingent
            BROOKLYN, NY 11222                                              ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.85       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                 $752,215.26
                                                                            Check all that apply.
            MASTERCARD
            2000 PURCHASE STREET                                            þ Contingent
            PURCHASE, NY 10577                                              ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                CORPORATE CREDIT CARD
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




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 3.86       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $16,764.00
                                                                            Check all that apply.
            MASTERCARD INTERNATIONAL
            2000 PURCHASE STREET                                            ¨ Contingent
            PURCHASE, NY 10577                                              ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            11/1/2022                                                       TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.87       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $3,125.00
                                                                            Check all that apply.
            MASTERCARD INTERNATIONAL
            2000 PURCHASE STREET                                            þ Contingent
            PURCHASE, NY 10577                                              ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                ACCRUED AP
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.88       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNKNOWN
                                                                            Check all that apply.
            MATTHEW THELEN
            ADDRESS AVAILABLE UPON REQUEST                                  þ Contingent
                                                                            þ Unliquidated
            Date or dates debt was incurred                                 þ Disputed

            Last 4 digits of account number:                                Basis for the claim:
                                                                            EQUITY LIABILITY/RSU CLAIM
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.89       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $5,500.00
                                                                            Check all that apply.
            MERCER
            1166 AVENUE OF THE AMERICAS                                     ¨ Contingent
            NEW YORK, NY 10036                                              ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            11/1/2022                                                       TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.90       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                 $724,162.32
                                                                            Check all that apply.
            META PLATFORMS, INC.
            FACEBOOK, INC                                                   ¨ Contingent
            ATTN: ACCOUNTS RECEIVABLE                                       ¨ Unliquidated
            15161 COLLECTIONS CENTER DRIVE                                  ¨ Disputed
            CHICAGO, IL 60693                                               Basis for the claim:
            Date or dates debt was incurred                                 TRADE PAYABLE

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes




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 3.91       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                 $276,929.55
                                                                            Check all that apply.
            META PLATFORMS, INC.
            FACEBOOK, INC                                                   þ Contingent
            ATTN: ACCOUNTS RECEIVABLE                                       ¨ Unliquidated
            15161 COLLECTIONS CENTER DRIVE                                  ¨ Disputed
            CHICAGO, IL 60693                                               Basis for the claim:
            Date or dates debt was incurred                                 ACCRUED MARKETING

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes

 3.92       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $2,500.00
                                                                            Check all that apply.
            NEON ROSE, INC.
            5158 BRISTOL ROAD                                               ¨ Contingent
            SAN DIEGO, CA 92116                                             ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            11/21/2022                                                      TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.93       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $7,450.00
                                                                            Check all that apply.
            OLIVIA BACON
            ADDRESS AVAILABLE UPON REQUEST                                  ¨ Contingent
                                                                            ¨ Unliquidated
            Date or dates debt was incurred                                 ¨ Disputed
            VARIOUS                                                         Basis for the claim:
            Last 4 digits of account number:                                TRADE PAYABLE
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.94       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $14,330.00
                                                                            Check all that apply.
            OPTIMOVE INC.
            217 WEST 21 ST., 2ND FLOOR                                      þ Contingent
            NEW YORK, NY 10011                                              ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                ACCRUED AP
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.95       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $31,605.25
                                                                            Check all that apply.
            ORACLE AMERICA, INC.
            PO BOX 44471                                                    ¨ Contingent
            SAN FRANCISCO, CA 94144                                         ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            11/10/2022                                                      TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




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 3.96       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $15,000.00
                                                                            Check all that apply.
            PEBLO LLC
            169 MADISON AVENUE 2131                                         ¨ Contingent
            NEW YORK, NY 10016                                              ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            11/1/2022                                                       TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.97       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $67,250.00
                                                                            Check all that apply.
            POWER DIGITAL MARKETING, INC.
            2251 SAN DIEGO AVENUE SUITE A250                                ¨ Contingent
            SAN DIEGO, CA 92110                                             ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.98       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $13,000.00
                                                                            Check all that apply.
            PROFESSIONAL SEARCH GROUP OC, LLC
            8500 SUNSET BLVD, E406                                          ¨ Contingent
            WEST HOLLYWOOD, CA 90069                                        ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            11/21/2022                                                      TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.99       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                     $285.00
                                                                            Check all that apply.
            REGHIE D OGAHAYON
            ADDRESS AVAILABLE UPON REQUEST                                  ¨ Contingent
                                                                            ¨ Unliquidated
            Date or dates debt was incurred                                 ¨ Disputed
            11/28/2022                                                      Basis for the claim:
            Last 4 digits of account number:                                TRADE PAYABLE
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.100      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $14,425.43
                                                                            Check all that apply.
            ROKT CORP
            33 IRVING PLACE 3RD FLOOR                                       ¨ Contingent
            NEW YORK, NY 10003                                              ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            11/30/2022                                                      TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




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 3.101      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $23,187.29
                                                                            Check all that apply.
            ROSENSTEIN HENRY, LLC
            371 SPRING PARK ROAD                                            ¨ Contingent
            CAMARILLO, CA 93012                                             ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.102      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $2,177.13
                                                                            Check all that apply.
            ROTH STAFFING COMPANIES, L.P.
            450 NORTH STATE COLLEGE BOULEVARD                               þ Contingent
            ORANGE, CA 92868                                                ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                ACCRUED AP
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.103      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $1,621.80
                                                                            Check all that apply.
            ROTH STAFFING COMPANIES, L.P.
            450 NORTH STATE COLLEGE BOULEVARD                               ¨ Contingent
            ORANGE, CA 92868                                                ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            9/1/2022                                                        TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.104      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNKNOWN
                                                                            Check all that apply.
            SHAYLA KING
            ADDRESS AVAILABLE UPON REQUEST                                  þ Contingent
                                                                            þ Unliquidated
            Date or dates debt was incurred                                 þ Disputed
            11/15/2022                                                      Basis for the claim:
            Last 4 digits of account number:                                DEMAND/THREATENED LITIGATION
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.105      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                     $103.66
                                                                            Check all that apply.
            SHRED-IT USA INC.
            SHRED-IT USA, LLC                                               ¨ Contingent
            P.O BOX 101007                                                  ¨ Unliquidated
            PASADENA, CA 91189-1007                                         ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            10/1/2022
                                                                            Is the claim subject to offset?
            Last 4 digits of account number:                                þ No
                                                                            ¨ Yes




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 3.106      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $2,925.00
                                                                            Check all that apply.
            SKLAR KIRSH, LLP
            1880 CENTURY PARK EAST, SUITE 300                               ¨ Contingent
            LOS ANGELES, CA 90067                                           ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.107      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $1,039.18
                                                                            Check all that apply.
            SNOWFLAKE, INC.
            450 CONCAR DRIVE                                                þ Contingent
            SAN MATEO, CA 94402                                             ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                ACCRUED AP
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.108      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $14,706.89
                                                                            Check all that apply.
            SOFTWAREONE, INC.
            20875 CROSSROADS CIRCLE, SUITE 1                                þ Contingent
            WAUKESHA, WI 53186                                              ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                ACCRUED AP
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.109      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                 $115,000.00
                                                                            Check all that apply.
            SQUARESPACE
            8 CLARKSON ST.                                                  þ Contingent
            NEW YORK, NY 10014                                              ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                CLAIMS UNDER REAL PROPERTY LEASE
                                                                            Is the claim subject to offset?
                                                                            ¨ No
                                                                            þ Yes

 3.110      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $12,015.00
                                                                            Check all that apply.
            STEVEN BERO
            ADDRESS AVAILABLE UPON REQUEST                                  ¨ Contingent
                                                                            ¨ Unliquidated
            Date or dates debt was incurred                                 ¨ Disputed
            VARIOUS                                                         Basis for the claim:
            Last 4 digits of account number:                                TRADE PAYABLE
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




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 3.111      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $1,750.00
                                                                            Check all that apply.
            TAYLOR BROWN (DBA THE STYLED PRESS, LLC)
            14937 50TH ST. NE                                               ¨ Contingent
            SAINT MICHAEL, MN 55376                                         ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            11/29/2022                                                      TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.112      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $7,492.74
                                                                            Check all that apply.
            THE GUARDIAN LIFE INSURANCE COMPANY OF AMERICA
            P.O. BOX 826486                                                 þ Contingent
            PHILADELPHIA, PA 19182-6486                                     ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                ACCRUED AP
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.113      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $1,750.00
                                                                            Check all that apply.
            THE KIR GROUP
                                                                            þ Contingent
            Date or dates debt was incurred                                 ¨ Unliquidated
            VARIOUS                                                         ¨ Disputed

            Last 4 digits of account number:                                Basis for the claim:
                                                                            ACCRUED MARKETING
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.114      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                     $718.00
                                                                            Check all that apply.
            THOMSON REUTERS (TAX & ACCOUNTING) INC.
            2395 MIDWAY ROAD                                                ¨ Contingent
            CARROLLTON, TX 75006-2521                                       ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            10/14/2022                                                      TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.115      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $48,735.00
                                                                            Check all that apply.
            THRIVE MARKET
            4509 GLENCOE AVENUE                                             þ Contingent
            MARINA DEL REY, CA 90292                                        ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                CLAIMS UNDER REAL PROPERTY LEASE
                                                                            Is the claim subject to offset?
                                                                            ¨ No
                                                                            þ Yes




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 3.116      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $36,026.00
                                                                            Check all that apply.
            TOPPAN MERRILL USA, INC.
            747 THIRD AVENUE, 7TH FLOOR                                     ¨ Contingent
            NEW YORK, NY 10017                                              ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.117      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $57,565.85
                                                                            Check all that apply.
            UNITED HEALTHCARE INSURANCE COMPANY
            UHIC UNITEDHEALTHCARE OF CA                                     ¨ Contingent
            P.O. BOX 843118                                                 ¨ Unliquidated
            LOS ANGELES, CA 90084-3118                                      ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            11/15/2022
                                                                            Is the claim subject to offset?
            Last 4 digits of account number:                                þ No
                                                                            ¨ Yes

 3.118      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $1,712.00
                                                                            Check all that apply.
            UNITED TALENT AGENCY, LLC
            9336 CIVIC CENTER DRIVE                                         ¨ Contingent
            BEVERLY HILLS, CA 90210                                         ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            10/1/2022                                                       TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.119      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $8,999.93
                                                                            Check all that apply.
            VIN-GLOBAL LLP
            4501 MANATEE AVE W SUITE 314                                    ¨ Contingent
            BRADENTON, FL 34209                                             ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            11/23/2022                                                      TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.120      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $1,000.00
                                                                            Check all that apply.
            VRAI DIGITAL LLC
            706 WEST BARRY AVENUE 2B                                        þ Contingent
            CHICAGO, IL 60657                                               ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         ACCRUED MARKETING
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




Official Form 206E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 41 of 43
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            (Name)


  Part 2:   Additional Page

                                                                                                                                Amount of claim

 3.121      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  $110,464.11
                                                                            Check all that apply.
            WEST LA VENTURE COMMONWEALTH LLC
            (WEST LA ALLA COMMONWEALTH LLC)                                 ¨ Contingent
            11777 SAN VICENTE BLVD., 650                                    ¨ Unliquidated
            LOS ANGELES, CA 90049                                           ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            11/1/2022
                                                                            Is the claim subject to offset?
            Last 4 digits of account number:                                þ No
                                                                            ¨ Yes

 3.122      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                     $720.00
                                                                            Check all that apply.
            WINE AND CRIME PODCAST, LLC
            1421 JEFFERSON AVE. 1                                           þ Contingent
            MINNEAPOLIS, MN 55413                                           ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         ACCRUED MARKETING
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.123      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $2,000.00
                                                                            Check all that apply.
            ZENDESK, INC.
            1019 MARKET STREET                                              ¨ Contingent
            SAN FRANCISCO, CA 94103                                         ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            11/9/2022                                                       TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.124      Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                    $6,372.75
                                                                            Check all that apply.
            ZOLA, INC.
            150 BROADWAY FLOOR 19                                           þ Contingent
            NEW YORK, NY 10038                                              ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            VARIOUS                                                         ACCRUED MARKETING
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




Official Form 206E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 42 of 43
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  Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims




 5.    Add the amounts of priority and nonpriority unsecured claims.



                                                                                                                              Total of claim amounts



 5a.   Total claims from Part 1                                                                                     5a.                         $415,036.61




 5b.   Total claims from Part 2                                                                                     5b.   +                   $5,275,284.78




 5c.   Total of Parts 1 and 2                                                                                       5c.                       $5,690,321.39
       Lines 5a + 5b = 5c.




Official Form 206E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 43 of 43
                                    Case 22-11238-LSS                    Doc 93          Filed 12/28/22               Page 69 of 140
  Fill in this information to identify the case:

 Debtor        Winc, Inc.


 United States Bankruptcy Court for the:    Delaware


 Case number           22-11238
  (if known)
                                                                                                                                                     ¨ Check if this is an
                                                                                                                                                        amended filing

 Official Form 206G
 Schedule G: Executory Contracts and Unexpired Leases                                                                                                                12/15

 Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1.     Does the debtor have any executory contracts or unexpired leases?
        ¨ No. Check this box and file this form with the court with the debtor’s other schedules . There is nothing else to report on this form.
        þ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
               Form 206A/B).

 2.     List all contracts and unexpired leases                                                 State the name and mailing address for all other parties with
                                                                                                whom the debtor has an executory contract or unexpired lease


 2.1             State what the contract       FIRST AMENDMENT TO THE SEVENTH                     15 ANGLES II LLC
                 or lease is for and the       AMENDED & RESTATED INVESTORS'                      1865 PALMER AVE, STE 104
                 nature of the debtor’s        RIGHTS AGREEMENT DTD 10/6/2021                     LARCHMONT, NY 10538
                 interest                      AMENDS AGREEMENT DTD 4/6/2021

                 State the term remaining

                 List the contract number
                 of any government
                 contract

 2.2             State what the contract       SEVENTH AMENDED & RESTATED                         15 ANGLES II LLC
                 or lease is for and the       INVESTORS' RIGHTS AGREEMENT DTD                    1865 PALMER AVE, STE 104
                 nature of the debtor’s        4/6/2021                                           LARCHMONT, NY 10538
                 interest

                 State the term remaining

                 List the contract number
                 of any government
                 contract

 2.3             State what the contract       SEVENTH AMENDED & RESTATED                         500 STARTUPS IP
                 or lease is for and the       INVESTORS' RIGHTS AGREEMENT DTD                    4163 HUBBARTT DRIVE
                 nature of the debtor’s        4/6/2021                                           PALO ALTO, CA 94306
                 interest

                 State the term remaining

                 List the contract number
                 of any government
                 contract

 2.4             State what the contract       FOREIGN LIABILITY - POLICY NUMBER                  ACE AMERICAN INSURANCE
                 or lease is for and the       PFFFD38423757 006                                  436 WALNUT ST
                 nature of the debtor’s                                                           PHILADELPHIA, PA 19106
                 interest

                 State the term remaining      9/30/2023

                 List the contract number
                 of any government
                 contract




Official Form 206G                                         Schedule G: Executory Contracts and Unexpired Leases                                                  Page 1 of 70
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        List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


 2.5         State what the contract        EXHIBIT A -RATES RE: SERVICE                    AEROTEK, INC.
             or lease is for and the        AGREEMENT DTD 10/25/2021                        ATTN CONTRACTS DEPT
             nature of the debtor’s                                                         7301 PKWY DR
             interest                                                                       HANOVER, MD 21076

             State the term remaining

             List the contract number
             of any government
             contract

 2.6         State what the contract        SERVICES AGREEMENT DTD 10/25/2021               AEROTEK, INC.
             or lease is for and the                                                        ATTN CONTRACTS DEPT
             nature of the debtor’s                                                         7301 PKWY DR
             interest                                                                       HANOVER, MD 21076

             State the term remaining       10/28/2022

             List the contract number
             of any government
             contract

 2.7         State what the contract        EXCESS DIRECTORS' AND OFFICERS'                 ALLIED WORLD INSURANCE COMPANY
             or lease is for and the        INSURANCE - POLICY NUMBER                       550 S HOPE ST, STE 1825
             nature of the debtor’s         0313-6125                                       LOS ANGELES, CA 90071
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.8         State what the contract        COMPREHENSIVE AGREEMENT                         AMBROSI, LOLA L.
             or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION                ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.9         State what the contract        SIGNATURE PAGE & EXHIBITS TO                    AMBROSI, LOLA L.
             or lease is for and the        AGREEMENT DTD 9/28/2016                         ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.10        State what the contract        TRANSFER AGENCY & REGISTRAR                     AMERICAN STOCK TRANSFER & TRUST CO. LLC
             or lease is for and the        SERVICES AGREEMENT DTD 7/21/2021                ATTN LEGAL DEPT
             nature of the debtor’s                                                         48 WALL ST, 22ND FL
             interest                                                                       NEW YORK, NY 10005

             State the term remaining       7/21/2024

             List the contract number
             of any government
             contract




Official Form 206G                                      Schedule G: Executory Contracts and Unexpired Leases                                          Page 2 of 70
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        List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


 2.11        State what the contract        TRANSFER AGENCY & REGISTRAR                     AMERICAN STOCK TRANSFER & TRUST CO. LLC
             or lease is for and the        SERVICES AGREEMENT DTD 7/21/2021                ATTN RELATIONSHIP MGR
             nature of the debtor’s                                                         6201 15TH AVE
             interest                                                                       BROOKLYN, NY 11219

             State the term remaining       7/21/2024

             List the contract number
             of any government
             contract

 2.12        State what the contract        WARRANT AGENT AGREEMENT DTD                     AMERICAN STOCK TRANSFER & TRUST CO. LLC
             or lease is for and the        2/15/2022                                       ATTN REORG DEPT
             nature of the debtor’s                                                         6201 15TH AVE
             interest                                                                       BROOKLYN, NY 11219

             State the term remaining

             List the contract number
             of any government
             contract

 2.13        State what the contract        SEVENTH AMENDED & RESTATED                      AMPLIFY LA CAPITAL II LLC
             or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD                 1600 MAIN ST
             nature of the debtor’s         4/6/2021                                        VENICE, CA 90401
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.14        State what the contract        SEVENTH AMENDED & RESTATED                      AMPLIFY LA CAPITAL LLC
             or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD                 1600 MAIN ST
             nature of the debtor’s         4/6/2021                                        VENICE, CA 90401
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.15        State what the contract        SEVENTH AMENDED & RESTATED                      AMPLIFY LA OPPORTUNITY FUND LP
             or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD                 1600 MAIN ST
             nature of the debtor’s         4/6/2021                                        VENICE, CA 90401
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.16        State what the contract        MASTER SERVICES AGREEMENT DTD                   ASCENTIS CORPORATION
             or lease is for and the        9/24/2019                                       11995 SINGLETREE LANE, SUITE 400
             nature of the debtor’s                                                         EDEN PRAIRIE, MN 55344
             interest

             State the term remaining

             List the contract number
             of any government
             contract




Official Form 206G                                      Schedule G: Executory Contracts and Unexpired Leases                                          Page 3 of 70
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        List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


 2.17        State what the contract        ORDER FORM DTD 6/12/2020 RE: MSA                ASCENTIS CORPORATION
             or lease is for and the                                                        11995 SINGLETREE LANE, SUITE 400
             nature of the debtor’s                                                         EDEN PRAIRIE, MN 55344
             interest

             State the term remaining       10/1/2023

             List the contract number
             of any government
             contract

 2.18        State what the contract        WIRELESS PHONE INVOICE                          AT&T
             or lease is for and the        #287267902693X11102022 DTD                      PO BOX 6463
             nature of the debtor’s         11/02/2022                                      CAROL STREAM, IL 60197-6463
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.19        State what the contract        COMPREHENSIVE AGREEMENT                         ATKINS, ROBERT
             or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION                ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.20        State what the contract        CONFIDENTIAL INFORMATION &                      ATKINS, ROBERT
             or lease is for and the        INVENTION ASSIGNMENT AGREEMENT                  ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         DTD 12/17/2018
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.21        State what the contract        ATTENTIVE ORDER FORM DTD                        ATTENTIVE MOBILE, INC.
             or lease is for and the        10/21/2021                                      221 RIVER ST, STE 9047
             nature of the debtor’s                                                         HOBOKEN, NJ 07030
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.22        State what the contract        ATTENTIVE ORDER FORM DTD 6/1/2021               ATTENTIVE MOBILE, INC.
             or lease is for and the                                                        221 RIVER ST, STE 9047
             nature of the debtor’s                                                         HOBOKEN, NJ 07030
             interest

             State the term remaining       8/1/2023

             List the contract number
             of any government
             contract




Official Form 206G                                      Schedule G: Executory Contracts and Unexpired Leases                                          Page 4 of 70
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        List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


 2.23        State what the contract        ORDER FORM DTD 10/1/2021                        ATTENTIVE MOBILE, INC.
             or lease is for and the                                                        221 RIVER ST, STE 9047
             nature of the debtor’s                                                         HOBOKEN, NJ 07030
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.24        State what the contract        7TH AMENDMENT TO SERVICE                        AWESOME OS, INC.
             or lease is for and the        AGREEMENT DTD 10/1/2021                         8605 SANTA MONICA BLVD, #30540
             nature of the debtor’s         AMENDS AGREEMENT DTD 1/1/2018                   LOS ANGELES, CA 90069
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.25        State what the contract        8TH AMENDMENT TO SERVICE                        AWESOME OS, INC.
             or lease is for and the        AGREEMENT DTD 12/20/2021                        8605 SANTA MONICA BLVD, #30540
             nature of the debtor’s         AMENDS AGREEMENT DTD 1/1/2018                   LOS ANGELES, CA 90069
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.26        State what the contract        EMPLOYMENT PRACTICES LIABILITY -                AXIS INSURANCE COMPANY
             or lease is for and the        POLICY NUMBER P00100069106402                   10000 AVALON BLVD, STE 200
             nature of the debtor’s                                                         ALPHARETTA, GA 30009
             interest

             State the term remaining       9/30/2023

             List the contract number
             of any government
             contract

 2.27        State what the contract        EXCESS DIRECTORS' AND OFFICERS'                 AXIS INSURANCE COMPANY
             or lease is for and the        INSURANCE - POLICY NUMBER                       10000 AVALON BLVD, STE 200
             nature of the debtor’s         P-001-001045876-01                              ALPHARETTA, GA 30009
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.28        State what the contract        CONSULTING AGREEMENT                            AZUR GROUP, INC.
             or lease is for and the                                                        D/B/A AZUR ASSOCIATES
             nature of the debtor’s                                                         ATTN PATRICK DELONG, FOUNDER/PRINCIPAL
             interest                                                                       2151 MAIN ST, STE C
                                                                                            NAPA, CA 94559
             State the term remaining

             List the contract number
             of any government
             contract




Official Form 206G                                      Schedule G: Executory Contracts and Unexpired Leases                                          Page 5 of 70
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        List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired lease


 2.29        State what the contract        COMPREHENSIVE AGREEMENT                    BAHRI, LINA
             or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.30        State what the contract        INTELLECTUAL PROPERTY                      BAHRI, LINA
             or lease is for and the        ASSIGNMENT & CONFIDENTIAL                  ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         INFORMATION AGREEMENT
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.31        State what the contract        COMPREHENSIVE AGREEMENT                    BECK, LAUREN
             or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         DTD 3/31/2016
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.32        State what the contract        CONFIDENTIAL INFORMATION &                 BECK, LAUREN
             or lease is for and the        INVENTION ASSIGNMENT AGREEMENT             ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         DTD 3/31/2016
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.33        State what the contract        INTELLECTUAL PROPERTY                      BEDNARZ, SYLVIA
             or lease is for and the        ASSIGNMENT & CONFIDENTIAL                  ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         INFORMATION AGREEMENT DTD
             interest                       12/20/21

             State the term remaining

             List the contract number
             of any government
             contract

 2.34        State what the contract        COMPREHENSIVE AGREEMENT                    BELL, LISA
             or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         DTD 6/10/2021
             interest

             State the term remaining

             List the contract number
             of any government
             contract




Official Form 206G                                 Schedule G: Executory Contracts and Unexpired Leases                                          Page 6 of 70
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        List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired lease


 2.35        State what the contract        CONFIDENTIAL INFORMATION &                 BELL, LISA
             or lease is for and the        INVENTION ASSIGNMENT AGREEMENT             ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         DTD 6/10/2021
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.36        State what the contract        SEVENTH AMENDED & RESTATED                 BEN VAN DE BUNT & LAURA FOX LIV TRUST
             or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         4/6/2021
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.37        State what the contract        COMPREHENSIVE AGREEMENT                    BENCEL, AUDREY
             or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         DTD 12/28/2021
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.38        State what the contract        INTELLECTUAL PROPERTY                      BENCEL, AUDREY
             or lease is for and the        ASSIGNMENT & CONFIDENTIAL                  ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         INFORMATION AGREEMENT 12/28/2021
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.39        State what the contract        COMPREHENSIVE AGREEMENT                    BERESFORD, HEATHER
             or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         DTD 9/28/2016
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.40        State what the contract        CONFIDENTIAL INFORMATION &                 BERESFORD, HEATHER
             or lease is for and the        INVENTION ASSIGNMENT AGREEMENT             ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         DTD 12/1/2013
             interest

             State the term remaining

             List the contract number
             of any government
             contract




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        List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease


 2.41        State what the contract        SOLE SOURCE LETTER DTD 2/20/2017            BERNARDINOS & CARVALHO SA
             or lease is for and the                                                    QUINTA DO GRADIL
             nature of the debtor’s                                                     2550-073 VILAR
             interest                                                                   CADAVAL
                                                                                        PORTUGAL
             State the term remaining

             List the contract number
             of any government
             contract

 2.42        State what the contract        SOLE SOURCE LETTER DTD 7/19/2017            BERNARDINOS & CARVALHO SA
             or lease is for and the                                                    QUINTA DO GRADIL
             nature of the debtor’s                                                     2550-073 VILAR
             interest                                                                   CADAVAL
                                                                                        PORTUGAL
             State the term remaining

             List the contract number
             of any government
             contract

 2.43        State what the contract        FIRST AMENDMENT TO THE SEVENTH              BESSEMER VENTURE PARTNERS VIII INSTITUTIONAL, L.P.
             or lease is for and the        AMENDED & RESTATED INVESTORS'               C/O BESSEMER VENTURE PARTNERS
             nature of the debtor’s         RIGHTS AGREEMENT DTD 10/6/2021              ATTN GENERAL COUNSEL
             interest                       AMENDS AGREEMENT DTD 4/6/2021               1865 PALMER AVE, STE 104
                                                                                        LARCHMONT, NY 10538
             State the term remaining

             List the contract number
             of any government
             contract

 2.44        State what the contract        SEVENTH AMENDED & RESTATED                  BESSEMER VENTURE PARTNERS VIII INSTITUTIONAL, L.P.
             or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD             C/O BESSEMER VENTURES
             nature of the debtor’s         4/6/2021                                    535 MIDDLEFIELD RD, STE 245
             interest                                                                   MENLO PARK, CA 94025

             State the term remaining

             List the contract number
             of any government
             contract

 2.45        State what the contract        COMPREHENSIVE AGREEMENT                     BISETTI, VANESSA
             or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION            ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         DTD 3/18/2021
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.46        State what the contract        CONFIDENTIAL INFORMATION &                  BISETTI, VANESSA
             or lease is for and the        INVENTION ASSIGNMENT AGREEMENT              ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         DTD 3/18/2021
             interest

             State the term remaining

             List the contract number
             of any government
             contract




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        List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired lease


 2.47        State what the contract        SEVENTH AMENDED & RESTATED                 BOSHART, HARVEY
             or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         4/6/2021
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.48        State what the contract        COMPREHENSIVE AGREEMENT                    BRAULT, CAROL
             or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         DTD 2/7/2018
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.49        State what the contract        CONFIDENTIAL INFORMATION &                 BRAULT, CAROL
             or lease is for and the        INVENTION ASSIGNMENT AGREEMENT             ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         DTD 2/7/2018
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.50        State what the contract        SEVENTH AMENDED & RESTATED                 BRENER INTERNATIONAL GROUP LLC
             or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            421 N BEVERLY DR
             nature of the debtor’s         4/6/2021                                   BEVERLY HILLS, CA 90210
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.51        State what the contract        COMPREHENSIVE AGREEMENT                    BURNS, BRANDON
             or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         DTD 2/2/2022
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.52        State what the contract        INTELLECTUAL PROPERTY                      BURNS, BRANDON
             or lease is for and the        ASSIGNMENT & CONFIDENTIAL                  ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         INFORMATION AGREEMENT DTD
             interest                       2/7/2022

             State the term remaining

             List the contract number
             of any government
             contract




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        List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired lease


 2.53        State what the contract        FIRST AMENDMENT TO THE SEVENTH             C2 CLUB W HOLDINGS LLC
             or lease is for and the        AMENDED & RESTATED INVESTORS'              C/O CROSSCUT VENTURES
             nature of the debtor’s         RIGHTS AGREEMENT DTD 10/6/2021             ATTN RICK L SMITH
             interest                       AMENDS AGREEMENT DTD 4/6/2021              373 ROSE AVE
                                                                                       VENICE, CA 90291
             State the term remaining

             List the contract number
             of any government
             contract

 2.54        State what the contract        SEVENTH AMENDED & RESTATED                 C2 CLUB W HOLDINGS LLC
             or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            C/O CROSSCUT VENTURES
             nature of the debtor’s         4/6/2021                                   ATTN RICK L SMITH
             interest                                                                  373 ROSE AVE
                                                                                       VENICE, CA 90291
             State the term remaining

             List the contract number
             of any government
             contract

 2.55        State what the contract        FIRST AMENDMENT TO THE SEVENTH             C2 CLUB W SPV LLC
             or lease is for and the        AMENDED & RESTATED INVESTORS'              C/O CROSSCUT VENTURES
             nature of the debtor’s         RIGHTS AGREEMENT DTD 10/6/2021             ATTN RICK L SMITH
             interest                       AMENDS AGREEMENT DTD 4/6/2021              373 ROSE AVE
                                                                                       VENICE, CA 90291
             State the term remaining

             List the contract number
             of any government
             contract

 2.56        State what the contract        SEVENTH AMENDED & RESTATED                 C2 CLUB W SPV LLC
             or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            C/O CROSSCUT VENTURES
             nature of the debtor’s         4/6/2021                                   ATTN RICK L SMITH
             interest                                                                  373 ROSE AVE
                                                                                       VENICE, CA 90291
             State the term remaining

             List the contract number
             of any government
             contract

 2.57        State what the contract        ONLINE WINESALE INVOICE                    CACTUS MEDIA-MAIN
             or lease is for and the                                                   176 N. OLD WOODWARD
             nature of the debtor’s                                                    BIRMINGHAM, MI 48009
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.58        State what the contract        COMPREHENSIVE AGREEMENT                    CAMBERG, JULIE TERRIANN
             or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         DTD 10/31/2015
             interest

             State the term remaining

             List the contract number
             of any government
             contract




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        List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


 2.59        State what the contract        CONFIDENTIAL INFORMATION &                      CAMBERG, JULIE TERRIANN
             or lease is for and the        INVENTION ASSIGNMENT AGREEMENT                  ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         DTD 11/2/2015
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.60        State what the contract        LETTER OF ENGAGEMENT DTD                        CANACCORD GENUITY LLC
             or lease is for and the        3/16/2022                                       99 HIGH ST, STE 1200
             nature of the debtor’s                                                         BOSTON, MA 02110
             interest

             State the term remaining       3/16/2023

             List the contract number
             of any government
             contract

 2.61        State what the contract        AMENDMENT OF CANACCORD GENUITY                  CANACCORD GENUITY LLC
             or lease is for and the        LLC ENGAGEMENT LETTER DTD                       99 HIGH STREET
             nature of the debtor’s         11/25/2022                                      SUITE 1200
             interest                       RE: AGREEMENT DTD MARCH 16, 2022                BOSTON, MA 02110

             State the term remaining

             List the contract number
             of any government
             contract

 2.62        State what the contract        SOLE SOURCE LETTER DTD 12/30/2016               CANTINA DEI COLLI DI CREA
             or lease is for and the                                                        VIA ALCIDE DE GASPERI N. 6
             nature of the debtor’s                                                         FRAZIONE MADONNINA
             interest                                                                       SERRALUNGA DI CREA 15020
                                                                                            ITALY
             State the term remaining

             List the contract number
             of any government
             contract

 2.63        State what the contract        SOLE SOURCE LETTER DTD 1/26/2017                CELLER DE CAPCANES, SCCL
             or lease is for and the                                                        C/LLABERIA 4
             nature of the debtor’s                                                         CAPCANES 43776
             interest                                                                       SPAIN

             State the term remaining

             List the contract number
             of any government
             contract

 2.64        State what the contract        SEVENTH AMENDED & RESTATED                      CENTRAL VALLEY ADMINISTRATORS, INC.
             or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD                 3115 OCEAN FRONT WALK SUITE 301
             nature of the debtor’s         4/6/2021                                        MARINA DEL REY, CA 90292
             interest

             State the term remaining

             List the contract number
             of any government
             contract




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        List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease


 2.65        State what the contract        SEVENTH AMENDED & RESTATED                  CESTONE, VINCENT, II
             or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD             ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         4/6/2021
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.66        State what the contract        REVENUE SHARE AGREEMENT                     CFT CLEAR FINANCE TECHNOLOGY CORP.
             or lease is for and the        ADVANCE# 21538                              2810 N CHURCH ST #68100
             nature of the debtor’s                                                     WILMINGTON, DE 19802-4447
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.67        State what the contract        SOLE SOURCE LETTER DTD 8/11/2020            CHATEAU PESQUIE
             or lease is for and the                                                    1365 RTE DE FLASSAN
             nature of the debtor’s                                                     MORMOIRON 84570
             interest                                                                   FRANCE

             State the term remaining

             List the contract number
             of any government
             contract

 2.68        State what the contract        COMPREHENSIVE AGREEMENT                     CLARK, TARA
             or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION            ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         DTD 12/15/2021
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.69        State what the contract        INTELLECTUAL PROPERTY                       CLARK, TARA
             or lease is for and the        ASSIGNMENT & CONFIDENTIAL                   ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         INFORMATION AGREEMENT DTD
             interest                       12/14/2021

             State the term remaining

             List the contract number
             of any government
             contract

 2.70        State what the contract        RETENTION BONUS AGREEMENT DTD               CLARK, TARA
             or lease is for and the        9/12/2022                                   ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s
             interest

             State the term remaining

             List the contract number
             of any government
             contract




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        List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired lease


 2.71        State what the contract        ENTERPRISE SERVICE ORDER FORM              CLOUDFLARE INC
             or lease is for and the        DTD 4/13/2022                              101 TOWNSEND ST
             nature of the debtor’s                                                    SAN FRANCISCO, CA 94107
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.72        State what the contract        INTELLECTUAL PROPERTY                      COLIO, LAURA
             or lease is for and the        ASSIGNMENT & CONFIDENTIAL                  ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         INFORMATION AGREEMENT DTD
             interest                       7/8/2021

             State the term remaining

             List the contract number
             of any government
             contract

 2.73        State what the contract        COMPREHENSIVE AGREEMENT                    COLON, JEANKARLO
             or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         DTD 11/27/2019
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.74        State what the contract        CONFIDENTIAL INFORMATION &                 COLON, JEANKARLO
             or lease is for and the        INVENTION ASSIGNMENT AGREEMENT             ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         DTD 11/27/2019
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.75        State what the contract        CONSULTING AGREEMENT                       COMEX CONSULTING SL
             or lease is for and the                                                   ATTN EDWARD FIELD
             nature of the debtor’s                                                    PLAZA CASTELLINI, 9-1 IZQ
             interest                                                                  CARTAGENA 30201
                                                                                       SPAIN
             State the term remaining

             List the contract number
             of any government
             contract

 2.76        State what the contract        INTELLECTUAL PROPERTY                      COMEX CONSULTING SL
             or lease is for and the        ASSIGNMENT AGREEMENT DTD                   ATTN: EDWARD FIELD
             nature of the debtor’s         5/12/2021                                  PLAZA CASTELLINI, 9-1 IZQ
             interest                       ASSIGNS ASSET PURCHASE                     CARTAGENA 30201
                                            AGREEMENT                                  SPAIN

             State the term remaining

             List the contract number
             of any government
             contract




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        List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease


 2.77        State what the contract        SOLE SOURCE LETTER DTD 1/10/2017            COMPAGNIE INTERNATIONALE DE VINS & SPIRITUEUX S.A.S.
             or lease is for and the                                                    66 BOULEVARD NOTRE DAME
             nature of the debtor’s                                                     MARSEILLE 13006
             interest                                                                   FRANCE

             State the term remaining

             List the contract number
             of any government
             contract

 2.78        State what the contract        SOLE SOURCE LETTER DTD 10/11/2017           COMPAGNIE INTERNATIONALE DE VINS & SPIRITUEUX S.A.S.
             or lease is for and the                                                    66 BOULEVARD NOTRE DAME
             nature of the debtor’s                                                     MARSEILLE 13006
             interest                                                                   FRANCE

             State the term remaining

             List the contract number
             of any government
             contract

 2.79        State what the contract        SOLE SOURCE LETTER DTD 12/15/2016           COMPAGNIE INTERNATIONALE DE VINS & SPIRITUEUX S.A.S.
             or lease is for and the                                                    66 BOULEVARD NOTRE DAME
             nature of the debtor’s                                                     MARSEILLE 13006
             interest                                                                   FRANCE

             State the term remaining

             List the contract number
             of any government
             contract

 2.80        State what the contract        SOLE SOURCE LETTER DTD 4/5/2017             COMPAGNIE INTERNATIONALE DE VINS & SPIRITUEUX S.A.S.
             or lease is for and the                                                    66 BOULEVARD NOTRE DAME
             nature of the debtor’s                                                     MARSEILLE 13006
             interest                                                                   FRANCE

             State the term remaining

             List the contract number
             of any government
             contract

 2.81        State what the contract        SOLE SOURCE LETTER DTD 4/5/2017             COMPAGNIE INTERNATIONALE DE VINS & SPIRITUEUX S.A.S.
             or lease is for and the                                                    66 BOULEVARD NOTRE DAME
             nature of the debtor’s                                                     MARSEILLE 13006
             interest                                                                   FRANCE

             State the term remaining

             List the contract number
             of any government
             contract

 2.82        State what the contract        SOLE SOURCE LETTER DTD 5/12/2021            COMPAGNIE INTERNATIONALE DE VINS & SPIRITUEUX S.A.S.
             or lease is for and the                                                    66 BOULEVARD NOTRE DAME
             nature of the debtor’s                                                     MARSEILLE 13006
             interest                                                                   FRANCE

             State the term remaining

             List the contract number
             of any government
             contract




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        List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease


 2.83        State what the contract        SOLE SOURCE LETTER DTD 7/30/2020               COMPAGNIE INTERNATIONALE DE VINS & SPIRITUEUX S.A.S.
             or lease is for and the                                                       66 BOULEVARD NOTRE DAME
             nature of the debtor’s                                                        MARSEILLE 13006
             interest                                                                      FRANCE

             State the term remaining

             List the contract number
             of any government
             contract

 2.84        State what the contract        STATEMENT OF WORK DTD 12/1/2022                COMPINTELLIGENCE, INC.
             or lease is for and the        RE: MASTER CONSULTING AGMT                     56 DRIFTWAY LANE
             nature of the debtor’s                                                        NEW CANAAN, CT 06840
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.85        State what the contract        MASTER SERVICES AGREEMENT DTD                  COMPINTELLIGENCE, INC.
             or lease is for and the        7/16/2021                                      ATTN PRESIDENT
             nature of the debtor’s                                                        56 DRIFTWAY LN
             interest                                                                      NEW CANAAN, CT 06840

             State the term remaining

             List the contract number
             of any government
             contract

 2.86        State what the contract        STATEMENT OF WORK #1 DTD 7/16/2021             COMPINTELLIGENCE, INC.
             or lease is for and the        RE: MSA DTD 7/16/2021                          ATTN PRESIDENT
             nature of the debtor’s                                                        56 DRIFTWAY LN
             interest                                                                      NEW CANAAN, CT 06840

             State the term remaining

             List the contract number
             of any government
             contract

 2.87        State what the contract        ORDER FORM DTD 12/18/2021                      CONCUR TECHNOLOGIES, INC.
             or lease is for and the                                                       601 108TH AVENUE NE SUITE 1000
             nature of the debtor’s                                                        BELLEVUE, WA 98004
             interest

             State the term remaining       6/8/2023

             List the contract number
             of any government
             contract

 2.88        State what the contract        SOLE SOURCE LETTER DTD 5/17/2021               CORDIER
             or lease is for and the                                                       1, RUE DE LA SEIGLIERE
             nature of the debtor’s                                                        BORDEAUX 33088
             interest                                                                      FRANCE

             State the term remaining

             List the contract number
             of any government
             contract




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        List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease


 2.89        State what the contract        SOLE SOURCE LETTER DTD 5/4/2020             CORDIER
             or lease is for and the                                                    1, RUE DE LA SEIGLIERE
             nature of the debtor’s                                                     BORDEAUX 33088
             interest                                                                   FRANCE

             State the term remaining

             List the contract number
             of any government
             contract

 2.90        State what the contract        SOLE SOURCE LETTER DTD 5/5/2019             CORDIER
             or lease is for and the                                                    1, RUE DE LA SEIGLIERE
             nature of the debtor’s                                                     BORDEAUX 33088
             interest                                                                   FRANCE

             State the term remaining

             List the contract number
             of any government
             contract

 2.91        State what the contract        FIRST AMENDMENT TO THE SEVENTH              CROSSCUT VENTURES 2 LP
             or lease is for and the        AMENDED & RESTATED INVESTORS'               C/O CROSSCUT VENTURES
             nature of the debtor’s         RIGHTS AGREEMENT DTD 10/6/2021              ATTN RICK L SMITH
             interest                       AMENDS AGREEMENT DTD 4/6/2021               373 ROSE AVE
                                                                                        VENICE, CA 90291
             State the term remaining

             List the contract number
             of any government
             contract

 2.92        State what the contract        SEVENTH AMENDED & RESTATED                  CROSSCUT VENTURES 2 LP
             or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD             C/O CROSSCUT VENTURES
             nature of the debtor’s         4/6/2021                                    ATTN RICK L SMITH
             interest                                                                   373 ROSE AVE
                                                                                        VENICE, CA 90291
             State the term remaining

             List the contract number
             of any government
             contract

 2.93        State what the contract        SEVENTH AMENDED & RESTATED                  CSABA & JUDY KONKOLY FAMILY TRUST, THE
             or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD             ADDRESS AVAILABLE UPON REQUEST
             nature of the debtor’s         4/6/2021
             interest

             State the term remaining

             List the contract number
             of any government
             contract

 2.94        State what the contract        SEVENTH AMENDED & RESTATED                  DANIEL GALBREATH NICHOLS REV TR DTD 5/24/2012
             or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD             DATED 5/24/2012
             nature of the debtor’s         4/6/2021                                    4500 CHERRY CREEK DRIVE SOUTH SUITE 625
             interest                                                                   DENVER, CO 80246

             State the term remaining

             List the contract number
             of any government
             contract




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         List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease


 2.95         State what the contract        STATEMENT OF WORK DTD 4/21/2021            DATASITE LLC
              or lease is for and the                                                   733 S. MARQUETTE AVE, SUITE 600
              nature of the debtor’s                                                    RICK ATTERBUNY, PRESIDENT & COO
              interest                                                                  MINNEAPOLIS, MN 55402

              State the term remaining

              List the contract number
              of any government
              contract

 2.96         State what the contract        COMPREHENSIVE AGREEMENT                    DATZ, NICOLE
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 1/19/2022
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.97         State what the contract        INTELLECTUAL PROPERTY                      DATZ, NICOLE
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                  ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT DTD
              interest                       1/19/2022

              State the term remaining

              List the contract number
              of any government
              contract

 2.98         State what the contract        RETENTION BONUS AGREEMENT DTD              DATZ, NICOLE
              or lease is for and the        9/12/2022                                  ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.99         State what the contract        COMPREHENSIVE AGREEMENT                    DAUGHERTY, ROBERT
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 2/13/2017
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.100        State what the contract        CONFIDENTIAL INFORMATION &                 DAUGHERTY, ROBERT
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 2/13/2017
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease


 2.101        State what the contract        CONFIDENTIAL INFORMATION &                 DEEHAN, MICHAEL
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 6/14/2019
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.102        State what the contract        COMPREHENSIVE AGREEMENT                    DEMING, TORI
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 9/6/2017
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.103        State what the contract        CONFIDENTIAL INFORMATION &                 DEMING, TORI
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 6/24/2020
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.104        State what the contract        COMPREHENSIVE AGREEMENT                    DIVIRGILIO, PAUL JOSEPH
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 5/19/2016
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.105        State what the contract        SEVENTH AMENDED & RESTATED                 DOLLARHYDE, GRED
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.106        State what the contract        COMPREHENSIVE AGREEMENT                    DOLWANI, JAI
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease


 2.107        State what the contract        CONFIDENTIAL INFORMATION &                      DOLWANI, JAI
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT                  ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 6/24/2020
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.108        State what the contract        SOLE SOURCE LETTER DTD 1/16/2017                DOMAINE DES COMTES MEDITERRANEENS
              or lease is for and the                                                        CHATEAU MARIS
              nature of the debtor’s                                                         LA LIVINIERE 34210
              interest                                                                       FRANCE

              State the term remaining

              List the contract number
              of any government
              contract

 2.109        State what the contract        SOLE SOURCE LETTER DTD 1/16/2017                DOMAINE DES COMTES MEDITERRANEENS
              or lease is for and the                                                        CHATEAU MARIS
              nature of the debtor’s                                                         LA LIVINIERE 34210
              interest                                                                       FRANCE

              State the term remaining

              List the contract number
              of any government
              contract

 2.110        State what the contract        SOLE SOURCE LETTER DTD 12/18/2017               DOMAINE DES COMTES MEDITERRANEENS
              or lease is for and the                                                        CHATEAU MARIS
              nature of the debtor’s                                                         LA LIVINIERE 34210
              interest                                                                       FRANCE

              State the term remaining

              List the contract number
              of any government
              contract

 2.111        State what the contract        SERVICE ORDER RENEWAL                           DOMO, INC.
              or lease is for and the        AMENDMENT DTD 11/1/2020                         ATTN FINANCE DEPT
              nature of the debtor’s         AMENDS ORDER DTD 7/31/2015                      772 E UTAH VALLEY DR
              interest                                                                       AMERICAN FORK, UT 84003

              State the term remaining       10/31/2023

              List the contract number
              of any government
              contract

 2.112        State what the contract        SUBSCRIPTION ORDER FORM DTD                     DONNELLEY FINANCIAL LLC
              or lease is for and the        8/1/2022                                        ATTN LEGAL DEPT
              nature of the debtor’s                                                         35 W WACKER DR
              interest                                                                       CHICAGO, IL 60601

              State the term remaining       7/31/2023

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease


 2.113        State what the contract        SEVENTH AMENDED & RESTATED                 DOROTHY A NICHOLS TRUST DTD 6/29/2012
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.114        State what the contract        SEVENTH AMENDED & RESTATED                 DREAM CATCHER INVESTMENTS LTD (BVI)
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            SUITE 8101, LEVEL 81, INTERNATIONAL COMMERCE CENTRE
              nature of the debtor’s         4/6/2021                                   1 AUSTIN ROAD WEST KOWLOON
              interest                                                                  HONG KONG
                                                                                        CHINA
              State the term remaining

              List the contract number
              of any government
              contract

 2.115        State what the contract        FIRST AMENDMENT TO THE SEVENTH             DREAM CATCHER INVESTMENTS
              or lease is for and the        AMENDED & RESTATED INVESTORS'              SUITE 8101, LEVEL 81, INTERNATIONAL COMMERCE CENTRE
              nature of the debtor’s         RIGHTS AGREEMENT DTD 10/6/2021             1 AUSTIN ROAD WEST KOWLOON
              interest                       AMENDS AGREEMENT DTD 4/6/2021              HONG KONG
                                                                                        CHINA
              State the term remaining

              List the contract number
              of any government
              contract

 2.116        State what the contract        FIRST AMENDMENT TO THE SEVENTH             DREAMER PATHWAY LTD (BVI)
              or lease is for and the        AMENDED & RESTATED INVESTORS'              SUITE 8101, LEVEL 81, INTERNATIONAL COMMERCE CENTRE
              nature of the debtor’s         RIGHTS AGREEMENT DTD 10/6/2021             1 AUSTIN ROAD WEST KOWLOON
              interest                       AMENDS AGREEMENT DTD 4/6/2021              HONG KONG
                                                                                        CHINA
              State the term remaining

              List the contract number
              of any government
              contract

 2.117        State what the contract        SEVENTH AMENDED & RESTATED                 DREAMER PATHWAY LTD (BVI)
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            SUITE 8101, LEVEL 81, INTERNATIONAL COMMERCE CENTRE
              nature of the debtor’s         4/6/2021                                   1 AUSTIN ROAD WEST KOWLOON
              interest                                                                  HONG KONG
                                                                                        CHINA
              State the term remaining

              List the contract number
              of any government
              contract

 2.118        State what the contract        SEVENTH AMENDED & RESTATED                 DRESSELHAUS VENTURES 2 GMBH
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            NOVALISSTR. 12
              nature of the debtor’s         4/6/2021
              interest
                                                                                        BERLIN, 10115
              State the term remaining                                                  GERMANY

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease


 2.119        State what the contract        COMPREHENSIVE AGREEMENT                    DUKES, DANTENEA
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.120        State what the contract        CONFIDENTIAL INFORMATION &                 DUKES, DANTENEA
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 11/26/2019
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.121        State what the contract        AMENDMENT #1 TO EQUITY EDGE                E*TRADE FINANCIAL CORP SERVICES, INC.
              or lease is for and the        ONLINE FOR PARTIALLY OUTSOURCED            ATTN EXECUTIVE DIR
              nature of the debtor’s         PRIVATE CLIENTS AGREEMENT DTD              3 EDISON DR
              interest                       8/19/2021                                  ALPHARETTA, GA 30005

              State the term remaining

              List the contract number
              of any government
              contract

 2.122        State what the contract        EQUITY EDGE ONLINE FOR PARTIALLY           E*TRADE FINANCIAL CORP SERVICES, INC.
              or lease is for and the        OUTSOURCED PRIVATE CLIENTS                 ATTN MANAGING ATTORNEY
              nature of the debtor’s         AGREEMENT DTD 5/17/2021                    3 EDISON DR
              interest                                                                  ALPHARETTA, GA 30005

              State the term remaining

              List the contract number
              of any government
              contract

 2.123        State what the contract        EQUITY EDGE ONLINE FOR PARTIALLY           E*TRADE FINANCIAL CORP SERVICES, INC.
              or lease is for and the        OUTSOURCED PRIVATE CLIENTS                 ATTN PRESIDENT
              nature of the debtor’s         AGREEMENT DTD 5/17/2021                    3 EDISON DR
              interest                                                                  ALPHARETTA, GA 30005

              State the term remaining

              List the contract number
              of any government
              contract

 2.124        State what the contract        COMPREHENSIVE AGREEMENT                    EDDY, JONATHAN
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 12/23/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease


 2.125        State what the contract        INTELLECTUAL PROPERTY                      EDDY, JONATHAN
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                  ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT DTD
              interest                       12/23/2021

              State the term remaining

              List the contract number
              of any government
              contract

 2.126        State what the contract        COMPREHENSIVE AGREEMENT                    ELIAS, DERON, JR
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 8/19/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.127        State what the contract        INTELLECTUAL PROPERTY                      ELIAS, DERON, JR
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                  ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT DTD
              interest                       7/26/2021

              State the term remaining

              List the contract number
              of any government
              contract

 2.128        State what the contract        SEVENTH AMENDED & RESTATED                 ELLS, VALERIE
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.129        State what the contract        EXCESS DIRECTORS' AND OFFICERS'            ENDURANCE AMERICAN INSURANCE COMPANY
              or lease is for and the        INSURANCE - POLICY NUMBER                  4 MANHATTANVILLE RD
              nature of the debtor’s         DOX330027679200 DTD 11/11/2022             PURCHASE, NY 10577
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.130        State what the contract        SEVENTH AMENDED & RESTATED                 ERIC & LAURA LAMISON FAMILY TRUST
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease


 2.131        State what the contract        COMPREHENSIVE AGREEMENT                    ESPARZA, IRMA
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 1/18/2016
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.132        State what the contract        CONFIDENTIAL INFORMATION &                 ESPARZA, IRMA
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 1/18/2016
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.133        State what the contract        SEVENTH AMENDED & RESTATED                 ESSIN, WILL
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.134        State what the contract        TRANSPORTATION SERVICES                    FEDERAL EXPRESS CORP.
              or lease is for and the        AGREEMENT #591985659-106 DTD               ATTN: VP, BRAND EXP MARKETING
              nature of the debtor’s         1/8/2020                                   3640 HACKS CROSS RD
              interest                                                                  BLDG D, 2ND FL
                                                                                        MEMPHIS, TN 38125
              State the term remaining

              List the contract number
              of any government
              contract

 2.135        State what the contract        TRANSPORTATION SERVICES                    FEDERAL EXPRESS CORP.
              or lease is for and the        AGREEMENT #591985659-109 DTD               ATTN: VP, BRAND EXP MARKETING
              nature of the debtor’s         10/15/2020                                 3640 HACKS CROSS RD
              interest                                                                  BLDG D, 2ND FL
                                                                                        MEMPHIS, TN 38125
              State the term remaining

              List the contract number
              of any government
              contract

 2.136        State what the contract        FEDEX TRANSPORTATION SERVICES              FEDEX CORPORATE SERVICES, INC.
              or lease is for and the        AGREEMENT AMENDMENT DTD                    3640 HACKS CROSS RD, BLDG D, 2ND FL
              nature of the debtor’s         10/5/2021                                  MEMPHIS, TN 38125
              interest                       AMENDS AGREEMENT#
                                             591985659-110-02

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


 2.137        State what the contract        LICENSING AGREEMENT DTD 4/4/2019               FEDEX CORPORATE SERVICES, INC.
              or lease is for and the                                                       3640 HACKS CROSS RD, BLDG D, 2ND FL
              nature of the debtor’s                                                        MEMPHIS, TN 38125
              interest

              State the term remaining       4/4/2024

              List the contract number
              of any government
              contract

 2.138        State what the contract        TRANSPORTATION SERVICES                        FEDEX CORPORATE SERVICES, INC.
              or lease is for and the        AGREEMENT #59185659-100 DTD                    3640 HACKS CROSS RD, BLDG D, 2ND FL
              nature of the debtor’s         4/20/2017                                      MEMPHIS, TN 38125
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.139        State what the contract        TRANSPORTATION SERVICES                        FEDEX CORPORATE SERVICES, INC.
              or lease is for and the        AMENDMENT DTD 10/21/2022                       3640 HACKS CROSS RD, BLDG D, 2ND FL
              nature of the debtor’s         AMENDS AGREEMENT                               MEMPHIS, TN 38125
              interest                       #591985659-109-03

              State the term remaining

              List the contract number
              of any government
              contract

 2.140        State what the contract        TRANSPORTATION SERVICES                        FEDEX CORPORATE SERVICES, INC.
              or lease is for and the        AMENDMENT DTD 10/5/2021                        3640 HACKS CROSS RD, BLDG D, 2ND FL
              nature of the debtor’s         AMENDS AGREEMENT                               MEMPHIS, TN 38125
              interest                       #591985659-110-01

              State the term remaining

              List the contract number
              of any government
              contract

 2.141        State what the contract        GRANT & PERMISSION AGREEMENT                   FEDEX CORPORATE SERVICES, INC.
              or lease is for and the                                                       3650 HACKS CROSS RD
              nature of the debtor’s                                                        BLDG E, 1ST FL
              interest                                                                      MEMPHIS, TN 38125

              State the term remaining

              List the contract number
              of any government
              contract

 2.142        State what the contract        GRANT & PERMISSION AGREEMENT                   FEDEX CORPORATE SERVICES, INC.
              or lease is for and the        DTD 4/4/2019                                   ATTN: VP, BRAND EXP MARKETING
              nature of the debtor’s                                                        3640 HACKS CROSS RD
              interest                                                                      BLDG D, 2ND FL
                                                                                            MEMPHIS, TN 38125
              State the term remaining       4/4/2024

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease


 2.143        State what the contract        TRANSPORTATION SERVICES                    FEDEX FREIGHT, INC.
              or lease is for and the        AGREEMENT #591985659-106 DTD               ATTN: VP, BRAND EXP MARKETING
              nature of the debtor’s         1/8/2020                                   3640 HACKS CROSS RD
              interest                                                                  BLDG D, 2ND FL
                                                                                        MEMPHIS, TN 38125
              State the term remaining

              List the contract number
              of any government
              contract

 2.144        State what the contract        TRANSPORTATION SERVICES                    FEDEX FREIGHT, INC.
              or lease is for and the        AGREEMENT #591985659-109 DTD               ATTN: VP, BRAND EXP MARKETING
              nature of the debtor’s         10/15/2020                                 3640 HACKS CROSS RD
              interest                                                                  BLDG D, 2ND FL
                                                                                        MEMPHIS, TN 38125
              State the term remaining

              List the contract number
              of any government
              contract

 2.145        State what the contract        TRANSPORTATION SERVICES                    FEDEX GROUND PACKAGE SYSTEM, INC.
              or lease is for and the        AGREEMENT #591985659-106 DTD               ATTN: VP, BRAND EXP MARKETING
              nature of the debtor’s         1/8/2020                                   3640 HACKS CROSS RD
              interest                                                                  BLDG D, 2ND FL
                                                                                        MEMPHIS, TN 38125
              State the term remaining

              List the contract number
              of any government
              contract

 2.146        State what the contract        TRANSPORTATION SERVICES                    FEDEX GROUND PACKAGE SYSTEM, INC.
              or lease is for and the        AGREEMENT #591985659-109 DTD               ATTN: VP, BRAND EXP MARKETING
              nature of the debtor’s         10/15/2020                                 3640 HACKS CROSS RD
              interest                                                                  BLDG D, 2ND FL
                                                                                        MEMPHIS, TN 38125
              State the term remaining

              List the contract number
              of any government
              contract

 2.147        State what the contract        SEPARATION & GENERAL RELEASE               FELDMAN, JOSH
              or lease is for and the        AGREEMENT DTD 11/13/2022                   ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         EMPLOYMENT TERMINATED EFF
              interest                       11/4/2022

              State the term remaining

              List the contract number
              of any government
              contract

 2.148        State what the contract        CONFIDENTIAL INFORMATION &                 FIELDS-JACKSON, ELIZABETH
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 11/30/2020
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease


 2.149        State what the contract        COMPREHENSIVE AGREEMENT                         FIORINO, ALLIE
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION                ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 6/14/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.150        State what the contract        INTELLECTUAL PROPERTY                           FIORINO, ALLIE
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                       ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT DTD
              interest                       6/14/2021

              State the term remaining

              List the contract number
              of any government
              contract

 2.151        State what the contract        SERVICE ORDER FORM                              FIVETRAN, INC.
              or lease is for and the                                                        405 14TH ST, STE 1100
              nature of the debtor’s                                                         OAKLAND, CA 94612
              interest

              State the term remaining       2/17/2023

              List the contract number
              of any government
              contract

 2.152        State what the contract        SEVENTH AMENDED & RESTATED                      FLOOD, JOHN L
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD                 ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.153        State what the contract        INTELLECTUAL PROPERTY                           FLORES, FAITH
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                       ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT DTD
              interest                       9/22/2021

              State the term remaining

              List the contract number
              of any government
              contract

 2.154        State what the contract        RETENTION BONUS AGREEMENT DTD                   FLORES, FAITH
              or lease is for and the        9/12/2022                                       ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease


 2.155        State what the contract        COMPREHENSIVE AGREEMENT                    FREY, LEONA
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 11/12/2019
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.156        State what the contract        CONFIDENTIAL INFORMATION &                 FREY, LEONA
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 11/12/2019
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.157        State what the contract        SEVENTH AMENDED & RESTATED                 GENESEN, TRACY
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.158        State what the contract        FIRST AMENDMENT TO THE SEVENTH             GOBLUE VENTURES LLC
              or lease is for and the        AMENDED & RESTATED INVESTORS'              1865 PALMER AVE, STE 104
              nature of the debtor’s         RIGHTS AGREEMENT DTD 10/6/2021             LARCHMONT, NY 10538
              interest                       AMENDS AGREEMENT DTD 4/6/2021

              State the term remaining

              List the contract number
              of any government
              contract

 2.159        State what the contract        SEVENTH AMENDED & RESTATED                 GOBLUE VENTURES LLC
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            525 BRANNAN ST, STE 100
              nature of the debtor’s         4/6/2021                                   SAN FRANCISCO, CA 94107
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.160        State what the contract        INTELLECTUAL PROPERTY                      GOLD, CAITLIN
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                  ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT DTD
              interest                       4/28/2022

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired lease


 2.161        State what the contract        SEVENTH AMENDED & RESTATED                  GOLDENBERG, ADAM
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.162        State what the contract        COMPREHENSIVE AGREEMENT                     GRACE, MADISON
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 2/20/2020
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.163        State what the contract        CONFIDENTIAL INFORMATION &                  GRACE, MADISON
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT              ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 2/24/2020
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.164        State what the contract        SOLE SOURCE LETTER DTD 4/29/2019            GRANDS VIGNOBLES EN MEDITERRANEE
              or lease is for and the                                                    CHATEAU MARIS
              nature of the debtor’s                                                     LA LIVINIERE 34210
              interest                                                                   FRANCE

              State the term remaining

              List the contract number
              of any government
              contract

 2.165        State what the contract        SEVENTH AMENDED & RESTATED                  GRAVES, GREGORY
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.166        State what the contract        CONFIDENTIAL INFORMATION &                  GREEN, ERIN K
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT              ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 1/5/2015
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired lease


 2.167        State what the contract        SEVENTH AMENDED & RESTATED                  GREGG & AMY BOGOST JOINT REV TR
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.168        State what the contract        COMPREHENSIVE AGREEMENT                     GRIMES, DENNIS C
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 8/15/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.169        State what the contract        INTELLECTUAL PROPERTY                       GRIMES, DENNIS C
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                   ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT DTD
              interest                       8/2/2001

              State the term remaining

              List the contract number
              of any government
              contract

 2.170        State what the contract        LETTER RE: GROUP PLAN #G-00574464           GUARDIAN LIFE INSURANCE CO OF AMERICA
              or lease is for and the        DTD 5/21/2020                               10 HUDSON YARDS
              nature of the debtor’s                                                     NEW YORK, NY 10001
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.171        State what the contract        SEVENTH AMENDED & RESTATED                  GUILD CAPITAL – CLUB W LLC
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD             444 N MICHIGAN AVE, STE 650
              nature of the debtor’s         4/6/2021                                    CHICAGO, IL 60611-3933
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.172        State what the contract        SEVENTH AMENDED & RESTATED                  H. BARTON CO-INVEST FUND LLC
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD             C/O INCORPORATING SERVICES LTD
              nature of the debtor’s         4/6/2021                                    3500 S DUPONT HWY
              interest                                                                   DOVER, DE 19901

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease


 2.173        State what the contract        COMPREHENSIVE AGREEMENT                    HERNANDEZ, XOCHITL
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 4/9/2020
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.174        State what the contract        CONFIDENTIAL INFORMATION &                 HERNANDEZ, XOCHITL
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 4/9/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.175        State what the contract        SEVENTH AMENDED & RESTATED                 HODGE, PAUL W
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.176        State what the contract        SEVENTH AMENDED & RESTATED                 HOFFMAN, SHEP
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.177        State what the contract        SEVENTH AMENDED & RESTATED                 HOLLERBACH, MARCEL
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.178        State what the contract        DISTRIBUTION AGREEMENT DTD                 HORIZON BEVERAGE COMPANY OF RHODE ISLAND, INC.
              or lease is for and the        1/10/2018                                  121 HOPKINS HILL ROAD
              nature of the debtor’s                                                    WEST GREENWICH, RI 02817
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired lease


 2.179        State what the contract        INTELLECTUAL PROPERTY                       HUTCHINSON, KAITLIN
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                   ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT DTD
              interest                       1/13/2022

              State the term remaining

              List the contract number
              of any government
              contract

 2.180        State what the contract        SEPARATION & GENERAL RELEASE                HUTCHINSON, KAITLIN
              or lease is for and the        AGREEMENT DTD 11/10/2022                    ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         EMPLOYMENT TERMINATED EFF
              interest                       11/4/2022

              State the term remaining

              List the contract number
              of any government
              contract

 2.181        State what the contract        ENTERPRISE APPLICATION & MASTER             IDOLOGY, INC.
              or lease is for and the        SERVICE AGREEMENT DTD 6/2/2020              ATTN LEGAL DEPT
              nature of the debtor’s                                                     2018 POWERS FERRY RD SE, STE 720
              interest                                                                   ATLANTA, GA 30339

              State the term remaining

              List the contract number
              of any government
              contract

 2.182        State what the contract        PROPOSAL #P-1113483 DTD 6/6/2022            IMAGINIT TECHNOLOGIES
              or lease is for and the                                                    304 INVERNESS WAY S, STE 240
              nature of the debtor’s                                                     ENGLEWOOD, CO 80112
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.183        State what the contract        COMPREHENSIVE AGREEMENT                     INCHAUSTE, ANGELLI
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 6/14/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.184        State what the contract        INTELLECTUAL PROPERTY                       INCHAUSTE, ANGELLI
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                   ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT DTD
              interest                       6/14/2021

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease


 2.185        State what the contract        MASTER PROCUREMENT AGREEMENT                    INSIGHT RESOURCE GROUP
              or lease is for and the        FOR PRODUCT SERVICES DTD 1/4/2022               3468 MT DIABLE BLVD, STE B120
              nature of the debtor’s                                                         LAFAYETTE, CA 94549
              interest

              State the term remaining       1/9/2024

              List the contract number
              of any government
              contract

 2.186        State what the contract        INTELLIGIZE ORDER FORM DTD                      INTELLIGIZE
              or lease is for and the        2/15/2022                                       230 PARK AVE, 7TH FLOOR
              nature of the debtor’s                                                         NEW YORK, NY 10169
              interest

              State the term remaining       2/29/2024

              List the contract number
              of any government
              contract

 2.187        State what the contract        SOLE SOURCE LETTER DTD 2/17/2022                J. & H. SELBACH WEINKELLEREI
              or lease is for and the                                                        GEWERBEGEBEIET
              nature of the debtor’s                                                         GANSFELDER STR. 20
              interest                                                                       ZELTINGEN-RACHTIG D-54492
                                                                                             GERMANY
              State the term remaining

              List the contract number
              of any government
              contract

 2.188        State what the contract        COMPREHENSIVE AGREEMENT                         JACKSON, ELIZABETH
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION                ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 11/24/2020
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.189        State what the contract        SEVENTH AMENDED & RESTATED                      JAMES J & ERICA S FRANK (JTWROS)
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD                 ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.190        State what the contract        SEVENTH AMENDED & RESTATED                      JAMES J TIAMPO MONEY PURCHASE PLAN & TR (KEOGH)
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD                 ATTN JAMES J TIAMPO, TTEE
              nature of the debtor’s         4/6/2021                                        PO BOX 2430
              interest                                                                       BLAINE, WA 98231-2430

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease


 2.191        State what the contract        SEVENTH AMENDED & RESTATED                 JAN VENTURES LLC
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            ATTN ANDREW NIGRELLI
              nature of the debtor’s         4/6/2021                                   262 WINTER ST
              interest                                                                  WESTON, MA 02493

              State the term remaining

              List the contract number
              of any government
              contract

 2.192        State what the contract        COMPREHENSIVE AGREEMENT                    JENSON, PAUL
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 9/29/2016
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.193        State what the contract        CONFIDENTIAL INFORMATION &                 JENSON, PAUL
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 7/13/2015
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.194        State what the contract        INTELLECTUAL PROPERTY                      JOHNSTON, THOMAS M
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                  ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT DTD
              interest                       12/11/2021

              State the term remaining

              List the contract number
              of any government
              contract

 2.195        State what the contract        SEPARATION & GENERAL RELEASE               JOHNSTON, THOMAS M
              or lease is for and the        AGREEMENT DTD 11/17/2022                   ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         EMPLOYMENT TERMINATED EFF
              interest                       11/4/2022

              State the term remaining

              List the contract number
              of any government
              contract

 2.196        State what the contract        COMPREHENSIVE AGREEMENT                    JONES, VONETTA
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 11/10/2016
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease


 2.197        State what the contract        CONFIDENTIAL INFORMATION &                      JONES, VONETTA
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT                  ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 11/14/2016
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.198        State what the contract        SEVENTH AMENDED & RESTATED                      JORDAN, JAMES BUCKLEY
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD                 ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.199        State what the contract        SEVENTH AMENDED & RESTATED                      JOSH SPEAR LLC
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.200        State what the contract        GROUP AGREEMENT RENEWAL - ID                    KAISER PERMANENTE HEALTH PLAN INC
              or lease is for and the        232465 DTD 6/16/2022                            CUSTOMER SERVICE CENTER
              nature of the debtor’s                                                         PO BOX 23448
              interest                                                                       SAN DIEGO, CA 92193-3448

              State the term remaining       5/31/2023

              List the contract number
              of any government
              contract

 2.201        State what the contract        COMPREHENSIVE AGREEMENT                         KEATING, KATHERINE
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION                ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 3/8/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.202        State what the contract        CONFIDENTIAL INFORMATION &                      KEATING, KATHERINE
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT                  ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 3/8/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease


 2.203        State what the contract        COMPREHENSIVE AGREEMENT                    KENNEDY, SCOTT
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 5/19/2022
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.204        State what the contract        INTELLECTUAL PROPERTY                      KENNEDY, SCOTT
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                  ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT DTD
              interest                       7/11/2022

              State the term remaining

              List the contract number
              of any government
              contract

 2.205        State what the contract        SEVENTH AMENDED & RESTATED                 KESTREL FLIGHT FUND LLC
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            ATTN ALBERT HANSER, MANAGING PARTNER
              nature of the debtor’s         4/6/2021                                   149 MEADOWBROOK RD
              interest                                                                  WESTON, MA 02493

              State the term remaining

              List the contract number
              of any government
              contract

 2.206        State what the contract        INTELLECTUAL PROPERTY                      KING, SHAYLA
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                  ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT DTD
              interest                       2/3/2022

              State the term remaining

              List the contract number
              of any government
              contract

 2.207        State what the contract        COMPREHENSIVE AGREEMENT                    KNUTSEN, TOM
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 2/22/2017
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.208        State what the contract        CONFIDENTIAL INFORMATION &                 KNUTSEN, TOM
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 2/22/2017
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease


 2.209        State what the contract        COMPREHENSIVE AGREEMENT                    KRAM, NATALIE
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 2/25/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.210        State what the contract        CONFIDENTIAL INFORMATION &                 KRAM, NATALIE
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 2/25/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.211        State what the contract        SEVENTH AMENDED & RESTATED                 KUKAC LIMITED
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.212        State what the contract        COMPREHENSIVE AGREEMENT                    LAPORTE, JACQUELINE
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 7/31/2019
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.213        State what the contract        CONFIDENTIAL INFORMATION &                 LAPORTE, JACQUELINE
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 7/31/2019
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.214        State what the contract        CONFIDENTIAL INFORMATION &                 LAWTON, PETER
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 9/9/2016
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease


 2.215        State what the contract        SEPARATION & GENERAL RELEASE               LAWTON, PETER
              or lease is for and the        AGREEMENT DTD 11/18/2022                   ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         EMPLOYMENT TERMINATED EFF
              interest                       11/4/2022

              State the term remaining

              List the contract number
              of any government
              contract

 2.216        State what the contract        STANDARD INDUSTRIAL / COMMERCIAL           LEE & ASSOCIATES LOS ANGELES WEST, INC.
              or lease is for and the        MULTI-TENANT LEASE-GROSS DTD               1508 17TH ST
              nature of the debtor’s         6/9/2021                                   SANTA MONICA, CA 90404
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.217        State what the contract        COMPREHENSIVE AGREEMENT                    LEE, JAE
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 5/10/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.218        State what the contract        CONFIDENTIAL INFORMATION &                 LEE, JAE
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 5/10/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.219        State what the contract        COMPREHENSIVE AGREEMENT                    LIBRIZZI, JUDE
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 6/23/2022
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.220        State what the contract        INTELLECTUAL PROPERTY                      LIBRIZZI, JUDE
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                  ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT DTD
              interest                       6/23/2022

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired lease


 2.221        State what the contract        SEVENTH AMENDED & RESTATED                  LIEBERMAN, LEONARD
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.222        State what the contract        SOLE SOURCE LETTER DTD 11/17/2021           LIMESTONE COAST WINES PTY LTD
              or lease is for and the                                                    15025 RIDDOCH HWY
              nature of the debtor’s                                                     COONAWARRA 5263
              interest                                                                   AUSTRALIA

              State the term remaining

              List the contract number
              of any government
              contract

 2.223        State what the contract        SOLE SOURCE LETTER DTD 3/3/2021             LIMESTONE COAST WINES PTY LTD
              or lease is for and the                                                    15025 RIDDOCH HWY
              nature of the debtor’s                                                     COONAWARRA 5263
              interest                                                                   AUSTRALIA

              State the term remaining

              List the contract number
              of any government
              contract

 2.224        State what the contract        SOLE SOURCE LETTER DTD 1/12/2017            LIMESTONE COAST WINES PTY LTD
              or lease is for and the                                                    7089 RIDDOCH HIGHWAY
              nature of the debtor’s                                                     PADTHAWAY 5263
              interest                                                                   AUSTRALIA

              State the term remaining

              List the contract number
              of any government
              contract

 2.225        State what the contract        SOLE SOURCE LETTER DTD 12/10/2021           LIMESTONE COAST WINES PTY LTD
              or lease is for and the                                                    P.O. BOX 315
              nature of the debtor’s                                                     COONAWARRA 5263
              interest                                                                   AUSTRALIA

              State the term remaining

              List the contract number
              of any government
              contract

 2.226        State what the contract        SEVENTH AMENDED & RESTATED                  LIN, PATRICK
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease


 2.227        State what the contract        ORDER FORM RE: #FLD7502607293                   LINKEDIN
              or lease is for and the                                                        1000 W. MAUDE AVENUE
              nature of the debtor’s                                                         SUNNYVALE, CA 94085
              interest

              State the term remaining       4/7/2023

              List the contract number
              of any government
              contract

 2.228        State what the contract        CARGO (WAR & MARINE) - POLICY                   LLOYDS OF LONDON
              or lease is for and the        NUMBER                                          1 LIME ST
              nature of the debtor’s         WC-FAL-90000045/MC-FAL-90000045                 LONDON
              interest                                                                       UNITED KINGDOM

              State the term remaining       9/30/2023

              List the contract number
              of any government
              contract

 2.229        State what the contract        SPONSORSHIP AGREEMENT DTD                       LOS ANGELES PHILHARMONIC ASSOC.
              or lease is for and the        12/13/2019                                      ATTN GENERAL COUNSEL
              nature of the debtor’s                                                         151 S GRAND AVE
              interest                                                                       LOS ANGELES, CA 90012

              State the term remaining       12/31/2024

              List the contract number
              of any government
              contract

 2.230        State what the contract        SEVENTH AMENDED & RESTATED                      LOTUS CAPITAL LLC
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.231        State what the contract        INTELLECTUAL PROPERTY                           MACLEOD, SOPHIA
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                       ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT DTD
              interest                       7/7/2022

              State the term remaining

              List the contract number
              of any government
              contract

 2.232        State what the contract        SEVENTH AMENDED & RESTATED                      MADISON TRUST CO, CUSTODIAN
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD                 F/B/O MICHAEL MALOUF M21026625
              nature of the debtor’s         4/6/2021                                        401 E 8TH ST, STE 200
              interest                                                                       SIOUX FALLS, SD 57103

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease


 2.233        State what the contract        INTELLECTUAL PROPERTY                           MAITRE, ARTHUR
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                       ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT DTD
              interest                       2/15/2022

              State the term remaining

              List the contract number
              of any government
              contract

 2.234        State what the contract        INTELLECTUAL PROPERTY                           MARICONI, MATTHEW
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                       ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT DTD
              interest                       3/14/2022

              State the term remaining

              List the contract number
              of any government
              contract

 2.235        State what the contract        INTELLECTUAL PROPERTY                           MARTINEZ, FREDDY
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                       ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT DTD
              interest                       3/18/2022

              State the term remaining

              List the contract number
              of any government
              contract

 2.236        State what the contract        APPENDIX A INITIAL INSERTION ORDER              MASTERCARD INTERNATIONAL, INC.
              or lease is for and the        DTD 11/17/2021 RE: MASTER                       2000 PURCHASE STREET
              nature of the debtor’s         MERCHANT PARTICIPATION                          PURCHASE, NY 10577
              interest                       AGREEMENT DTD 6/11/2020

              State the term remaining       12/31/2022

              List the contract number
              of any government
              contract

 2.237        State what the contract        APPENDIX A INITIAL INSERTION ORDER              MASTERCARD INTERNATIONAL, INC.
              or lease is for and the        DTD 3/21/2022 RE: MASTER MERCHANT               2000 PURCHASE STREET
              nature of the debtor’s         PARTICIPATION AGREEMENT DTD                     PURCHASE, NY 10577
              interest                       6/11/2020

              State the term remaining       3/15/2023

              List the contract number
              of any government
              contract

 2.238        State what the contract        COMPREHENSIVE AGREEMENT                         MATTSON, CHRIS
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION                ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 12/17/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease


 2.239        State what the contract        INTELLECTUAL PROPERTY                      MATTSON, CHRIS
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                  ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT DTD
              interest                       12/17/2021

              State the term remaining

              List the contract number
              of any government
              contract

 2.240        State what the contract        SEVENTH AMENDED & RESTATED                 MATYKA, DOMINIK
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.241        State what the contract        SEVENTH AMENDED & RESTATED                 MCCORMICK, ANDREW
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.242        State what the contract        COMPREHENSIVE AGREEMENT                    MCCREARY, DEX
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 11/26/2018
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.243        State what the contract        CONFIDENTIAL INFORMATION &                 MCCREARY, DEX
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 11/26/2018
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.244        State what the contract        SEVENTH AMENDED & RESTATED                 MCCUE, JACK
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease


 2.245        State what the contract        SEVENTH AMENDED & RESTATED                 MCFARLANE FAMILY TRUST
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            1853 LIONS RIDGE LOOP EAST
              nature of the debtor’s         4/6/2021                                   VAIL, CO 81657
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.246        State what the contract        GENERAL RELEASE DTD 9/23/2022              MCFARLANE, GEOFFREY
              or lease is for and the                                                   ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.247        State what the contract        SEVENTH AMENDED & RESTATED                 MCFARLANE, GEOFFREY
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.248        State what the contract        COMPREHENSIVE AGREEMENT                    MCGREGOR, ANASTASIA
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 12/16/2020
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.249        State what the contract        CONFIDENTIAL INFORMATION &                 MCGREGOR, ANASTASIA
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 12/16/2020
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.250        State what the contract        SEVENTH AMENDED & RESTATED                 MCGUIRE, JAMES SOCTT
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired lease


 2.251        State what the contract        COMPREHENSIVE AGREEMENT                     MELVIN, VERAN
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 7/5/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.252        State what the contract        INTELLECTUAL PROPERTY                       MELVIN, VERAN
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                   ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT DTD
              interest                       7/5/2021

              State the term remaining

              List the contract number
              of any government
              contract

 2.253        State what the contract        COMPREHENSIVE AGREEMENT                     MERICKA, LINDSEY
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 5/6/2022
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.254        State what the contract        INTELLECTUAL PROPERTY                       MERICKA, LINDSEY
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                   ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT
              interest                       DTD5/6/2022

              State the term remaining

              List the contract number
              of any government
              contract

 2.255        State what the contract        SEVENTH AMENDED & RESTATED                  MESSINA, RICHARD
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.256        State what the contract        SOLE SOURCE LETTER DTD 12/22/2016           MICHEL GASSIER
              or lease is for and the                                                    CHEMIN DES CANAUX
              nature of the debtor’s                                                     CAISSARGUES 30132
              interest                                                                   FRANCE

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


 2.257        State what the contract        ADDENDUM A TO PRE-HARVEST BULK                 MILLER FAMILY WINE COMPANY, LLC
              or lease is for and the        WINE PURCHASE AND SALE                         2717 AVIATION WAY, STE 101
              nature of the debtor’s         AGREEMENT DTD 10/18/2022                       SANTA MARIA, CA 93455
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.258        State what the contract        EMAIL REGARDING SPI FOR V22 WINES              MILLER FAMILY WINE COMPANY, LLC
              or lease is for and the        DTD 7/20/2022                                  2717 AVIATION WAY, STE 101
              nature of the debtor’s                                                        SANTA MARIA, CA 93455
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.259        State what the contract        PRE-HARVEST BULK WINE PURCHASE                 MILLER FAMILY WINE COMPANY, LLC
              or lease is for and the        AND SALE AGREEMENT#                            2717 AVIATION WAY, STE 101
              nature of the debtor’s         21WINCCSPNVL3YR DTD 8/5/2021                   SANTA MARIA, CA 93455
              interest

              State the term remaining       6/1/2024

              List the contract number
              of any government
              contract

 2.260        State what the contract        COMPREHENSIVE AGREEMENT                        MORRIS, ASHLEY
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION               ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 8/5/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.261        State what the contract        CONFIDENTIAL INFORMATION &                     MORRIS, ASHLEY
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT                 ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 8/1/2017
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.262        State what the contract        SOLE SOURCE LETTER DTD 12/15/2016              MOUNT RILEY WINES LIMITED
              or lease is for and the                                                       P.O. BOX 102061
              nature of the debtor’s                                                        NORTH SHORE MAIL CENTRE
              interest                                                                      AUCKLAND
                                                                                            NEW ZEALAND
              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired lease


 2.263        State what the contract        SOLE SOURCE LETTER DTD 1/9/2017             NATANNA PTY LTD
              or lease is for and the                                                    VALLEY ROAD R44
              nature of the debtor’s                                                     KLAPMUTS
              interest                                                                   SOUTH AFRICA

              State the term remaining

              List the contract number
              of any government
              contract

 2.264        State what the contract        EXCESS DIRECTORS' AND OFFICERS'             NATIONAL UNION FIRE INSURANCE COMPANY OF
              or lease is for and the        INSURANCE - POLICY NUMBER                   PITTSBURGH, P.A.
              nature of the debtor’s         01-811-11-47                                1271 AVE OF AMERICAS, 37TH FL
              interest                                                                   NEW YORK, NY

              State the term remaining

              List the contract number
              of any government
              contract

 2.265        State what the contract        PRIMARY DIRECTORS' AND OFFICERS'            NATIONAL UNION FIRE INSURANCE COMPANY OF
              or lease is for and the        INSURANCE - POLICY NUMBER                   PITTSBURGH, P.A.
              nature of the debtor’s         01-811-11-45                                1271 AVE OF AMERICAS, 37TH FL
              interest                                                                   NEW YORK, NY

              State the term remaining

              List the contract number
              of any government
              contract

 2.266        State what the contract        SEVENTH AMENDED & RESTATED                  NEW DIRECTION IRA
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.267        State what the contract        SEVENTH AMENDED & RESTATED                  NICHOLS, RANDY
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.268        State what the contract        SEVENTH AMENDED & RESTATED                  NORTH RIM INVESTMENTS LLC
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD             105 FIELDSON DR
              nature of the debtor’s         4/6/2021                                    MILLEDGEVILLE, GA 31061
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired lease


 2.269        State what the contract        COMPREHENSIVE AGREEMENT                     NUSSEN, ERICA
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 1/14/2016
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.270        State what the contract        CONFIDENTIAL INFORMATION &                  NUSSEN, ERICA
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT              ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 1/14/2016
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.271        State what the contract        SEVENTH AMENDED & RESTATED                  NUVIEW IRA FBO JOHN SEABERN
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD             14 WALNUT AVE
              nature of the debtor’s         4/6/2021                                    MILL VALLEY, CA 94941
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.272        State what the contract        NYSE AMERICAN LISTING AGREEMENT             NYSE AMERICAN LLC
              or lease is for and the        DTD 11/4/2021                               74 TRINITY PLACE
              nature of the debtor’s                                                     NEW YORK, NY 10006
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.273        State what the contract        SOLE SOURCE LETTER DTD 12/11/2020           OAKTREE IMPORTS, INC.
              or lease is for and the                                                    711 MORENO ROAD
              nature of the debtor’s                                                     SANTA BARBARA, CA 93103
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.274        State what the contract        SOLE SOURCE LETTER DTD 12/19/2016           OAKTREE IMPORTS, INC.
              or lease is for and the                                                    711 MORENO ROAD
              nature of the debtor’s                                                     SANTA BARBARA, CA 93103
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


 2.275        State what the contract        SOLE SOURCE LETTER DTD 3/3/2021                OAKTREE IMPORTS, INC.
              or lease is for and the                                                       711 MORENO ROAD
              nature of the debtor’s                                                        SANTA BARBARA, CA 93103
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.276        State what the contract        1ST AMENDMENT TO SERVICE                       OFFSOURCING, INC.
              or lease is for and the        AGREEMENT DTD 2/8/2016                         8605 SANTA MONICA BLVD, #30540
              nature of the debtor’s         AMENDS AGREEMENT DTD 9/14/2015                 LOS ANGELES, CA 90069
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.277        State what the contract        SERVICE AGREEMENT DTD 9/21/2015                OFFSOURCING, INC.
              or lease is for and the                                                       8605 SANTA MONICA BLVD, #30540
              nature of the debtor’s                                                        LOS ANGELES, CA 90069
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.278        State what the contract        CONSULTING AGREEMENT DTD 5/2/2022              OGAHAYON, REGHIE
              or lease is for and the                                                       215A WINCHESTER RD
              nature of the debtor’s                                                        SOUTHHAMPTON
              interest                                                                      HAMPSHIRE
                                                                                            UNITED KINGDOM
              State the term remaining

              List the contract number
              of any government
              contract

 2.279        State what the contract        RENEWAL ORDER - ESTIMATE #972473               ORACLE AMERICA, INC.
              or lease is for and the        DTD 2/7/2022                                   2300 ORACLE WAY
              nature of the debtor’s                                                        AUSTIN, TX 78741
              interest

              State the term remaining       3/7/2024

              List the contract number
              of any government
              contract

 2.280        State what the contract        THIRD PARTY SERVICE AGREEMENT                  ORACLE AMERICA, INC.
              or lease is for and the        DTD 8/19/2022                                  2300 ORACLE WAY
              nature of the debtor’s         ESTIMATE #1062310 DTD 8/9/2022                 AUSTIN, TX 78741
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


 2.281        State what the contract        ORACLE NETSUITE ESTIMATE #1062310              ORACLE AMERICA, INC.
              or lease is for and the        DTD 8/9/2022                                   500 ORACLE PKWY
              nature of the debtor’s                                                        REDWOOD SHORES, CA 94065
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.282        State what the contract        ORACLE ORDERING DOCUMENT                       ORACLE AMERICA, INC.
              or lease is for and the                                                       500 ORACLE PKWY
              nature of the debtor’s                                                        REDWOOD SHORES, CA 94065
              interest

              State the term remaining       2/9/2024

              List the contract number
              of any government
              contract

 2.283        State what the contract        ORACLE CLOUD SERVICES                          ORACLE AMERICA, INC.
              or lease is for and the        AGREEMENT                                      ATTN GEN COUNSEL, LEGAL DEPT
              nature of the debtor’s                                                        500 ORACLE PKWY
              interest                                                                      REDWOOD SHORES, CA 94065

              State the term remaining

              List the contract number
              of any government
              contract

 2.284        State what the contract        SEVENTH AMENDED & RESTATED                     PACIFIC CONTINENTAL INSURANCE CO.
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD                3115 OCEAN FRONT WALK SUITE 301
              nature of the debtor’s         4/6/2021                                       MARINA DEL REY, CA 90292
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.285        State what the contract        INTERCOMPANY SUBORDINATION                     PACIFIC MERCANTILE BANK
              or lease is for and the        AGREEMENT DTD 12/15/2020                       ATTN GEORGE BURNETT
              nature of the debtor’s                                                        949 S COAST DR, 1ST FL
              interest                                                                      COSTA MESA, CA 92626

              State the term remaining

              List the contract number
              of any government
              contract

 2.286        State what the contract        SEVENTH AMENDED & RESTATED                     PATRICK M FALLE LIVING TRUST
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD                ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
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              contract




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         List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease


 2.287        State what the contract        TEMPORARY STAFFING SERVICES                PEOPLESHARE LLC
              or lease is for and the        AGREEMENT                                  100 SPRINGHOUSE DR, STE 200
              nature of the debtor’s                                                    COLLEGEVILLE, PA 19426
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.288        State what the contract        SEVENTH AMENDED & RESTATED                 PHELPS, DENNIS
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.289        State what the contract        INTELLECTUAL PROPERTY                      PIERCE, JELISA
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                  ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT DTD
              interest                       7/26/2021

              State the term remaining

              List the contract number
              of any government
              contract

 2.290        State what the contract        SEVENTH AMENDED & RESTATED                 PIGGOTT, BENJAMIN
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.291        State what the contract        COMPREHENSIVE AGREEMENT                    PREDAINA, MATT
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 9/28/2016
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.292        State what the contract        CONFIDENTIAL INFORMATION &                 PREDAINA, MATT
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 3/16/2015
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired lease


 2.293        State what the contract        SOLE SOURCE LETTER DTD 12/16/2016           PROBULK S.P.A.
              or lease is for and the                                                    AV APOQUINDO 5583 OLAS CONDES
              nature of the debtor’s                                                     SANTIAGO
              interest                                                                   CHILE

              State the term remaining

              List the contract number
              of any government
              contract

 2.294        State what the contract        SOLE SOURCE LETTER DTD 12/7/2017            PROBULK S.P.A.
              or lease is for and the                                                    AV APOQUINDO 5583 OLAS CONDES
              nature of the debtor’s                                                     SANTIAGO
              interest                                                                   CHILE

              State the term remaining

              List the contract number
              of any government
              contract

 2.295        State what the contract        SOLE SOURCE LETTER DTD 12/7/2017            PROBULK S.P.A.
              or lease is for and the                                                    AV APOQUINDO 5583 OLAS CONDES
              nature of the debtor’s                                                     SANTIAGO
              interest                                                                   CHILE

              State the term remaining

              List the contract number
              of any government
              contract

 2.296        State what the contract        SOLE SOURCE LETTER DTD 4/23/2020            PROBULK S.P.A.
              or lease is for and the                                                    AV APOQUINDO 5583 OLAS CONDES
              nature of the debtor’s                                                     SANTIAGO
              interest                                                                   CHILE

              State the term remaining

              List the contract number
              of any government
              contract

 2.297        State what the contract        CONFIDENTIAL INFORMATION &                  PROCK, BROOKE
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT              ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 1/4/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.298        State what the contract        SEPARATION & GENERAL RELEASE                PROCK, BROOKE
              or lease is for and the        AGREEMENT 11/7/2022                         ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         EMPLOYMENT TERMINATED EFF
              interest                       11/4/2022

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


 2.299        State what the contract        COMPREHENSIVE AGREEMENT                        RAMSEUR, ELIZABETH
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION               ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 1/15/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.300        State what the contract        CONFIDENTIAL INFORMATION &                     RAMSEUR, ELIZABETH
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT                 ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 1/5/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.301        State what the contract        RANDSTAD SERVICE TERMS DTD                     RANDSTAD
              or lease is for and the        1/05/2017                                      PO BOX 894217
              nature of the debtor’s                                                        LOS ANGELES, CA 90189-4217
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.302        State what the contract        COMPREHENSIVE AGREEMENT                        RATLIFF, KEN E
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION               ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 12/11/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.303        State what the contract        INTELLECTUAL PROPERTY                          RATLIFF, KEN E
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                      ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT DTD
              interest                       12/11/2021

              State the term remaining

              List the contract number
              of any government
              contract

 2.304        State what the contract        SERVICE LETTER- SCOPE OF WORK                  REAL TIME STAFFING SERVICES
              or lease is for and the        SERVICES DTD 4/5/2021                          D/B/A SELECT STAFFING
              nature of the debtor’s
              interest

              State the term remaining       4/1/2023

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease


 2.305        State what the contract        COMPREHENSIVE AGREEMENT                    REASONOVER, RICHARD
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 10/18/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.306        State what the contract        CONFIDENTIAL INFORMATION &                 REASONOVER, RICHARD
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 10/18/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.307        State what the contract        INTELLECTUAL PROPERTY                      REED, JEFFREY J
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                  ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT DTD
              interest                       9/10/2021

              State the term remaining

              List the contract number
              of any government
              contract

 2.308        State what the contract        INTELLECTUAL PROPERTY                      REED, KAITLYN
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                  ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT DTD
              interest                       8/1/2022

              State the term remaining

              List the contract number
              of any government
              contract

 2.309        State what the contract        SEPARATION & GENERAL RELEASE               REED, KAITLYN
              or lease is for and the        AGREEMENT DTD 11/10/2022                   ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         EMPLOYMENT TERMINATED EFF
              interest                       11/4/2022

              State the term remaining

              List the contract number
              of any government
              contract

 2.310        State what the contract        SEVENTH AMENDED & RESTATED                 RESSLER, DON
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease


 2.311        State what the contract        SEVENTH AMENDED & RESTATED                 RESTA, LEE
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.312        State what the contract        COMPREHENSIVE AGREEMENT                    REYES, OTILIA
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 3/18/2022
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.313        State what the contract        INTELLECTUAL PROPERTY                      REYES, OTILIA
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                  ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT DTD
              interest                       3/18/2022

              State the term remaining

              List the contract number
              of any government
              contract

 2.314        State what the contract        FIRST AMENDMENT TO THE SEVENTH             RICE WINE VENTURES LLC
              or lease is for and the        AMENDED & RESTATED INVESTORS'              C/O COOL JAPAN FUND INC
              nature of the debtor’s         RIGHTS AGREEMENT DTD 10/6/2021             17F ROPPONGI HILLS MORI TWR
              interest                       AMENDS AGREEMENT DTD 4/6/2021              6-10-1 ROPPONGI, MINATO-KU
                                                                                        TOKYO 106-6117
              State the term remaining                                                  JAPAN

              List the contract number
              of any government
              contract

 2.315        State what the contract        SEVENTH AMENDED & RESTATED                 RICE WINE VENTURES LLC
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            C/O COOL JAPAN FUND INC
              nature of the debtor’s         4/6/2021                                   17F ROPPONGI HILLS MORI TWR
              interest                                                                  6-10-1 ROPPONGI, MINATO-KU
                                                                                        TOKYO 106-6117
              State the term remaining                                                  JAPAN

              List the contract number
              of any government
              contract

 2.316        State what the contract        SEVENTH AMENDED & RESTATED                 RINCON LLC
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired lease


 2.317        State what the contract        SEVENTH AMENDED & RESTATED                  ROBERT TALLMAN NICHOLS REV TR DTD 9/28/2012
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD             1751 BERKELEY ST STUDIO 3
              nature of the debtor’s         4/6/2021                                    SANTA MONICA, CA 90404
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.318        State what the contract        SEVENTH AMENDED & RESTATED                  RUBIN, HOWARD
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.319        State what the contract        SEVENTH AMENDED & RESTATED                  RUNCKEL, ALISHA
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.320        State what the contract        FIRST AMENDMENT TO THE SEVENTH              SAKE VENTURES LLC
              or lease is for and the        AMENDED & RESTATED INVESTORS'               C/O COOL JAPAN FUND INC
              nature of the debtor’s         RIGHTS AGREEMENT DTD 10/6/2021              17F ROPPONGI HILLS MORI TWR
              interest                       AMENDS AGREEMENT DTD 4/6/2021               6-10-1 ROPPONGI, MINATO-KU
                                                                                         TOKYO 106-6117
              State the term remaining                                                   JAPAN

              List the contract number
              of any government
              contract

 2.321        State what the contract        SEVENTH AMENDED & RESTATED                  SAKE VENTURES LLC
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD             C/O COOL JAPAN FUND INC
              nature of the debtor’s         4/6/2021                                    17F ROPPONGI HILLS MORI TWR
              interest                                                                   6-10-1 ROPPONGI, MINATO-KU
                                                                                         TOKYO 106-6117
              State the term remaining                                                   JAPAN

              List the contract number
              of any government
              contract

 2.322        State what the contract        SOLE SOURCE LETTER DTD 10/15/2019           SAN ISIDRO, SCCCLM
              or lease is for and the                                                    CAMINO DE LA ESPERILLA 0
              nature of the debtor’s                                                     VVA. DE ALCARDETE
              interest                                                                   TOLEDO 45810
                                                                                         SPAIN
              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired lease


 2.323        State what the contract        SOLE SOURCE LETTER DTD 4/5/2017             SAN ISIDRO, SCCCLM
              or lease is for and the                                                    VVA. DE ALCARDETE
              nature of the debtor’s                                                     TOLEDO 45810
              interest                                                                   SPAIN

              State the term remaining

              List the contract number
              of any government
              contract

 2.324        State what the contract        SOLE SOURCE LETTER DTD 9/8/2020             SAN ISIDRO, SCCCLM
              or lease is for and the                                                    VVA. DE ALCARDETE
              nature of the debtor’s                                                     TOLEDO 45810
              interest                                                                   SPAIN

              State the term remaining

              List the contract number
              of any government
              contract

 2.325        State what the contract        SEVENTH AMENDED & RESTATED                  SARAIYA, NAISHADH
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.326        State what the contract        SOLE SOURCE LETTER DTD 1/14/2017            SARL FAMILLE CHAUDIERE
              or lease is for and the                                                    1365B ROUTE DE FLASSAN
              nature of the debtor’s                                                     MORMOIRON 84570
              interest                                                                   FRANCE

              State the term remaining

              List the contract number
              of any government
              contract

 2.327        State what the contract        SOLE SOURCE LETTER DTD 1/17/2022            SARL FAMILLE CHAUDIERE
              or lease is for and the                                                    1365B ROUTE DE FLASSAN
              nature of the debtor’s                                                     MORMOIRON 84570
              interest                                                                   FRANCE

              State the term remaining

              List the contract number
              of any government
              contract

 2.328        State what the contract        SOLE SOURCE LETTER DTD 12/14/2020           SARL FAMILLE CHAUDIERE
              or lease is for and the                                                    1365B ROUTE DE FLASSAN
              nature of the debtor’s                                                     MORMOIRON 84570
              interest                                                                   FRANCE

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired lease


 2.329        State what the contract        SOLE SOURCE LETTER DTD 2/1/2021             SARL FAMILLE CHAUDIERE
              or lease is for and the                                                    1365B ROUTE DE FLASSAN
              nature of the debtor’s                                                     MORMOIRON 84570
              interest                                                                   FRANCE

              State the term remaining

              List the contract number
              of any government
              contract

 2.330        State what the contract        COMPREHENSIVE AGREEMENT                     SCHOTT, MADISON
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 5/10/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.331        State what the contract        CONFIDENTIAL INFORMATION &                  SCHOTT, MADISON
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT              ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 5/10/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.332        State what the contract        SEVENTH AMENDED & RESTATED                  SCHWANHAEUSER, THOMAS
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.333        State what the contract        SEVENTH AMENDED & RESTATED                  SCHWARTZ FAMILY TRUST
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.334        State what the contract        SEVENTH AMENDED & RESTATED                  SCOTT M HEMMING & LIESL A MAGGIORE REV LIV TR
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired lease


 2.335        State what the contract        COMPREHENSIVE AGREEMENT                     SEELYE, STEVE
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 1/16/2020
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.336        State what the contract        CONFIDENTIAL INFORMATION &                  SEELYE, STEVE
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT              ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 1/16/2020
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.337        State what the contract        COMPREHENSIVE AGREEMENT                     SERI-LEVI, EITAN
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 9/14/2018
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.338        State what the contract        CONFIDENTIAL INFORMATION &                  SERI-LEVI, EITAN
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT              ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 9/17/2018
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.339        State what the contract        INVOICE #15713 DTD 3/22/2019                SHARK PIG
              or lease is for and the                                                    4514 N FIGUEROA ST
              nature of the debtor’s                                                     LOS ANGELES, CA 90065
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.340        State what the contract        FIRST AMENDMENT TO THE SEVENTH              SHININGWINE LIMITED (BVI)
              or lease is for and the        AMENDED & RESTATED INVESTORS'               SUITE 8101, LEVEL 81, INTERNATIONAL COMMERCE CENTRE
              nature of the debtor’s         RIGHTS AGREEMENT DTD 10/6/2021              1 AUSTIN ROAD WEST KOWLOON
              interest                       AMENDS AGREEMENT DTD 4/6/2021               HONG KONG
                                                                                         CHINA
              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease


 2.341        State what the contract        SEVENTH AMENDED & RESTATED                 SHININGWINE LIMITED (BVI)
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            SUITE 8101, LEVEL 81, INTERNATIONAL COMMERCE CENTRE
              nature of the debtor’s         4/6/2021                                   1 AUSTIN ROAD WEST KOWLOON
              interest                                                                  HONG KONG
                                                                                        CHINA
              State the term remaining

              List the contract number
              of any government
              contract

 2.342        State what the contract        SEVENTH AMENDED & RESTATED                 SHUCHAM, ROBERT
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.343        State what the contract        SEVENTH AMENDED & RESTATED                 SHULEVA, BEN
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.344        State what the contract        FIRST AMENDMENT TO THE SEVENTH             SIEMER VENTURES II LP
              or lease is for and the        AMENDED & RESTATED INVESTORS'              D/B/A WAVEMAKER PARTNERS II
              nature of the debtor’s         RIGHTS AGREEMENT DTD 10/6/2021             1438 9TH ST
              interest                       AMENDS AGREEMENT DTD 4/6/2021              SANTA MONICA, CA 90404

              State the term remaining

              List the contract number
              of any government
              contract

 2.345        State what the contract        SEVENTH AMENDED & RESTATED                 SIEMER VENTURES II LP
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            D/B/A WAVEMAKER PARTNERS II
              nature of the debtor’s         4/6/2021                                   1438 9TH ST
              interest                                                                  SANTA MONICA, CA 90404

              State the term remaining

              List the contract number
              of any government
              contract

 2.346        State what the contract        COMPREHENSIVE AGREEMENT                    SINGLA, PUNIT
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 12/15/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease


 2.347        State what the contract        INTELLECTUAL PROPERTY                      SINGLA, PUNIT
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                  ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT DTD
              interest                       12/15/2021

              State the term remaining

              List the contract number
              of any government
              contract

 2.348        State what the contract        SEVENTH AMENDED & RESTATED                 SLP VENTURES II LLC
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            500 S GRAND AVE, STE 1310
              nature of the debtor’s         4/6/2021
              interest
                                                                                        LOS ANGELES, CA 90071
              State the term remaining

              List the contract number
              of any government
              contract

 2.349        State what the contract        SEVENTH AMENDED & RESTATED                 SMASH MEDIA LLC
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.350        State what the contract        CONFIDENTIAL INFORMATION &                 SMITH, BRIAN
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 3/1/2013
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.351        State what the contract        SEVENTH AMENDED & RESTATED                 SMITH, BRIAN
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.352        State what the contract        SERVICE AGREEMENT DTD 4/28/2015            SOFTWAREONE, INC.
              or lease is for and the                                                   20875 CROSSROADS CIR, STE 1
              nature of the debtor’s                                                    WAUKEHSA, WI 53186
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease


 2.353        State what the contract        CUSTOMER INFORMATION DTD                     SOFTWAREONE, INC.
              or lease is for and the        4/28/2015                                    20875 CROSSROADS CIR, STE 1
              nature of the debtor’s                                                      WAUKESHA, WI 53186
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.354        State what the contract        COMPREHENSIVE AGREEMENT                      SOLANO, KARINA
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 3/18/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.355        State what the contract        CONFIDENTIAL INFORMATION &                   SOLANO, KARINA
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT               ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 3/18/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.356        State what the contract        COMPREHENSIVE AGREEMENT                      SOUARE, MAMADOU
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 8/17/2017
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.357        State what the contract        CONFIDENTIAL INFORMATION &                   SOUARE, MAMADOU
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT               ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 8/16/2017
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.358        State what the contract        COMMON STOCK PURCHASE WARRANT                SPARTAN CAPITAL SECURITIES LLC
              or lease is for and the        DTD 11/10/2021                               45 BROADWAY, 19TH FL
              nature of the debtor’s                                                      NEW YORK, NY 10006
              interest

              State the term remaining       11/10/2026

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease


 2.359        State what the contract        COMMON STOCK PURCHASE WARRANT                SPARTAN CAPITAL SECURITIES LLC
              or lease is for and the        DTD 11/10/2021                               C/O MANATT PHELPS & PHILLIPS LLP
              nature of the debtor’s                                                      ATTN THOMAS J POLETTI
              interest                                                                    695 TOWN CENTER DR, 14TH FL
                                                                                          COSTA MESA, CA 92626
              State the term remaining       11/10/2026

              List the contract number
              of any government
              contract

 2.360        State what the contract        WIFI SERVICES INVOICE#                       SPECTRUM BUSINESS
              or lease is for and the        2142325112422 DTD 11/24/2022                 4145 S FALKENBURG RD
              nature of the debtor’s                                                      RIVERVIEW, FL 33578-8652
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.361        State what the contract        COMPREHENSIVE AGREEMENT                      STAHL, TYLER
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 12/30/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.362        State what the contract        INTELLECTUAL PROPERTY                        STAHL, TYLER
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                    ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT DTD
              interest                       12/30/2021

              State the term remaining

              List the contract number
              of any government
              contract

 2.363        State what the contract        RETENTION BONUS AGREEMENT DTD                STAHL, TYLER
              or lease is for and the        9/14/2022                                    ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.364        State what the contract        SEVENTH AMENDED & RESTATED                   STEIGERWALD, SCOTT
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD              ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease


 2.365        State what the contract        COMPREHENSIVE AGREEMENT                         STUEMPFIG, ALEXANDER
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION                ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 9/28/2016
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.366        State what the contract        CONFIDENTIAL INFORMATION &                      STUEMPFIG, ALEXANDER
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT                  ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 7/6/2015
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.367        State what the contract        PURCHASE AUTHORIZATION FORM DTD                 TABLEAU SOFTWARE LLC
              or lease is for and the        1/27/2022                                       1621 N 34TH ST
              nature of the debtor’s                                                         SEATTLE, WA 98103
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.368        State what the contract        SEVENTH AMENDED & RESTATED                      TEAGUE, ROBERT TOWNSEND
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD                 ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.369        State what the contract        AUTOMOBILE - POLICY NUMBER                      THE CONTINENTAL INSURANCE COMPANY
              or lease is for and the        6080961108                                      333 S WABASH AVE
              nature of the debtor’s                                                         CHICAGO, IL 60604
              interest

              State the term remaining       9/30/2023

              List the contract number
              of any government
              contract

 2.370        State what the contract        LIQUOR LIABILITY - POLICY NUMBER                THE CONTINENTAL INSURANCE COMPANY
              or lease is for and the        6080961089                                      333 S WABASH AVE
              nature of the debtor’s                                                         CHICAGO, IL 60604
              interest

              State the term remaining       9/30/2023

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease


 2.371        State what the contract        UMBRELLA - POLICY NUMBER                        THE CONTINENTAL INSURANCE COMPANY
              or lease is for and the        6080961092                                      333 S WABASH AVE
              nature of the debtor’s                                                         CHICAGO, IL 60604
              interest

              State the term remaining       9/30/2023

              List the contract number
              of any government
              contract

 2.372        State what the contract        CONFIDENTIAL INFORMATION &                      THELEN, MATTHEW
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT                  ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 9/21/2014
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.373        State what the contract        GENERAL RELEASE DTD 11/24/2022                  THELEN, MATTHEW
              or lease is for and the                                                        ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.374        State what the contract        CONSOLIDATED INVOICE #17863001                  THOMSON REUTERS
              or lease is for and the        DTD 4/25/2022                                   TAX & ACCOUNTING-CHECKPOINT
              nature of the debtor’s                                                         CUSTOMER SERVICE DEPT
              interest                                                                       PO BOX 115008
                                                                                             CARROLLTON, TX 75011-5008
              State the term remaining

              List the contract number
              of any government
              contract

 2.375        State what the contract        SEVENTH AMENDED & RESTATED                      TIAMPO, JAMES J
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD                 ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.376        State what the contract        SEVENTH AMENDED & RESTATED                      TIAMPO, MATTHEW
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD                 ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease


 2.377        State what the contract        SEVENTH AMENDED & RESTATED                      TIMOTHY & TAMARA JOHNSON LIV TRUST
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD                 2620 PACIFIC AVE B
              nature of the debtor’s         4/6/2021                                        VENICE, CA 90291
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.378        State what the contract        SOLE SOURCE LETTER DTD 1/3/2017                 TIROSH ESTATE LIMITED
              or lease is for and the                                                        3579 STATE HIGHWAY 63
              nature of the debtor’s                                                         BLENHEIM
              interest                                                                       NEW ZEALAND

              State the term remaining

              List the contract number
              of any government
              contract

 2.379        State what the contract        SEVENTH AMENDED & RESTATED                      TODRYK, MICHAEL
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD                 ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.380        State what the contract        WORKERS COMPENSATION - POLCY                    TRANSPORTATION INSURANCE COMPANY
              or lease is for and the        NUMBER 6081401958 AND 6081401961                333 S WABASH AVE
              nature of the debtor’s                                                         CHICAGO, IL 60604
              interest

              State the term remaining       9/30/2023

              List the contract number
              of any government
              contract

 2.381        State what the contract        FIDUCIARY LIABILITY INSURANCE -                 TRAVELERS CASUALTY AND SURETY COMPANY OF AMERICA
              or lease is for and the        POLICY NUMBER 107546131                         ATTN SCOTT L GLOWNER
              nature of the debtor’s                                                         PO BOX 64094
              interest                                                                       ST PAUL, MN 55102-0094

              State the term remaining       9/30/2023

              List the contract number
              of any government
              contract

 2.382        State what the contract        RETENTION BONUS AGREEMENT DTD                   TUFFY, AUDREY
              or lease is for and the        9/12/2022                                       ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease


 2.383        State what the contract        AMENDMENT RE: MEDICAL AND                       UNITED HEALTHCARE OF CALIFORNIA
              or lease is for and the        HOSPITAL GROUP SUBSCRIBER                       P.O. BOX 843118
              nature of the debtor’s         AGREEMENT DTD 6/1/2022                          LOS ANGELES, CA 90084-3118
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.384        State what the contract        UNITEDHEALTHCARE BENEFITS PLAN                  UNITED HEALTHCARE
              or lease is for and the        OF CALIFORNIA CERTIFICATE OF                    5701 KATELLA AVENUE
              nature of the debtor’s         COVERAGE FOR PLAN CI75 DTD                      CYPRESS, CA 90630
              interest                       6/1/2022

              State the term remaining

              List the contract number
              of any government
              contract

 2.385        State what the contract        UNITEDHEALTHCARE BENEFITS PLAN                  UNITED HEALTHCARE
              or lease is for and the        OF CALIFORNIA CERTIFICATE OF                    5701 KATELLA AVENUE
              nature of the debtor’s         COVERAGE FOR PLAN CI8D DTD                      CYPRESS, CA 90630
              interest                       6/1/2022

              State the term remaining

              List the contract number
              of any government
              contract

 2.386        State what the contract        INVOICE# PRP-194477 DTD 12/02/2021              UPCURVE CLOUD
              or lease is for and the                                                        10801 NATIONAL BLVD, STE 410
              nature of the debtor’s                                                         LOS ANGELES, CA 90064
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.387        State what the contract        PROPERTY/GENERAL LIABILITY -                    VALLEY FORGE INSURANCE COMPANY
              or lease is for and the        POLICY NUMBER 6080961111                        1 BALA PLAZA, SUITE 100
              nature of the debtor’s                                                         BALA CYNWYD, PA 19004
              interest

              State the term remaining       9/30/2023

              List the contract number
              of any government
              contract

 2.388        State what the contract        SEVENTH AMENDED & RESTATED                      VAUGHN, ISAAC
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD                 ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease


 2.389        State what the contract        SEVENTH AMENDED & RESTATED                      VERBIER SP PARTNERSHIP L.P.
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD                 ATTN JAMES J TIAMPO, PRESIDENT
              nature of the debtor’s         4/6/2021                                        PO BOX 2430
              interest                                                                       BLAINE, WA 98231-2430

              State the term remaining

              List the contract number
              of any government
              contract

 2.390        State what the contract        SOLE SOURCE LETTER DTD 3/2/2018                 VIN NOE
              or lease is for and the                                                        CHATEAU MARIS
              nature of the debtor’s                                                         265 RUE MURANO
              interest                                                                       BEZIERS 34500
                                                                                             FRANCE
              State the term remaining

              List the contract number
              of any government
              contract

 2.391        State what the contract        SURCHARGE ALLOCATION AGREEMENT                  VINTAGE WINES ESTATES, INC.
              or lease is for and the        DTD 10/10/2022                                  205 CONCOURSE BOULEVARD
              nature of the debtor’s                                                         SANTA ROSA, CA 95403
              interest

              State the term remaining       1/16/2023

              List the contract number
              of any government
              contract

 2.392        State what the contract        SEVENTH AMENDED & RESTATED                      VIOLANTE, THOMAS JOHN
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD                 ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.393        State what the contract        SEVENTH AMENDED & RESTATED                      VIOLANTE, THOMAS MICHAEL
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD                 ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.394        State what the contract        CONFIDENTIAL INFORMATION &                      VIRGILIO, PAUL JOSEPH
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT                  ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 5/25/2016
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease


 2.395        State what the contract        COMPREHENSIVE AGREEMENT                    VO, GINA
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION           ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 6/29/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.396        State what the contract        INTELLECTUAL PROPERTY                      VO, GINA
              or lease is for and the        ASSIGNMENT & CONFIDENTIAL                  ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         INFORMATION AGREEMENT DTD
              interest                       6/28/2001

              State the term remaining

              List the contract number
              of any government
              contract

 2.397        State what the contract        FIRST AMENDMENT TO INDUSTRIAL              VV1515 LLC
              or lease is for and the        LEASE AGREEMENT                            C/O VELOCITY VENTURE PARTNERS LLC
              nature of the debtor’s         AMENDS INDUSTRIAL LEASE                    ATTN MICHAEL J HAVILAND, ESQ
              interest                       AGREEMENT DTD 12/8/2015                    ONE BELMONT AVE, STE 520
                                                                                        BALA CYNWYD, PA 19004
              State the term remaining

              List the contract number
              of any government
              contract

 2.398        State what the contract        FIRST AMENDMENT TO INDUSTRIAL              VV1515 LLC
              or lease is for and the        LEASE AGREEMENT                            C/O VELOCITY VENTURE PARTNERS LLC
              nature of the debtor’s         AMENDS INDUSTRIAL LEASE                    ATTN ZACHARY MOORE, MEMBER
              interest                       AGREEMENT DTD 12/8/2015                    ONE BELMONT AVE, STE 520
                                                                                        BALA CYNWYD, PA 19004
              State the term remaining

              List the contract number
              of any government
              contract

 2.399        State what the contract        INDUSTRIAL LEASE AGREEMENT DTD             VV1515 LLC
              or lease is for and the        12/8/2015                                  C/O VELOCITY VENTURE PARTNERS LLC
              nature of the debtor’s                                                    ATTN ZACHARY MOORE, MEMBER
              interest                                                                  ONE BELMONT AVE, STE 520
                                                                                        BALA CYNWYD, PA 19004
              State the term remaining

              List the contract number
              of any government
              contract

 2.400        State what the contract        LESSOR ACKNOWLEDGMENT AND                  VV1515 LLC
              or lease is for and the        SUBORDINATION                              C/O VELOCITY VENTURE PARTNERS LLC
              nature of the debtor’s                                                    ATTN ZACHARY MOORE, MEMBER
              interest                                                                  ONE BELMONT AVE, STE 520
                                                                                        BALA CYNWYD, PA 19004
              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease


 2.401        State what the contract        FIRST AMENDMENT TO THE SEVENTH                  WAHOOWA VENTURES
              or lease is for and the        AMENDED & RESTATED INVESTORS'                   1865 PALMER AVE, STE 104
              nature of the debtor’s         RIGHTS AGREEMENT DTD 10/6/2021                  LARCHMONT, NY 10538
              interest                       AMENDS AGREEMENT DTD 4/6/2021

              State the term remaining

              List the contract number
              of any government
              contract

 2.402        State what the contract        SEVENTH AMENDED & RESTATED                      WAHOOWA VENTURES
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD                 196 BROADWAY, 2ND FL
              nature of the debtor’s         4/6/2021                                        CAMBRIDGE, MA 02139
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.403        State what the contract        SEVENTH AMENDED & RESTATED                      WASH, DARRYL
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD                 ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.404        State what the contract        SERVICE AGREEMENT #S0015892849                  WASTE MANAGEMENT OF PENNSYLVANIA, INC.
              or lease is for and the        DTD 6/28/2022                                   107 SILVIA STREET
              nature of the debtor’s                                                         EWING, NJ 08628
              interest

              State the term remaining       6/28/2025

              List the contract number
              of any government
              contract

 2.405        State what the contract        FIRST AMENDMENT TO THE SEVENTH                  WAVEMAKER GLOBAL SELECT LLC
              or lease is for and the        AMENDED & RESTATED INVESTORS'                   175 GREENWICH ST
              nature of the debtor’s         RIGHTS AGREEMENT DTD 10/6/2021                  NEW YORK, NY 10007
              interest                       AMENDS AGREEMENT DTD 4/6/2021

              State the term remaining

              List the contract number
              of any government
              contract

 2.406        State what the contract        FIRST AMENDMENT TO THE SEVENTH                  WAVEMAKER PARTNERS V LP
              or lease is for and the        AMENDED & RESTATED INVESTORS'                   175 GREENWICH ST
              nature of the debtor’s         RIGHTS AGREEMENT DTD 10/6/2021                  NEW YORK, NY 10007
              interest                       AMENDS AGREEMENT DTD 4/6/2021

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired lease


 2.407        State what the contract        SEVENTH AMENDED & RESTATED                  WAVEMAKER WINC INVESTORS L.P.
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.408        State what the contract        SOLE SOURCE LETTER DTD 10/7/2018            WEINGUT GEORG WEINWURM
              or lease is for and the                                                    HAUPSTRASSE 85
              nature of the debtor’s                                                     DOBERMANNSDORF
              interest                                                                   AUSTRIA

              State the term remaining

              List the contract number
              of any government
              contract

 2.409        State what the contract        SEVENTH AMENDED & RESTATED                  WELO, TOBIAS W
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.410        State what the contract        SEVENTH AMENDED & RESTATED                  WETHERALD, THOMAS
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD             ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.411        State what the contract        COMPREHENSIVE AGREEMENT                     WILEY, JORDAN
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 1/17/2019
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.412        State what the contract        CONFIDENTIAL INFORMATION &                  WILEY, JORDAN
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT              ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 1/17/2019
              interest

              State the term remaining

              List the contract number
              of any government
              contract




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         List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease


 2.413        State what the contract        COMPREHENSIVE AGREEMENT                     YANG, XUEYING
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 9/11/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.414        State what the contract        INVOICE #INV03113654 DTD 2/28/2018          ZENDESK, INC.
              or lease is for and the                                                    1019 MARKET ST
              nature of the debtor’s                                                     SAN FRANCISCO, CA 94103
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.415        State what the contract        COMPREHENSIVE AGREEMENT                     ZOTOVICH, RYAN
              or lease is for and the        EMPLOYMENT AT-WILL & ARBITRATION            ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 6/25/2020
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.416        State what the contract        CONFIDENTIAL INFORMATION &                  ZOTOVICH, RYAN
              or lease is for and the        INVENTION ASSIGNMENT AGREEMENT              ADDRESS AVAILABLE UPON REQUEST
              nature of the debtor’s         DTD 6/25/2020
              interest

              State the term remaining

              List the contract number
              of any government
              contract

 2.417        State what the contract        SEVENTH AMENDED & RESTATED                  ZUMSEE LIMITED
              or lease is for and the        INVESTORS' RIGHTS AGREEMENT DTD
              nature of the debtor’s         4/6/2021
              interest

              State the term remaining

              List the contract number
              of any government
              contract




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                          Page 70 of 70
                                  Case 22-11238-LSS                      Doc 93           Filed 12/28/22                Page 139 of 140
  Fill in this information to identify the case:

 Debtor        Winc, Inc.


 United States Bankruptcy Court for the:   Delaware


 Case number           22-11238
  (if known)
                                                                                                                                                        ¨ Check if this is an
                                                                                                                                                              amended filing

 Official Form 206H
 Schedule H: Codebtors                                                                                                                                                       12/15

 Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
 Additional Page to this page.


 1.     Does the debtor have any codebtors?
        ¨ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        þ Yes.

 2.     In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
        creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
        schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                       Column 2: Creditor
                                                                                                                                                              Check all schedules
                 Name                              Mailing Address                                                 Name
                                                                                                                                                              that apply

 2.1             BWSC, LLC                         1751 BERKELEY STREET, STUDIO 3                                  BANC OF CALIFORNIA, N.A. AS                þ D
                                                   SANTA MONICA, CA 90404                                          SUCCESSOR-BY-MERGER                        ¨ E/F
                                                                                                                                                              ¨ G




Official Form 206H                                                          Schedule H: Codebtors                                                                        Page 1 of 1
  Fill in this information to identify the case:
                                      Case 22-11238-LSS                       Doc 93             Filed 12/28/22                Page 140 of 140
 Debtor        Winc, Inc.


 United States Bankruptcy Court for the:      Delaware


 Case number           22-11238
  (if known)




 Official Form 202

 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
 form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
 amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
 and the date. Bankruptcy Rules 1008 and 9011.

 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
 connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
 and 3571.


                 Delcaration and signature



          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

          þ Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

          þ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

          þ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

          þ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

          þ Schedule H: Codebtors (Official Form 206H)

          þ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          ¨ Amended Schedule

          ¨ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          ¨ Other document that requires a declaration

           I declare under penalty of perjury that the foregoing is true and correct.



           Executed on 12/28/2022
                             MM / DD / YYYY
                                                                   û     /s/ Carol Brault
                                                                         Signature of individual signing on behalf of debtor



                                                                         Carol Brault
                                                                         Printed name



                                                                         Chief Financial Officer
                                                                         Position or relationship to debtor




Official Form 202                                        Declaration Under Penalty of Perjury for Non-Individual Debtors
